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                          EXHIBIT C
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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA
                   CASE NO.: 19-21147-CIV-GOODMAN

     ERIC ROMANO, et al.,
     individually and on behalf of
     all others similarly situated,

                        Plaintiffs,
     vs.
     JOHN HANCOCK LIFE INSURANCE
     COMPANY (U.S.A.),

                    Defendant.
     ________________________________/




                   REMOTE VIDEOTAPED DEPOSITION OF
                          STEVEN K. GISSINER



                          Pages 1 through 231

                     Thursday, October 28, 2021
                       10:01 a.m. - 5:25 p.m.




                    Stenographically Reported By:
                    Denise Sankary, RPR, RMR, CRR

                         Magna Legal Services
                             866-624-6221
                            www.MagnaLS.com
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23     Bailey Diaz, Videographer
24     Ketty Saez, Assistant Vice President and Senior
                                                                  23
       Counsel at John Hancock Life Insurance Company             24
25                                                                25


                                                         Page 4                                                         Page 5
 1         The following proceedings began at 10:01 a.m.:          1         counsel, Ketty Saez. And we may be joined by a
 2               THE VIDEOGRAPHER: Good morning. We're             2         second in-house counsel for John Hancock, Paul
 3           now on the record. This begins Videotape              3         Gallagher.
 4           Number 1 in the deposition of Steven K.               4            THE COURT REPORTER: Thank you.
 5           Gissiner taken in the matter of Eric Romano           5            Mr. Steven Gissiner, would you raise your
 6           versus John Hancock Life Insurance, in the            6         right hand, please.
 7           United States District Court, Southern District       7            I can't see him. Hold on.
 8           of Florida. Today is October 28, 2021, and the        8            Do you swear the testimony your about to
 9           time is 10:01 a.m.                                    9         give today will be the truth, the whole truth,
10               This deposition is being taken remotely          10         and nothing but the truth?
11           via web conferencing at the request of Podhurst      11            THE WITNESS: I do.
12           Orseck, P.A. The videographer is Bailey Diaz         12            THE COURT REPORTER: Thank you.
13           of Magna Legal Services, and the court reporter      13                 DIRECT EXAMINATION
14           is Denise Sankary of Magna Legal Services.           14       BY MR. WEINSHALL:
15               Will counsel and all parties present state       15         Q. Great. Mr. Gissiner, can you please state
16           their appearances for the record and whom they       16      your name again for the record?
17           represent, after which the court reporter will       17         A. Steven, S-T-E-V-E-N, middle initial K, and
18           swear in the witness.                                18      Gissiner, G-I-S-S, as in Sam, I-N-E-R.
19               MR. WEINSHALL: This is Matt Weinshall of         19         Q. Thank you.
20           Podhurst Orseck on behalf of the plaintiffs.         20            You've been deposed before, correct?
21               MR. ZHADANOVSKIY: Boris Zhadanovskiy from        21         A. Yes.
22           Searcy Denney on behalf of the plaintiffs.           22         Q. Okay. So you're probably familiar with
23               MR. FLECKNER: This is Jamie Fleckner of          23      the ground rules, but I'm just going to go over a
24           Goodwin on behalf of the defendant. With me is       24      few of them to make sure we're on the same page,
25           my colleague, Michael Vaglica, and in-house          25      okay?

                                                                                                          2 (Pages 2 to 5)
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 1      A. Sure.                                            1   reason, it's important that we not speak over each
 2      Q. You understand you're testifying here            2   other. It's also important for you to provide
 3   today under oath; is that right?                       3   audible responses in order to get an accurate
 4      A. Yes.                                             4   transcript. Our goal today is to get an accurate
 5      Q. And you understand that's the same oath          5   transcript.
 6   that you would take in a court of law; is that         6          Do you understand that?
 7   right?                                                 7       A. Yes, I do.
 8      A. Yes.                                             8       Q. Anytime you need a break when a question
 9      Q. Okay. I'm going to be asking you a series        9   is not pending, please let me know and we'll try to
10   of questions.                                         10   accommodate you, okay?
11          If at any point you don't understand a         11       A. Yes.
12   question I've asked, will you let me know?            12       Q. Have you taken any medication or consumed
13      A. Yes.                                            13   any alcohol that would impact your ability to
14      Q. Okay. The flipside to that is, if you           14   understand my questions or affect your ability to
15   answer a question I've asked, I'm going to assume     15   provide truthful answers to those questions?
16   that you understand it; is that fair?                 16       A. No.
17      A. Yes.                                            17       Q. Are you suffering from any medical
18      Q. Okay. From time to time, your attorney          18   condition that would affect your ability to
19   may make objections to my questions. Despite his      19   understand my questions or affect your ability to
20   objections, you're required to answer my questions    20   provide truthful answers to my questions?
21   unless he specifically instructs you not to answer.   21       A. No.
22          Do you understand that?                        22       Q. Okay. Do you have any documents in front
23      A. Yes, I do.                                      23   of you?
24      Q. Okay. The court reporter is taking down         24       A. I have three documents in front of me.
25   everything that's being said here today. For that     25   The -- my expert report, my rebuttal report, and

                                               Page 8                                                     Page 9
 1   Mr. Levy's affirmative report.                         1   deposition?
 2      Q. Okay. Do any of those documents have             2       A. Just over the course of the last couple
 3   handwriting on them?                                   3   weeks, reviewed my report, reviewed my footnotes,
 4      A. No, they don't.                                  4   reviewed the plaintiffs' reports, and met with
 5      Q. Okay. Do you have any applications open          5   counsel.
 6   on your computer other than Microsoft Teams and        6       Q. And did you review any deposition
 7   AgileLaw?                                              7   transcripts?
 8      A. No.                                              8       A. I did if they were referenced in my
 9      Q. Okay. If you open any other applications         9   report.
10   during the course of the deposition, do you agree     10       Q. Okay. So you didn't review the transcript
11   that you will inform us at that time?                 11   of the deposition of Roger Levy; is that right?
12      A. I do.                                           12       A. No, I did not. I understand that was
13      Q. Okay. Is anyone else in the room with           13   taken yesterday.
14   you?                                                  14       Q. Okay. How about the deposition transcript
15      A. No.                                             15   of Bruce Pingree?
16      Q. Approximately how many times have you been      16       A. No, I did not.
17   deposed before?                                       17       Q. Okay. How about the deposition transcript
18      A. Eleven.                                         18   of David LaRue?
19      Q. Okay. Were each of those as a -- as an          19       A. I'd have to look at my notes, but I don't
20   expert witness?                                       20   recall reviewing that one. Again, unless it was
21      A. Yes.                                            21   referenced in my report, I did not review it.
22      Q. Okay. In each case, did you serve as an         22       Q. Okay. Did you review the report of David
23   expert witness for a defendant?                       23   LaRue?
24      A. Yes.                                            24       A. No, I did not.
25      Q. What did you do to prepare for today's          25       Q. So you mentioned that you spoke with

                                                                                      3 (Pages 6 to 9)
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                                               Page 10                                                     Page 11
 1   Mr. Fleckner to prepare for today's deposition; is      1   you in this case?
 2   that right?                                             2       A. Yes.
 3       A. That's correct.                                  3       Q. Which one?
 4       Q. When did you speak with him?                     4       A. Analysis Group.
 5       A. Yesterday.                                       5       Q. Okay. So in addition to the 70 to 90
 6       Q. For how long?                                    6   hours that you worked in this matter, do you know
 7       A. I believe it was approximately three and a       7   approximately how much time Analysis Group has spent
 8   half hours.                                             8   on the matter?
 9       Q. Okay. Did you speak with him before              9       A. I do not.
10   yesterday in connection with your preparation?         10       Q. Do you know approximately how much in fees
11       A. No.                                             11   Analysis Group has charged in the matter?
12       Q. Okay. Approximately how much time have          12       A. No.
13   you spent working on this matter?                      13       Q. Okay. Are you compensated for your work
14       A. Since inception?                                14   in the case?
15       Q. Yes.                                            15       A. Am I, myself? Yes.
16       A. I'm only going to be able to approximate.       16       Q. At what rate?
17   I'd have to actually go look at my billing records     17       A. 525 an hour.
18   to confirm, but best guess would be probably between   18       Q. Okay. And do you receive any compensation
19   70 and 90 hours.                                       19   from the amount that Analysis Group has paid?
20       Q. Okay. Are you associated with a                 20       A. No, I don't.
21   consulting firm that provides litigation support?      21       Q. Do you know how you came to be retained in
22       A. Yes. Actually, two firms.                       22   this matter?
23       Q. Which firms are those?                          23       A. I don't recall the specific date, but I
24       A. Cornerstone and Analysis Group.                 24   believe it was initially an inquiry from Analysis
25       Q. Was one of those firms retained to assist       25   Group.

                                               Page 12                                                     Page 13
 1       Q. Do you know approximately when?                  1   would have probably been started, again, probably
 2       A. I don't know approximately when. I'd             2   in -- in June or July.
 3   actually have to go back and look, but my guess         3       Q. Okay. Have you worked with the Goodwin
 4   would be it was probably at some point last year,       4   Procter firm before?
 5   but I, again, don't know the specific date.             5       A. Yes.
 6       Q. So at some point in 2020, you think?             6       Q. Okay. Approximately how many times?
 7       A. I believe so. That's my best                     7       A. I don't know, specifically. I do know
 8   recollection. I would actually have to go back          8   that I worked with them, I believe, on a matter
 9   and -- and look to confirm that date.                   9   related to TIAA and then, you know, a number of
10       Q. Okay. But even though you were retained a       10   years ago a matter related to Tussey versus ABB.
11   full year ago, you've only spent 70 to 90 hours on     11       Q. Okay. Did you also recently work with
12   the case?                                              12   them in a case in the district of Nebraska?
13       A. Well, I think there was a period of time        13       A. Which specific case are you referring to?
14   where there was an initial inquiry. So when I say      14   The stadium?
15   reaching out a year ago, that doesn't necessarily      15       Q. Yes.
16   mean I began working on it. So if I go -- if I look    16       A. Yes. Yeah, I'm sorry. I forgot that one.
17   at my expert report, the initial expert report was     17       Q. That one is a third one that you worked
18   completed in August, and then the rebuttal report      18   on?
19   was completed in October. So what typically happens    19       A. Yes.
20   is, is you oftentimes will be approached, but it may   20       Q. Okay. And each time, you were retained by
21   take awhile before you actually start to begin         21   Goodwin Procter to serve as an expert for a
22   working on an engagement.                              22   defendant in an ERISA case; is that right?
23       Q. So when did you start working on the            23       A. Correct.
24   report that you filed in this case?                    24       Q. Okay. Have you ever served as an expert
25       A. Just based on the completion date, it           25   witness for a plaintiff in an ERISA case?

                                                                                    4 (Pages 10 to 13)
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 1       A. I never have, and I've never actually ever       1      A. It is.
 2   been asked to.                                          2      Q. Okay. Appendix A is titled "Incremental
 3       Q. Okay. Have you ever served as a witness          3   Documents Considered." Is that right?
 4   for John Hancock before?                                4      A. That's correct.
 5       A. No.                                              5      Q. Okay. Other than these documents and
 6       Q. Have you ever served as a consultant for         6   those listed on your initial report, did you
 7   John Hancock?                                           7   consider any other materials when preparing your
 8       A. No.                                              8   rebuttal opinions?
 9       Q. All right. You have access to the                9      A. Nothing other than what's listed here.
10   AgileLaw platform; is that right?                      10      Q. Okay. Are you aware of any corrections
11       A. Yes, I do.                                      11   that need to be made to the report?
12       Q. I'm going to show you a first exhibit that      12      A. None that I'm aware of.
13   we'll mark for the deposition, which will be marked    13      Q. Do you have any intention to supplement
14   as Exhibit 150 in the case.                            14   the opinions in this report, as you sit here today?
15          (Thereupon, marked as Exhibit 150.)             15      A. Not at this time, no.
16     BY MR. WEINSHALL:                                    16      Q. I believe in your report you said you
17       Q. Can you see that?                               17   reserve the right to update or refine your opinions.
18       A. Yep.                                            18          Do you have any such updates at this time?
19       Q. And is this the rebuttal report that you        19      A. No.
20   prepared in this matter?                               20      Q. Let's mark as an exhibit your initial
21       A. Yeah, I just clicked on it. Yes. Yeah,          21   report. Please let me know if you can see
22   it is.                                                 22   Exhibit 151.
23       Q. And scroll down to the second-to-last           23          (Thereupon, marked as Exhibit 151.)
24   page.                                                  24      A. Yes, I see it.
25          Is that your signature?                         25

                                               Page 16                                                    Page 17
 1    BY MR. WEINSHALL:                                      1      A. No.
 2      Q. Is this the initial report that you               2      Q. Do you have any intent to supplement the
 3   submitted in this case?                                 3   report, as you sit here today?
 4      A. It is.                                            4      A. Not at this time.
 5      Q. Okay. If you scroll down to page 65 of            5      Q. Other than preparing for this deposition
 6   the PDF, is that your signature?                        6   and the reports that you prepared, have you
 7      A. Sorry, I'm a little slower than you.              7   performed any additional work in this case since
 8          Yes, that's my signature. 65.                    8   submitting your report?
 9      Q. Okay. And Exhibit A shows your -- your CV         9      A. No.
10   or your resumé; is that right?                         10      Q. Did you write both reports?
11      A. That's correct.                                  11      A. Yes.
12      Q. Do you have any updates to this resumé?          12      Q. Did you write them in their entirety?
13      A. The only thing that would need to be             13      A. Yes.
14   updated would be the most recent deposition I took     14      Q. Did anybody else help you with the
15   which would be in the stadium matter.                  15   reports?
16      Q. Okay. Appendix B is a list of the                16      A. Analysis Group provides drafting
17   documents you considered for your initial report; is   17   assistance with respect to the completion of
18   that right?                                            18   reports.
19      A. Yes.                                             19      Q. So what does drafting assistance mean?
20      Q. Are there any other documents that should        20      A. It basically means that they assist in
21   be listed here that are not currently listed that      21   formatting the report, preparing the exhibits,
22   you considered for your initial report?                22   proof -- proofing the document, things of that
23      A. No.                                              23   nature.
24      Q. Are you aware of any corrections that need       24      Q. Who decided which documents you would
25   to be made in your initial report?                     25   review in preparing your report?

                                                                                   5 (Pages 14 to 17)
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 1       A. That would be my decision.                       1          How did you make the initial determination
 2       Q. You understand the documents that are on         2   of which documents you wanted to see?
 3   the -- both appendices do not include all of the        3       A. Well, I think as you kind of go through
 4   documents in this case?                                 4   the report, what you're looking at is documents that
 5       A. I'm aware, yes.                                  5   are in support of my opinion relative to, you know,
 6       Q. Okay. And how did you receive those              6   this particular matter. So for example, you know,
 7   documents?                                              7   if I want to see a deposition that references
 8       A. Documents that I use are posted to an            8   foreign tax credits, if I want to see a prospectus
 9   Analysis Group site client portal, if you will, and     9   that references foreign tax credits, Analysis Group
10   then I have access to those documents.                 10   will assist me in obtaining them.
11       Q. So did counsel for Hancock post documents       11       Q. You have a number of e-mails that are
12   to that site initially?                                12   listed in the documents that you considered, right?
13       A. I don't know who actually posted the            13       A. Can you point me to which ones,
14   documents. I just know that when they're posted to     14   specifically?
15   that site, that's when I have access to them.          15       Q. Sure. Page 68 of your report.
16       Q. Okay. So who determined which documents         16       A. Page 68?
17   to post to that site initially?                        17       Q. Yeah. Page 68 of the PDF.
18       A. Initially, it would be my determination as      18       A. Yes.
19   to what documents I would like to see, and then        19       Q. Okay. You understand that many more
20   Analysis Group would facilitate the acquisition of     20   e-mails than these were produced in this case,
21   those documents and post them to the portal.           21   right?
22       Q. Okay. So did you make certain requests          22       A. I don't know that. I only know the ones
23   for certain categories of documents?                   23   that I had requested and have access to. I mean,
24       A. Can you help me define "categories"?            24   certainly, I would guess there are probably more
25       Q. Well, sure.                                     25   than that.

                                              Page 20                                                      Page 21
 1       Q. Okay. So what request did you make that          1           MR. FLECKNER: Objection.
 2   yielded these e-mails?                                  2       A. What I was referring to was in 2020 the
 3       A. Well, I think what we were looking for was       3   vendor change. So if I misspoke, I apologize, but
 4   in connection with foreign tax credits, Mr. Searcy's    4   initially, they, you know -- you know, had e-mails
 5   involvement with the Romanos looking for whether        5   related to foreign tax credits which I commented on.
 6   that was a factor in the decision the Romanos made      6   And then in deposition testimony, there were
 7   with respect to selecting Hancock at the outset, you    7   references to an RFI conducted in 2020, at which
 8   know, whether -- whether Mr. Searcy communicated to     8   point in time they made a change to Fidelity.
 9   them about foreign tax credits at that time, whether    9     BY MR. WEINSHALL:
10   there were other RFPs presented to them at that        10       Q. I understand that, but my question is
11   time, and then, you know, what happened in 2020 when   11   different. It's about the e-mails that you
12   they made the decision to change providers.            12   generated -- that are generated on this list here.
13       Q. Okay. You understand that none of the           13   I want to know how these particular e-mails were
14   e-mails here are from 2020, correct?                   14   selected.
15       A. No, the most recent one was 2017.               15           So is your testimony that these e-mails
16       Q. Okay. So in connection with this report,        16   came to you because you requested e-mails about the
17   you asked for e-mails regarding decision in 2020?      17   2020 decision to find a new service provider?
18       A. No. What that was, I think, part of the         18       A. No.
19   depositions that I read in the matter related to       19       Q. Okay. So your testimony is that these
20   2020.                                                  20   e-mails came to you because you asked for e-mails
21       Q. Okay. But in answering my previous              21   about Mr. Searcy's discussions with the plan
22   question about requests for e-mails, you mentioned a   22   fiduciaries and John Hancock; is that right?
23   decision in 2020.                                      23       A. What I was looking for was trying to gain
24          So are you now saying that is not what you      24   a better understanding of, first and foremost,
25   requested in connection with e-mails?                  25   whether there were any communications in 2014 and

                                                                                   6 (Pages 18 to 21)
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                                              Page 22                                                     Page 23
 1   2015 regarding foreign tax credits, and then some       1          You didn't review those; is that right?
 2   information regarding the pricing of Securian who       2       A. Their corporate tax return?
 3   was presented by Mr. Searcy as a potential provider     3       Q. Yeah.
 4   on behalf of other clients of his.                      4       A. No.
 5      Q. And when you were only produced the               5       Q. And you didn't review the Form 1118
 6   e-mails that are listed here, did you ask if there      6   either?
 7   were any other e-mails that were relevant to            7       A. No, that would have been beyond the scope
 8   questions that you were investigating?                  8   of my reports, so no, I did not review it.
 9          MR. FLECKNER: Objection.                         9       Q. Okay. The exhibits that are listed in
10      A. No, I did not.                                   10   this report and your rebuttal report, did you read
11    BY MR. WEINSHALL:                                     11   the entirety of all those documents?
12      Q. So you relied on counsel to provide you          12          THE VIDEOGRAPHER: Mr. Weinshall, it looks
13   the responsive e-mails?                                13       like he fell off.
14      A. Well --                                          14          MR. WEINSHALL: What?
15          MR. FLECKNER: Objection.                        15          THE VIDEOGRAPHER: It looks like he fell
16      A. Excuse me. So again, I requested                 16       off the call.
17   information as to whether there were other proposals   17          Should we go off the record?
18   Mr. Searcy might have been involved in that involved   18          MR. WEINSHALL: Mr. Gissiner did?
19   Securian. We wanted to see whether there was           19          THE VIDEOGRAPHER: Yes, sir.
20   information as to the pricing of those different       20          MR. WEINSHALL: Yeah, we should go off the
21   proposals, you know, assessing specifically whether    21       record then.
22   foreign tax credits impacted pricing.                  22          THE VIDEOGRAPHER: The time is 10:26 a.m.,
23    BY MR. WEINSHALL:                                     23       and we're going off the record.
24      Q. I don't see here the tax forms that John         24          (Recess taken.)
25   Hancock filed.                                         25          THE VIDEOGRAPHER: The time is currently

                                              Page 24                                                     Page 25
 1       11:04 a.m., and we're back on the record.           1   your report?
 2     BY MR. WEINSHALL:                                     2      A. No.
 3       Q. Great. So just to be clear on the record,        3      Q. Okay. When you made factual assertions in
 4   Mr. Gissiner, we just took a break there because        4   your two reports, was it your practice to support
 5   your computer crashed and you've set yourself up on     5   those assertions with cites to the evidence you were
 6   a new computer; is that right?                          6   relying upon to make those assertions?
 7       A. That's correct.                                  7      A. Can you kind of clarify your question for
 8       Q. All right. And with this new computer, I         8   me? So when I make factual assertions, you're
 9   just want to make sure the only apps that are open      9   asking if I attempt to cite something? Is that what
10   are Microsoft Teams and AgileLaw; is that right?       10   you're saying? I'm not -- maybe you can rephrase
11       A. That is correct.                                11   your question.
12       Q. So before we got interrupted by technical       12      Q. Yes. You have a number of footnotes in
13   issues, I had asked you as to all the documents        13   your report; is that right?
14   listed in the appendices and cited in your two         14      A. Yes, that is correct.
15   reports, did you read the entirety of each of those    15      Q. And what is the purpose of those footnotes
16   documents?                                             16   when they follow a sentence?
17       A. I would have to say yes. There might have       17      A. Oh, okay. So for example, if I'm citing a
18   been, you know, parts of certain documents that I      18   fact that John Hancock is ranked in the top five
19   might have skimmed through, but yeah. Yeah, I would    19   with respect to a number of small plan -- number of
20   have read everything.                                  20   small plan service, I will cite to a plan sponsor
21       Q. Have any other experts retained by John         21   survey that supports that information. That's an
22   Hancock commented on your report prior to it being     22   example.
23   issued?                                                23      Q. Okay. So in general, is it fair to say
24       A. Not to my knowledge.                            24   that the footnotes are included to identify what
25       Q. Did you consult with anybody else about         25   documents you're relying upon to make the assertions


                                                                                   7 (Pages 22 to 25)
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 1   in your report?                                         1       A. Or prior year?
 2       A. That's -- that's fair.                           2       Q. Well, let's start in this one.
 3       Q. Okay. And are there any factual                  3       A. Again, I'm going to guess, but somewhere
 4   statements in your report that you intended to          4   in the neighborhood of 300,000 maybe.
 5   support with citations to particular evidence but       5       Q. Okay. And that's around 40 to 50 percent
 6   did not?                                                6   of your total income?
 7       A. No.                                              7       A. Yeah. Again, it -- it -- I don't
 8       Q. What percentage of your income per year is       8   typically determine that until the end of the year,
 9   related to work on litigation?                          9   but, you know, based on other revenue that I
10       A. It varies by year, obviously. So I would        10   generate from my recurring practice, that would be
11   say it's fair to state that last year was a smaller    11   about 40 to 50 percent.
12   percentage. This year, it's probably approximating     12       Q. Let's go briefly over your background.
13   40 to 50 percent.                                      13           Did you -- do you have a college degree?
14       Q. Okay. How about the year before the             14       A. I do.
15   pandemic?                                              15       Q. From where?
16       A. So that would be what, 2019? Probably in        16       A. Did you say "where"?
17   the 30 percent range. I'd have to actually go back     17       Q. Yes.
18   at billing records and look, but -- but I think the    18       A. I have a BA degree from Muskingum
19   case volume has increased over the last couple         19   University. And for the court reporter, I'll spell
20   years, which has impacted income.                      20   it. It's M-U, S as in Sam, K-I-N-G-U-M. And then I
21       Q. Okay. So approximately how much have you        21   have an MBA from the University of Akron.
22   earned as being an expert in the most recent full      22       Q. Okay. Other than those two degrees, do
23   year?                                                  23   you have any other degrees from institutions?
24       A. In this year?                                   24       A. No.
25       Q. Uh-huh.                                         25       Q. When did you receive the MBA?

                                              Page 28                                                     Page 29
 1       A. I believe it was 1984 or 1985. I don't           1   mean, that was quite a long time ago. There could
 2   know the specific year.                                 2   have been plans that were structured in the form of
 3       Q. Okay. Have you ever worked for an                3   a group annuity platform, and there were certainly
 4   insurance company?                                      4   plans that were structured under a trustee platform.
 5       A. No.                                              5   I mean, over the course of my experience with
 6       Q. Okay. You mentioned in your report that          6   Coopers & Lybrand, we probably administered close to
 7   you have some experience providing administrative       7   a thousand different plans. So I can't recall a
 8   services including participant recordkeeping            8   specific plan, but it -- I think it's fair to state
 9   services to retirement plans; is that right?            9   that there would have been plans that had a GVA
10       A. That's correct.                                 10   platform.
11       Q. Okay. Was any of that experience for an         11       Q. Okay. But you don't have any recollection
12   issuer of group annuity contracts?                     12   specifically of that?
13          (Reporter clarification.)                       13       A. No, no, that was -- that was a long, long
14       A. Yes. So for example, when I was at              14   time ago.
15   Coopers & Lybrand and PricewaterhouseCoopers, we       15       Q. Okay. So is it fair to say your opinions
16   would perform recordkeeping services, and if there     16   are not based on that experience then?
17   was a stable value fund option on the platform, that   17       A. No, my opinions are based on more recent
18   would be through a -- that would have been likely      18   experience with group annuity platforms.
19   through a GVA.                                         19       Q. Okay. So what is your more recent
20     BY MR. WEINSHALL:                                    20   experience with group annuity platforms?
21       Q. Okay. But the overall structure of the          21       A. So it would really fall into a number of
22   retirement plans when you were working for             22   different ways, but mostly from what I would call
23   PricewaterhouseCoopers, was that through a trust       23   either a consulting standpoint as a retirement
24   format or through a group annuity platform?            24   consultant or from the standpoint of serving as an
25       A. There could have been. I don't recall. I        25   investment consultant on behalf of clients using


                                                                                    8 (Pages 26 to 29)
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 1   those platforms.                                        1   means?
 2       Q. Okay. And in each of those roles that you        2       A. I understand the word "benefit," but I'm
 3   just referred to, your clients are not the service      3   asking if you can maybe describe it in -- in a
 4   provider; is that right?                                4   context.
 5       A. No, they would be the plan sponsor.              5          Are you referring to an economic benefit
 6       Q. Okay. So the experience you're relying on        6   or something like that or a tax benefit? So maybe
 7   today as an expert is -- is as a consultant to plan     7   if you could define it better for me.
 8   sponsors; is that right?                                8       Q. Okay. An economic benefit.
 9       A. Correct.                                         9          Were you aware that issuers of group
10       Q. Prior to this case, has the issue of            10   annuity contracts receive an economic benefit from
11   foreign tax credits come up in your work with          11   foreign tax credits in connection with their work on
12   retirement plans?                                      12   separate accounts prior to this case?
13       A. No, it has not.                                 13          MR. FLECKNER: Objection.
14       Q. Okay. But prior to this case, you were          14       A. So my understanding is, is that insurance
15   generally aware of what foreign tax credits are; is    15   companies are the ownership of separate account
16   that right?                                            16   assets, and therefore, may be entitled to foreign
17       A. Yes.                                            17   tax credits that can be used to offset income on
18       Q. Okay. And prior to this case, were you          18   their corporate tax return.
19   aware that issuers of group annuity contracts          19     BY MR. WEINSHALL:
20   retained a benefit for foreign tax credits?            20       Q. Okay. And you understand that that may
21          MR. FLECKNER: Objection.                        21   provide a benefit to those insurance companies; is
22       A. When you say "benefit," can you define          22   that right?
23   what it is that you're referring to?                   23          MR. FLECKNER: Objection.
24    BY MR. WEINSHALL:                                     24       A. To the extent that it reduces taxable
25       Q. Do you understand what the word "benefit"       25   income, there may be a benefit, sure.

                                              Page 32                                                     Page 33
 1    BY MR. WEINSHALL:                                      1       Q. Well, any documents in this case that
 2      Q. Okay. And so my question is, were you             2   you've reviewed.
 3   aware prior to this case of that benefit to issuers     3       A. None of the documents that I reviewed
 4   of group annuity contracts?                             4   specifically indicated that.
 5      A. Yes, in -- in my experience, I have               5       Q. Okay. Other than TI -- TIAA, what does
 6   reviewed, you know, group annuity contracts from        6   that stand for?
 7   various providers, and -- and that is something         7       A. I think it's Teachers Individual Annuity
 8   that's disclosed typically in -- in, say, for           8   Association.
 9   example, a product prospectus. It might appear,         9       Q. Okay. But it's a service provider like
10   for, for example, an individual participant's          10   Hancock to 401(k) plans?
11   product. So it is something that I was aware of.       11       A. Mostly in higher end, mostly 403(b) plans.
12      Q. Okay. Can you give me an example of where        12       Q. Okay. But they're similar to 401(k) plans
13   such a disclosure was made?                            13   in that they're tax-advantaged retirement plans; is
14      A. Yeah. So for example, if you look at a --        14   that right?
15   and I've looked at these before. If you look at,       15       A. Yes.
16   for example, a TIAA group annuity product, TIAA will   16       Q. Are you aware of any other service
17   maintain on their platform separate account assets,    17   providers that make a disclosure like the one you
18   and they will indicate in -- I can't recall the        18   just described?
19   specific product, but I recall seeing it. They will    19       A. None that come immediately to mind. I
20   indicate that they are -- may be entitled to foreign   20   think -- I would have to actually go back and look,
21   tax credits.                                           21   but I believe -- I do believe in the past that I've
22      Q. Okay. Did you see any disclosures like           22   seen maybe disclosure documents from like Mass
23   that on Hancock's platform?                            23   Mutual or something that might make that same
24      A. When you say "platform," you're referring        24   reference.
25   to what specific documents?                            25       Q. Okay. Do you hold any academic positions?

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                                              Page 34                                                     Page 35
 1      A. No.                                               1   it, but certainly not -- no, I'm not opining on the
 2      Q. Have you ever held any academic positions?        2   legal issues surrounding ERISA.
 3      A. You mean like a professor, something like         3       Q. Okay. You said there's a practical
 4   that?                                                   4   component in working with clients in response to my
 5      Q. Yes.                                              5   question about whether you're an expert on legal
 6      A. No.                                               6   interpretation.
 7      Q. Okay. You're not an attorney; is that             7            What does that mean?
 8   right?                                                  8       A. You know, well, for example, you know,
 9      A. That's correct.                                   9   if -- if under ERISA a retirement plan is, you know,
10      Q. How would you describe your field of             10   required to have a plan document and that plan
11   expertise?                                             11   document contains certain provisions and features, I
12      A. Broadly defined, I would say that I've           12   don't get involved in writing the plan document, but
13   got, you know, 40 years of experience with             13   I may consult with a client as to: Do you want to
14   consulting on retirement plan arrangements, that I     14   have an automatic enrollment provision? Do you want
15   have a very good knowledge of retirement plan          15   to have a matching contribution? What is your
16   recordkeeping, fiduciary oversight, investment         16   eligibility requirements?
17   consulting, retirement plan design, how                17            So assisting them in developing the
18   recordkeeping fees are structured, and have done so    18   provisions of the plan, and then ultimately, either
19   within the context of working with large plans as      19   an attorney or a provider will produce a document
20   well as small plans.                                   20   that is reflective of those decisions made by the
21      Q. Okay. You're not an expert on the proper         21   plan sponsor.
22   legal interpretation of ERISA; is that right?          22       Q. Do you have an understanding of what ERISA
23      A. From a legal perspective, no. I would            23   requires of fiduciaries to retirement plans?
24   say, you know, from a practical perspective working    24            MR. FLECKNER: Objection.
25   with clients, there's -- there's that component of     25       A. Yes. In a broad sense, yes.

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 1    BY MR. WEINSHALL:                                      1   there are, you know, obviously, attorneys and so
 2      Q. What is that understanding?                       2   forth out there that are expert on the law. I don't
 3      A. Well, basically from -- I mean, it's -- it        3   opine on legal requirements of ERISA. What I do is
 4   could be a very long answer.                            4   assist plan sponsors in helping them meet those
 5         So do you -- could you maybe narrow it            5   requirements from what I would call a practical
 6   down as to what specific area you would like me to      6   perspective.
 7   discuss?                                                7       Q. So how do you first determine what those
 8      Q. Just in general, what is your                     8   requirements are?
 9   understanding of a fiduciary's obligations to a         9       A. Well, for example, one of the things that
10   plan?                                                  10   ERISA suggests as a best practice would be obviously
11         MR. FLECKNER: Objection.                         11   to monitor the funds for performance. And so as a
12      A. Well, in very general terms, ERISA               12   consultant, I may assist the committee or the plan
13   requires that plan sponsors act in the best interest   13   sponsor in, you know, serving as a 3(21) fiduciary
14   of plan participants with respect to how the plan is   14   to provide oversight of the investments, to make
15   managed, so engage in prudent activities with          15   suggestions with respect to investment fund changes,
16   respect to the oversight of the plan. And then         16   to report to the committee on the performance of the
17   within that context, there's, you know, various        17   plan, and to make recommendations as to changing
18   disclosure requirements that plan sponsors have to     18   alternative -- you know, changing to different funds
19   provide. There's various other tasks associated        19   if one is viewed to be underperforming. So that
20   with that that become part of that plan oversight.     20   would be one example.
21    BY MR. WEINSHALL:                                     21       Q. You said one of the things that ERISA
22      Q. And are you an expert as to what ERISA           22   suggests as a best practice would be to monitor
23   requires of fiduciaries?                               23   funds performance; is that right?
24      A. No, I would say that I approach it from          24       A. Yeah, I don't know specifically if it's a
25   what I said before, a practical standpoint. So         25   suggestion or just part of what I had said before


                                                                                  10 (Pages 34 to 37)
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                                               Page 38                                                    Page 39
 1   about the prudent management of the plan, but it's      1    BY MR. WEINSHALL:
 2   not uncommon for plan sponsors to have someone          2       Q. And what is your understanding of those
 3   provide oversight of the investment options.            3   disclosure obligations?
 4      Q. Okay. But how would you go about                  4       A. Well, I mean, they fall into various
 5   determining if that is a requirement of ERISA?          5   areas. So first, retirement plans are required to
 6          MR. FLECKNER: Objection.                         6   perform and prepare a Form 5500 which documents
 7      A. I wouldn't determine it. I myself would           7   activity for the year, includes various schedules
 8   not make a determination as to whether that's a         8   depending on the size of the plan, may include
 9   requirement or not. I would work with a plan            9   audited financial statements depending on the size
10   sponsor that has deemed that something that they       10   of the plan. That would be one example.
11   wanted to accomplish, and then I would facilitate,     11       Q. Okay. Any others?
12   whether it's through firms that I work with or other   12       A. Plan sponsors are required to provide
13   firms, to have that accomplished.                      13   participants with what's referred to as 404(a)(5)
14     BY MR. WEINSHALL:                                    14   disclosure notice which provides information to the
15      Q. And ultimately, would you agree that             15   participants on the investments of the plan and
16   whether or not monitoring the performance of the       16   related fees, and then service providers are
17   plan is a requirement of ERISA is a legal question?    17   required to provide plan sponsors with what's
18      A. I think it's a legal question that I think       18   referred to as 408(b)(2) disclosure notice which is
19   a plan sponsor would have to make a determination.     19   specific to the plan sponsors' arrangement with the
20      Q. Okay. You mentioned earlier that you             20   service provider.
21   understand there's certain disclosure obligations      21       Q. And what is your understanding of what
22   for fiduciaries under ERISA; is that right?            22   needs to be disclosed under Rule 408(b)(2)?
23          MR. FLECKNER: Objection. Misstates.             23       A. I believe that we reference that in my
24      A. Yes. So for example, whether it's -- yes.        24   report, but basically, in a very general sense,
25                                                          25   there's two components of a 408(b)(2) disclosure

                                               Page 40                                                    Page 41
 1   notice. There's direct compensation and what's          1   408(b)(2) disclosures and my understanding of, as a
 2   referred to as indirect compensation.                   2   practitioner in the area, what I've seen with
 3      Q. Okay. And both need to be disclosed; is           3   different disclosure documents, what I see with
 4   that right?                                             4   5500s. I wouldn't call myself a legal -- I'm not
 5          MR. FLECKNER: Objection. Calls for a             5   offering a legal opinion as to what is required to
 6      legal conclusion.                                    6   be disclosed.
 7          You can answer, if you know.                     7     BY MR. WEINSHALL:
 8      A. There's certain components of indirect            8       Q. Okay. So ultimately, you would agree that
 9   compensation that, depending on the amount, do not      9   what is required to be disclosed is a legal
10   need to be disclosed.                                  10   question?
11     BY MR. WEINSHALL:                                    11       A. I think I would fall back to what the
12      Q. Okay. But if they exceed a certain               12   Department of Labor has indicated as to what is to
13   amount, then they do need to be disclosed, is your     13   be disclosed to plan sponsors. So they've provided
14   understanding?                                         14   guidance to plan sponsors that, as a practitioner, I
15          MR. FLECKNER: Objection.                        15   follow in terms of helping plan sponsors understand
16      A. I believe that is correct, yeah. I would         16   what's in a 408(b)(2) disclosure notice.
17   be happy to look in my report and pull up that         17       Q. And is that a legal determination, or is
18   exhibit.                                               18   it a determination that's based on industry
19     BY MR. WEINSHALL:                                    19   practice?
20      Q. Okay. Are you presenting yourself as an          20          MR. FLECKNER: Objection.
21   expert as to what does and does not need to be         21       A. It's based on industry practice.
22   disclosed under Rule 408(b)(2)?                        22     BY MR. WEINSHALL:
23          MR. FLECKNER: Objection.                        23       Q. That's the determination that you're
24      A. No. What I'm -- what I am opining on is          24   providing to your clients; is that right?
25   is what I see in -- what I commonly see with           25       A. Yes, I mean, so if -- if XYZ company

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 1   produces a 408(b)(2) notice on behalf of a client, I    1   that ultimately a legal question?
 2   will review it, and, you know, if a client requests,    2      A. When you say "something needs to be
 3   you know, discussion as to what's specifically          3   disclosed," what are you referring to, specifically?
 4   included in there, right? I'm not -- I'm not            4      Q. For example, a benefit received by a
 5   opining as to whether XYZ company followed the          5   foreign -- in connection with a foreign tax credit,
 6   letter of the law as to what was produced. I will       6   whether that needs to be disclosed in a Rule
 7   look as it as to whether it's consistent with the       7   408(b)(2) disclosure.
 8   DOL regulations on that subject.                        8          Do you agree that that is a legal
 9       Q. Okay. So what you just described was             9   question?
10   looking at a 408(b)(2) disclosure and considering      10      A. I can say from my own experience, I've
11   whether it's consistent with Department of Labor       11   never seen it disclosed, so from a practical sense,
12   guidance according to your understanding of industry   12   my opinion would be that that's not something that
13   practice; is that right?                               13   has to be disclosed. If the DOL or some other
14       A. And my understanding -- my understanding        14   entity makes a determination as to whether that's to
15   of the regulations.                                    15   be disclosed, that would be outside of my purview.
16       Q. Okay. And you mean your -- your                 16      Q. Okay. But ultimately, would you agree
17   understanding of what those regulations legally        17   that the answer to that question depends on
18   require?                                               18   interpretation of what a regulation requires?
19          MR. FLECKNER: Objection.                        19      A. No, I don't -- I don't necessarily agree
20       A. Again, you're using the term "legally           20   with that. So again, there is, in my experience,
21   require," and what I'm saying is, it's based on a      21   having reviewed the DOL regs as well as reviewing,
22   practical experience.                                  22   you know, dozens of different white papers either
23    BY MR. WEINSHALL:                                     23   issued by consulting firms or recordkeepers, I've
24       Q. Okay. But my question is, in this case,         24   never seen any reference to foreign tax credits as
25   whether something needs to be disclosed or not, is     25   being something that has to be disclosed on a

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 1   408(b)(2) disclosure notice.                            1   certainly do know that if plan sponsors do not -- if
 2      Q. Okay. I understand that.                          2   recordkeepers don't provide that fee disclosure
 3          But the question of -- I'm not asking            3   notice and plan sponsors don't receive it, that
 4   whether it has been or hasn't been disclosed, I'm       4   there could be, you know, penalties associated with
 5   asking the question of whether or not it is required    5   that, but, you know, ultimately, the DOL produces
 6   to be disclosed under the regulation is ultimately a    6   regulations that describe what's to be disclosed in
 7   legal question; is that right?                          7   a 408(b)(2) disclosure notice. Recordkeepers that
 8          MR. FLECKNER: Objection.                         8   prepare those notices are subject to adherence to
 9      A. I don't know if it's a legal question. I          9   those regulations, and plan sponsors that receive
10   think it would ultimately be something that I would    10   them are, you know -- basically, you know, have to,
11   think that the Department of Labor would have to       11   you know, either work with a consultant or their
12   determine as to whether that's something to be         12   recordkeeper to understand what those disclosures
13   disclosed. And again, in the DOL's regulation,         13   indicate because, again, you know, the reason for
14   there is no reference to it. So given the fact that    14   the disclosures, going back to when they were
15   there's no reference to it, it would be my             15   established, was to improve fee transparency.
16   interpretation, again, as a practitioner, that it's    16    BY MR. WEINSHALL:
17   not something that needs to be disclosed.              17       Q. As to fee transparency, what does that
18     BY MR. WEINSHALL:                                    18   mean?
19      Q. Okay. And ultimately, you're relying on          19       A. Well, basically, to help a plan sponsor
20   the Department of Labor's interpretation of the        20   gain a better understanding of the various ways that
21   regulation because that is the agency that has the     21   service providers, whether it's the recordkeeper or
22   legal obligation to enforce the regulation, right?     22   an investment adviser, are collecting fees.
23          MR. FLECKNER: Objection.                        23       Q. Are you offering any opinions as to
24      A. That's a -- sorry, that's a bit beyond my        24   whether John Hancock breached its fiduciary duties
25   expertise as to enforcing the regulation. I            25   in this case?

                                                                                 12 (Pages 42 to 45)
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                                              Page 46                                                      Page 47
 1       A. Fiduciary duties in what regard?                 1   with John Hancock's treatment of foreign tax
 2       Q. Under ERISA.                                     2   credits, are you offering an opinion as to whether
 3       A. That -- that's too broad. I mean, the            3   John Hancock engaged in any prohibited transactions
 4   question is -- is -- are you referring to -- again,     4   of ERISA?
 5   you have to kind of define it for me a little bit       5       A. No.
 6   more.                                                   6       Q. Are you offering any opinions in
 7       Q. Well, are you offering an opinion whether        7   connection with John Hancock's treatment of foreign
 8   in this case either that John Hancock did or did not    8   tax credits as to whether John Hancock functioned as
 9   breach any fiduciary duties in this case?               9   a fiduciary with respect to the plan?
10       A. I am not offering that opinion, no.             10          (Reporter clarification.)
11       Q. Okay. So you're not offering an opinion         11       A. Sorry, could you repeat the question?
12   that John Hancock did not breach any fiduciary         12     BY MR. WEINSHALL:
13   duties; is that right?                                 13       Q. Sure. In connection with John Hancock's
14       A. Subject to -- I think, again, when you          14   treatment of foreign tax credits, are you offering
15   refer to breach of fiduciary duties, those can cover   15   any opinions as to whether John Hancock functioned
16   any number of different things, so I think it would    16   as a fiduciary under ERISA with respect to the plan?
17   be better if you could maybe be more specific as to    17       A. As they pertain to foreign tax credits?
18   a specific area that you're interested in.             18       Q. Yes.
19       Q. Okay. In connection with John Hancock's         19       A. No.
20   treatment of foreign tax credits, are you offering     20       Q. As it pertains to any other issue in this
21   an opinion as to whether John Hancock breached any     21   case, are you offering an opinion as to whether John
22   fiduciary duties under ERISA?                          22   Hancock functioned as a fiduciary under ERISA?
23       A. No. No, I'm not. I'm not offering that          23       A. They functioned as a limited fiduciary as
24   specific opinion.                                      24   defined in the supplemental information agreement
25       Q. Okay. Are you offering -- in connection         25   and in the group variable annuity agreement.

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 1       Q. Okay. So you are -- you are offering an          1   as a fiduciary in -- with respect to any issue in
 2   opinion that John Hancock functioned as a fiduciary     2   this case, right?
 3   in those specific roles.                                3          MR. FLECKNER: Objection.
 4          Other than those, are you offering an            4       A. I'm not sure I understand the question.
 5   opinion one way or the other as to whether John         5    BY MR. WEINSHALL:
 6   Hancock served as a fiduciary in this case?             6       Q. Okay. Well, I think -- I think we got the
 7          MR. FLECKNER: Objection.                         7   answers already.
 8       A. So let's -- let's parse the question. So         8          Are you offering any opinions as to
 9   I am not offering an opinion as to whether John         9   whether the plaintiffs breached any fiduciary duties
10   Hancock served as a fiduciary with respect to the      10   in this case?
11   treatment of foreign tax credits. In my report, I      11       A. No.
12   refer to the limited fiduciary role described by       12       Q. Okay. Are you offering any opinions as to
13   John Hancock in their service agreements. So I just    13   whether any members of the potential class breached
14   want to make sure that I separate the two out and      14   any fiduciary duties?
15   not answer as if they're an aggregate.                 15       A. And again, I'm going to ask, when you say
16     BY MR. WEINSHALL:                                    16   "fiduciary duties," what is it you're referring? I
17       Q. Okay.                                           17   mean, again, I can't comment on -- on each and every
18       A. So I did serve as a limited fiduciary with      18   plan. So I can't comment as to whether the entire
19   respect to the plan.                                   19   class engaged in a breach of fiduciary duties,
20       Q. Okay. And you're not offering an opinion        20   because I'd have to look at each and every
21   there, you said, you're just reciting what the         21   individual plan.
22   document says; is that right?                          22       Q. And you haven't done that, right?
23       A. That's correct.                                 23       A. No.
24       Q. Okay. So you're also not offering an            24       Q. So you're not offering any opinions then
25   opinion in this case that John Hancock did not serve   25   as to whether any class member has breached any


                                                                                  13 (Pages 46 to 49)
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                                              Page 50                                                     Page 51
 1   fiduciary duties, right?                               1       Q. Sure. Did you assume certain things to be
 2       A. No.                                             2   true in preparing the opinions that you set forth in
 3       Q. I'm not right, or I am right?                   3   your two reports.
 4       A. No. I mean, to the extent that each and         4       A. Did I assume certain things to be true?
 5   every individual plan, whether they engaged in a       5   I -- I don't quite follow the -- the question.
 6   fiduciary breach in any number of different areas,     6       Q. All right. Well, for example, sometimes
 7   no, I'm not offering that opinion.                     7   an expert will say, a damages expert will say, I
 8       Q. Have you published any work regarding           8   assume that -- that the plaintiff will establish
 9   foreign tax credits?                                   9   liability and so I'm just going to calculate
10       A. No.                                            10   damages.
11       Q. Have you provided expert testimony in any      11           Did -- my question is, did -- did counsel
12   other litigation regarding foreign tax credits?       12   for John Hancock instruct you to accept certain
13       A. No.                                            13   assumptions as true in order to prepare your
14       Q. And you testified earlier, your work as a      14   reports?
15   consultant over the past 40 years, you have not       15       A. No.
16   worked on any issues regarding foreign tax credits;   16       Q. Okay. Did you develop an opinion one way
17   is that right?                                        17   or the other as to whether foreign tax credits
18       A. No.                                            18   provide a benefit to John Hancock in this case?
19       Q. It's not right, or it is right?                19       A. I think we talked about that before. So
20       A. I have not.                                    20   to the extent that foreign tax credits reduce
21       Q. Okay. Did you make any assumptions in          21   corporate tax liability, then that would be a
22   preparing the opinions articulated in the two         22   benefit to John Hancock.
23   reports?                                              23       Q. Okay. So you understand as just a factual
24       A. I'm sorry, what do you mean by                 24   matter that John Hancock does receive a benefit from
25   "assumptions"?                                        25   the reduction of corporate tax liability in

                                              Page 52                                                     Page 53
 1   connection with its -- the foreign tax credits it      1   and I have a stock that's in both. If Sanofi pays a
 2   receives from its separate accounts; is that right?    2   dividend, that dividend is distributed to my account
 3           MR. FLECKNER: Objection.                       3   net of foreign taxes withheld, and because it's a
 4       A. Again, in a general sense. Again, I did         4   401(k) account, I do not have the benefit of the
 5   not look at the specific -- you know, I'm not          5   foreign tax credit. So if they distribute to me a
 6   opining on their specific tax returns. You know,       6   thousand dollars in dividends, they withhold
 7   there could be foreign tax credits that are offset     7   20 percent, $80 flows into my retirement account --
 8   by taxes in other areas. But beyond that, I mean,      8   or $800 flows into my retirement account.
 9   it's just simply, you know, there could be benefits    9          Same stock held in my personal account,
10   associated with foreign tax credits.                  10   same fact pattern, except at the end of the year,
11     BY MR. WEINSHALL:                                   11   Fidelity provides me with a report that shows me the
12       Q. Okay. So you just -- you took that as a        12   amount of foreign tax credits, and then I can use
13   given in preparing your reports; is that right --     13   those foreign tax credits as a credit against
14           MR. FLECKNER: Objection.                      14   taxable income.
15     BY MR. WEINSHALL:                                   15       Q. Okay.
16       Q. -- for giving an opinion?                      16       A. Its not -- again, it's not available to me
17           MR. FLECKNER: Objection.                      17   in the 401(k), it is available to me in my personal
18       A. Well, I -- I didn't necessarily take it as     18   account.
19   a given. Just I know based on my own individual       19       Q. And do you -- what is the service provider
20   experience how foreign tax credits work, both with    20   for your 401(k)?
21   respect to my 401(k) account and with respect to my   21       A. Fidelity.
22   personal account.                                     22       Q. And is that on a trust platform or a group
23     BY MR. WEINSHALL:                                   23   annuity contract?
24       Q. And what is your experience there?             24       A. It's on a trust platform.
25       A. So in my -- in my 401(k) account, if --        25       Q. Did you review the report of Professor

                                                                                 14 (Pages 50 to 53)
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                                              Page 54                                                      Page 55
 1   DeSimone, the rebuttal report of Professor DeSimone     1   group annuity contracts is is that the owner of the
 2   in connection with this case?                           2   assets is the insurance company. That's in contrast
 3          MR. FLECKNER: Objection.                         3   to trustee plans where the owner of the assets is
 4       A. I'd have to go look in my report. I might        4   the trust company. And then, you know,
 5   have reviewed it as part of the rebuttal, but can       5   participating retirement plans, whether it's in a --
 6   you tell me specifically what --                        6   within the group annuity can then select from the
 7    BY MR. WEINSHALL:                                      7   various investment options that are part of the
 8       Q. It was -- it was produced on the same day        8   separate account.
 9   that you produced your rebuttal, so it would not be     9       Q. And is it your understanding that the
10   something that was available to you to prepare your    10   issuer of the group annuity contracts and the
11   rebuttal. It would be something that would be after    11   owner of the separate account, in this case, John
12   your rebuttal.                                         12   Hancock, was then obligated to pass back to the
13       A. After my rebuttal report was prepared, I        13   policyholders the investment returns from the
14   don't recall reviewing it then.                        14   separate accounts?
15       Q. What is your understanding of how separate      15          MR. FLECKNER: Objection.
16   accounts work at Hancock in connection with group      16       A. When you say, for example, the investment
17   annuity contracts and 401(k) funds?                    17   experience of the separate accounts?
18       A. Generally, what happens is is that if a         18     BY MR. WEINSHALL:
19   separate account is established, that the assets --    19       Q. Yes.
20   when John Hancock establishes a separate account,      20       A. Yes. So to the extent that, you know, a
21   they are the owner of the assets, and individual       21   mutual fund is part of the separate account, then
22   retirement plans can participate in the group          22   yes, the experience of that mutual fund is then
23   annuity contract or the available investment funds     23   passed through to what I would call the unitholders
24   that are part of that separate account.                24   of the separate account.
25          I think what's -- what's different about        25       Q. And that would be the retirement plans for

                                              Page 56                                                      Page 57
 1   their -- their participants, right?                     1   necessary to separate the components is available
 2      A. Correct.                                          2   and accessible; is that right?
 3      Q. Okay. You agree that retirement plan              3          MR. FLECKNER: Objection.
 4   service providers, like John Hancock in this case,      4       A. So you said is the -- could you repeat
 5   are required to report direct compensation and          5   your question? I was focusing on the word
 6   indirect compensation on annual 408(b)(2)               6   "assurance."
 7   disclosures?                                            7     BY MR. WEINSHALL:
 8          MR. FLECKNER: Objection. Calls for a             8       Q. Sure. These disclosures provide assurance
 9      legal conclusion.                                    9   that the data necessary to separate the components
10          You can answer, if you know.                    10   is available and accessible; is that right?
11      A. I could just tell you from a practical           11          MR. FLECKNER: Objection.
12   experience working with not just providers such as     12       A. No, I wouldn't describe the 408(b)
13   John Hancock, but also other providers, that direct    13   disclosures as doing that.
14   and indirect compensation amounts are reported on      14     BY MR. WEINSHALL:
15   408(b)(2) disclosure notices.                          15       Q. Have you written any articles that have
16     BY MR. WEINSHALL:                                    16   been published regarding ERISA?
17      Q. And those are issued annually; is that           17       A. Regarding ERISA in what context? I mean,
18   right?                                                 18   just an article about ERISA or articles that touch
19      A. I don't necessarily know if they're issued       19   on ERISA topics?
20   annually. Some service providers don't necessarily     20       Q. Touch on ERISA topics.
21   provide them annually, but, you know, again, for the   21       A. Yes.
22   most part, what I've seen is that generally they're    22       Q. Okay. Have you written an article called
23   produced annually.                                     23   "A Guide to Avoid Becoming an Unfair Target of ERISA
24      Q. Okay. And the purpose of these                   24   Litigation"?
25   disclosures is to provide an assurance that the data   25       A. Yes.


                                                                                  15 (Pages 54 to 57)
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                                              Page 58                                                     Page 59
 1       Q. Let me show you what we'll mark as              1      Q. Okay. So did you write that?
 2   Exhibit 152.                                           2      A. I did.
 3           (Thereupon, marked as Exhibit 152.)            3      Q. Okay. And do you now disagree with what
 4     BY MR. WEINSHALL:                                    4   you wrote?
 5       Q. Is this the article that you just               5      A. Let me just read it again.
 6   testified you wrote?                                   6           No, I don't -- I don't -- I don't
 7       A. Yes, it is.                                     7   disagree.
 8       Q. And you wrote this article, correct?            8      Q. Okay. So when you testified earlier --
 9       A. Yes. I'm just smiling because it was            9   when I asked you earlier, do the 408(b)(2)
10   right in the middle of the pandemic, so I -- right    10   disclosures provide assurance that the data
11   when it started.                                      11   necessary to separate the components is available
12       Q. Okay. Can you read -- go down to the           12   and accessible, and you testified no, that was not
13   second-to-last -- the second page under final         13   correct; is that right?
14   comments.                                             14           MR. FLECKNER: Objection.
15           Do you see that?                              15      A. Yeah, because if you read the sentence, I
16       A. Page 2 or 3, please?                           16   said, "These disclosures, in addition to information
17       Q. Page 2.                                        17   that's readily available from the plan sponsor sites
18       A. Oh, final comments. Yes, I see that.           18   offered by service providers."
19       Q. Okay. Can you read the last sentence, not      19    BY MR. WEINSHALL:
20   the italicized one, but the one above that?           20      Q. Okay. So it's -- it's not that -- the
21       A. "These disclosures, in addition to             21   only distinction you're making is, when you answered
22   information readily available from plan sponsor       22   no to my question, it was because you had in your
23   sites offered by service providers, provides the      23   mind that there also was information readily
24   assurance that the data necessary to separate fee     24   available from plan sponsor sites offered by service
25   components is available and accessible."              25   providers?

                                              Page 60                                                     Page 61
 1       A. Well, yeah, in addition to, you know,           1          Do you see that?
 2   information that can be obtained directly from the     2       A. Yes.
 3   plan sponsor provider. So I -- if I recall             3       Q. Okay. In your second opinion, you state
 4   correctly, your -- your question was specific to       4   that, "The plaintiffs' experts predicate their
 5   408(b)(2) disclosures. But here, oftentimes that if    5   opinions on the assumption that Hancock served as a
 6   a plan sponsor wants additional information            6   fiduciary," and your opinion is that Hancock was not
 7   regarding fees and so forth, they can obtain that      7   a fiduciary under ERISA 3(21) and 3(38); is that
 8   from their recordkeeping site or they can obtain       8   right?
 9   that from the plan sponsor or the service providers    9       A. That's correct.
10   themselves.                                           10       Q. Okay. So earlier, when I had asked you
11       Q. Okay. But do you agree with this               11   whether you were offering an opinion as to whether
12   statement now, now that you've read it, that was      12   Hancock was a fiduciary, you said no, was that not
13   published in your article?                            13   correct?
14       A. Yeah, I'm comfortable with that statement.     14       A. I think I answered the question that the
15       Q. Okay. Let's go to your rebuttal report.        15   role that fiduciary -- the -- the role John Hancock
16       A. Okay. And that is document -- that's 151,      16   had as a fiduciary was a limited fiduciary, and we
17   right?                                                17   talked about how that was disclosed in the
18       Q. I think that's the first exhibit that we       18   agreement, the supplemental service agreement.
19   marked in this case.                                  19          So when I responded to your question, I
20       A. Okay. First exhibit. I'm sorry. Okay.          20   did state that Hancock did have a limited fiduciary
21   I'm there.                                            21   role. That limited fiduciary role was described in
22       Q. If you look at the summary of opinions,        22   the documents provided to plan sponsors, in this
23   which I think is --                                   23   case, Romano, and here, I'm stating that they did
24       A. Page 4?                                        24   not serve as an ERISA 3(21) or ERISA 3(38)
25       Q. -- page 4.                                     25   investment fiduciary.

                                                                                 16 (Pages 58 to 61)
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                                              Page 62                                                     Page 63
 1      Q. Okay. So you are now offering an                  1       A. As I understand it, correct.
 2   affirmative opinion that John Hancock did not           2       Q. Okay. So ultimately, the question of
 3   serve as an ERISA 3(21) or 3(38) fiduciary; is that     3   whether someone is or is not a fiduciary is
 4   right?                                                  4   determined by whether or not the standard set forth
 5      A. That is correct.                                  5   in those statutes is met, correct?
 6      Q. Okay. And that is based on your                   6          MR. FLECKNER: Objection.
 7   understanding of what those provisions of ERISA         7       A. No, not necessarily. That's not correct.
 8   require; is that right?                                 8     BY MR. WEINSHALL:
 9          MR. FLECKNER: Objection.                         9       Q. Okay. So you're saying if a Court
10      A. It's based on my just practical                  10   determines that someone is a fiduciary under those
11   experience. So as a consultant, I work for firms       11   standards, then they are not a fiduciary?
12   that serve as an ERISA 3(21) fiduciary and I work      12       A. What I'm stating is is that ERISA 3(21)
13   for firms that serve as an ERISA 3(38) fiduciary.      13   and ERISA 3(38) fiduciary definitions are
14   So it's not a legal definition of the term, it's       14   well-defined, but someone, a plan sponsor, for
15   just based on practical experience with clients.       15   example, could become an ERISA 3(21) fiduciary just
16     BY MR. WEINSHALL:                                    16   by virtue of the actions taken with respect to the
17      Q. Okay. But you just quoted in here ERISA          17   plan.
18   3(21) and 3(38).                                       18          So you could be designated, as the firm I
19          Those are statutes, correct?                    19   work with is, that we are serving as an ERISA 3(21)
20          MR. FLECKNER: Objection.                        20   fiduciary, and in our documents, we will describe
21      A. Yeah. Yes, but they're also terminology          21   what that entails or whether we serve as an ERISA
22   to define the role of an adviser.                      22   3(38) fiduciary.
23     BY MR. WEINSHALL:                                    23          So again, my opinion here is not based on
24      Q. Okay. And ultimately what defines that           24   a statute interpretation, it's again based on
25   role is statutes, correct?                             25   practical experience as to working with clients that

                                              Page 64                                                     Page 65
 1   use 3(21) or 3(38) investment fiduciaries.              1   is my opinion based on documents, but also based on
 2      Q. So you're -- you're talking about your            2   practical industry experience.
 3   documents that acknowledge someone is a 3(21) or        3       Q. Right. And the experience you're talking
 4   3(38) fiduciary; is that right?                         4   about there is whether or not a service provider
 5      A. Correct.                                          5   identifies itself as a 3(21) or 338 fiduciary?
 6      Q. Okay. So do you have an opinion as to             6       A. Whether they formally identify it or just
 7   whether if someone does not acknowledge him or          7   my understanding of how, you know, the industry
 8   herself as a 3(21) or 3(38) fiduciary, that person      8   structures itself.
 9   can still be -- meet the criteria of those statutes?    9       Q. Okay. That last part is what I'm not
10          MR. FLECKNER: Objection.                        10   understanding.
11      A. Again, subject to, you know, a legal             11          Are you offering an opinion as to, aside
12   interpretation, yes. If someone who is not a           12   from whether or not Hancock identified itself as a
13   designated investment fiduciary acts like a            13   3(21) or 3(38) fiduciary, whether its conduct meets
14   fiduciary, then yes, in theory, they could -- they     14   those criteria?
15   could be named as one.                                 15       A. No.
16     BY MR. WEINSHALL:                                    16       Q. Okay. Are you aware of any provision in
17      Q. Okay. So your -- but your opinion here as        17   ERISA that allows a service provider to limit the
18   to whether John Hancock was a 3(21) or 3(38)           18   scope of its fiduciary duties?
19   fiduciary is just based on the fact that John          19          MR. FLECKNER: Objection.
20   Hancock did not say it was a 3(21) or 3(38)            20       A. No. I mean, that -- that sounds like
21   fiduciary; is that right?                              21   something that would require some type of legal
22      A. Well, that, and again, just based on my          22   interpretation. So I'm -- I'm not -- I just -- I'm
23   experience in the industry. So again, I've worked      23   aware of the different, you know, definitions of
24   with, you know, thousands of different retirement      24   fiduciary, right, but I'm not aware of, you know,
25   plans. So I think it's fair to state that not only     25   what ERISA mandates.

                                                                                  17 (Pages 62 to 65)
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                                              Page 66                                                     Page 67
 1     BY MR. WEINSHALL:                                    1       A. Okay.
 2       Q. Okay. I just want to make sure we're            2       Q. Subpart 21(A) in the middle of the page.
 3   talking about the same thing with 3(21) and 3(38).     3       A. Yes, 21(A). Yep.
 4           You're referring to the statute that's         4       Q. Okay. When you're referring to a 3(21)
 5   codified at 29 USC Section 1002; is that right?        5   fiduciary, are you referring to this 21, you know,
 6           MR. FLECKNER: Objection.                       6   Subsection 21 of this statute?
 7       A. I don't know if I cited that in my report.      7       A. So specifically, 3(21) fiduciary, as I
 8   I -- I don't know the specific code section you're     8   understand it, is subparagraph 2.
 9   referring to.                                          9       Q. "Someone who renders investment advice for
10     BY MR. WEINSHALL:                                   10   a fee or other compensation, direct or indirect,
11       Q. Okay. Let me show it to you then.              11   with respect to any monies or other property of such
12   Exhibit 153.                                          12   plan or has any authority or responsibility to do
13           (Thereupon, marked as Exhibit 153.)           13   so."
14       A. Okay. I have it.                               14          Is that the section you're referring to?
15     BY MR. WEINSHALL:                                   15       A. Correct.
16       Q. You've seen this statute before, I             16       Q. Okay. So when you're saying a 3(21)
17   presume?                                              17   fiduciary, you're not referring to romanette i or
18           MR. FLECKNER: Objection.                      18   romanette iii; is that right?
19     BY MR. WEINSHALL:                                   19          MR. FLECKNER: Objection.
20       Q. Mr. Gissiner, have you seen this statute       20       A. That is correct.
21   before?                                               21     BY MR. WEINSHALL:
22       A. I don't recall seeing this, specifically.      22       Q. Okay. Let's scroll down to paragraph 38,
23   I may have in the past looked at it, but...           23   which is on page 12.
24       Q. Okay. So if you scroll to page 5 of the        24       A. Okay.
25   PDF?                                                  25       Q. When you're saying 3(38) in your report,

                                              Page 68                                                     Page 69
 1   does it refer to this section?                         1          MR. FLECKNER: Objection.
 2       A. Yeah, so it would be -- let me just read        2       A. So are you -- I'm sorry. Maybe rephrase
 3   through here.                                          3   your question.
 4           So it would be A, 3(38).                       4          So are you saying that John Hancock has
 5       Q. Okay. You see the statute. It says, "If         5   acknowledged in writing that it's a fiduciary with
 6   the term investment manager meets any fiduciary,"      6   respect to the plan in relation to their limited
 7   and then parentheses "other than a trustee or named    7   fiduciary role? Because I see C as being part of
 8   fiduciary as defined in Section 1102(a)(2) of this     8   38.
 9   title," and then it -- scroll down to C, it says,      9     BY MR. WEINSHALL:
10   "It has acknowledged in writing that he is a          10       Q. Right. It is part of 38. So my question
11   fiduciary with respect to the plan."                  11   is, are you -- are you expressing an opinion as to
12           Do you see that?                              12   whether John Hancock's acknowledgment in the
13       A. That's what it states.                         13   recordkeeping agreement, that it is serving as a
14       Q. Okay. And do you have any understanding        14   limited fiduciary meets the criteria of Section
15   about whether or do you have any opinion as to        15   38(C)?
16   whether John Hancock meets the criteria of 38(C)?     16          MR. FLECKNER: Objection.
17           MR. FLECKNER: Objection.                      17       A. No. In my opinion, as it's stated in the
18       A. Specific to how the plans are serviced and     18   report, John Hancock is not serving as an ERISA
19   how they're defined, no.                              19   3(38) fiduciary, and therefore, would not be
20     BY MR. WEINSHALL:                                   20   required to acknowledge that in writing.
21       Q. Okay. And with respect to the                  21     BY MR. WEINSHALL:
22   recordkeeping agreement where John Hancock            22       Q. Okay. I don't think that answers the
23   identifies itself as a limited fiduciary, do you      23   question, so maybe I'm not being clear.
24   have any opinion as to whether that meets the         24          My question is, first, you understand that
25   criteria of 38(C)?                                    25   in the recordkeeping agreement that John Hancock

                                                                                18 (Pages 66 to 69)
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                                               Page 70                                                    Page 71
 1   entered into with the plaintiffs in this case, that     1   fiduciary, it does so under the fiduciary status
 2   it identified itself as a limited fiduciary; is that    2   section of this document where it says "to the
 3   right?                                                  3   extent," that sentence starting there; is that
 4       A. That's correct. And maybe it would be            4   right?
 5   helpful if we could bring that agreement up and we      5       A. Yes, right. "To the extent that John
 6   could point to it.                                      6   Hancock," yep.
 7       Q. Okay. Let's do that.                             7       Q. Okay. So my question for you is, are you
 8       A. And I think there's actually two. There          8   offering an opinion as to whether this language in
 9   would be the Supplemental Information Agreement and     9   the recordkeeping agreement does or does not meet
10   then the Group Variable Annuity Agreement.             10   the criteria of 38(C) in the statute we just looked
11       Q. Okay. I just marked Exhibit 154. It             11   at in Exhibit 153 for a fiduciary who has
12   actually has another exhibit number on it that's       12   acknowledged in writing that he is a fiduciary with
13   been marked elsewhere.                                 13   respect to the plan?
14          (Thereupon, marked as Exhibit 154.)             14       A. Yeah, because if you go on, it says --
15       A. Okay. There's also -- I think this may          15   describes what their role is, "holding assets,
16   not be the complete amount of disclosure, because I    16   voting proxies, acting only in accordance with
17   believe, in addition to this document, there's also    17   directions from the trustees, participants, and
18   a supplemental information guide that also includes    18   beneficiaries as provided in this agreement."
19   language regarding fiduciary status.                   19          So the fact that they are acting on the
20     BY MR. WEINSHALL:                                    20   instructions of the plan trustees and/or
21       Q. Okay. We can look at that, but the              21   participants, that -- and then if you read the last
22   question I'm asking you is about page 2 of this PDF.   22   sentence, "John Hancock will not have any
23       A. Okay.                                           23   discretionary authority or responsibility for
24       Q. Okay. So when we were talking earlier           24   management or control of the asset -- of the
25   about John Hancock identifying itself as a limited     25   separate accounts."

                                               Page 72                                                    Page 73
 1          So by virtue of that language, yes, John         1   "the power to," to me, means discretion to.
 2   Hancock is not acting as an ERISA 3(38) fiduciary as    2       Q. I see.
 3   defined in that statute, and I think that -- the        3           So you're -- you're making an
 4   fact that they -- it states, "John Hancock will not     4   interpretation of what that word means?
 5   have any discretionary authority or responsibility      5       A. I'm not making an interpretation as to
 6   for the management or control of the separate           6   that specific term. You know, I'm falling back to
 7   accounts."                                              7   what I've seen in my experience as to what an ERISA
 8       Q. Okay. So then you are offering an opinion        8   3(38) fiduciary is.
 9   as to whether -- just to make sure I'm clear about      9       Q. Okay. But in terms of whether or not this
10   this, you are offering an opinion as to whether that   10   acknowledgment in the recordkeeping agreement meets
11   language in the recordkeeping agreement meets the      11   all of the criteria of Section 38, would you agree
12   criteria of 38(C) in Exhibit 153?                      12   that ultimately is a -- a legal question?
13       A. As my understanding is as a practitioner,       13       A. No, I wouldn't. I think that -- I think
14   yes. So my understanding of an ERISA 3(38)             14   that the responsibilities of an ERISA 3(38)
15   fiduciary is you have discretion over the management   15   fiduciary are typically well-defined in a service
16   of plan assets. Here, they're stating that they do     16   agreement, and so I don't believe that I have to
17   not.                                                   17   offer a legal opinion as to how my understanding of
18       Q. Okay. But if you look at Exhibit 153            18   ERISA 3(38), you know, responsibilities are
19   again, Section 38(C) does not say anything about       19   performed.
20   discretion of plan assets, does it?                    20       Q. I'm not asking you about how they perform,
21       A. That may be stated somewhere else, but I        21   I'm asking you whether they meet the criteria of
22   think when I see the term "power" -- power to,         22   this statute.
23   manage, acquire, or dispose of, it doesn't             23       A. You're talking about does John Hancock, or
24   necessarily use the word "discretion," but -- but      24   when you say "meet the criteria," what are you --
25   there may be elsewhere in the document, but I think    25       Q. I'm talking about the language that we


                                                                                 19 (Pages 70 to 73)
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 1   read in Exhibit 154, whether that meets the criteria    1   the investment of a plan, and again, they describe
 2   of this particular statute.                             2   their fiduciary role and responsibility and
 3          Are you offering an --                           3   acknowledge their fiduciary responsibility with
 4       A. Yeah, it's my opinion that it does not.          4   respect to ERISA 3(38) services.
 5       Q. Right. And other than your own                   5          And then lastly, I've seen similar
 6   understanding of what this language means, is there     6   documents related to ERISA 3(21) fiduciary services.
 7   any other basis to that opinion?                        7      Q. Okay. So you've seen documents where
 8          MR. FLECKNER: Objection. He answered.            8   service providers either do or do not identify
 9          You can answer again.                            9   themselves as ERISA 3(38) fiduciaries; is that
10       A. Yeah, 40 years of industry experience.          10   right?
11     BY MR. WEINSHALL:                                    11      A. What I've seen is, is they don't
12       Q. Okay. And that industry experience, how         12   necessarily -- they don't -- they don't produce
13   does that inform what the language of this statute     13   documents that say we -- we're not serving -- they
14   is?                                                    14   will produce documents if they service as an ERISA
15       A. So by way of example, if a plan sponsor         15   3(38) fiduciary and describe those roles and
16   selects Financial Engines to serve as participants,    16   responsibilities.
17   Financial Engines will produce an agreement that       17          In this matter here, the documents that
18   describes their fiduciary status with respect to       18   are being produced are John Hancock describing its
19   individual participant accounts and they will          19   limited fiduciary responsibilities. They're not
20   describe in detail their ability to manage             20   making any additional disclosures related to ERISA
21   individual participant accounts and assume ERISA       21   3(38) responsibilities.
22   3(38) fiduciary responsibility.                        22      Q. Okay. So because your prior experience is
23          So I've seen multiple agreements in that        23   that service providers who take on these
24   regard. I've certainly seen multiple agreements        24   responsibilities, identify them specifically, and
25   where an investment adviser has a responsibility for   25   that's not in this document, then you conclude that

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 1   John Hancock is therefore not a 3(38) provider; is      1   example. So let's say that Mr. Searcy decides on
 2   that right?                                             2   his own that one of the investments in the Romano
 3       A. Well, I think what I would -- I would            3   plan needed to be changed and he did so on his own
 4   rephrase your statement to state that in this           4   without consultation with the committee or without
 5   particular document and other documents that I've       5   consultation with the trustees. If he were to
 6   seen, John Hancock has not described itself as an       6   engage in that activity, that would seem to mean
 7   ERISA 3(38) fiduciary. They have described              7   that now he's taking on the responsibility of the
 8   themselves as a limited fiduciary with specific         8   power to manage, acquire, or dispose of any assets
 9   roles and responsibilities as defined here. I've        9   of a plan.
10   seen other documents where, again, I've referenced     10          So that would be an example of where
11   Financial Engines as an example where they clearly     11   someone could either inadvertently or intentionally
12   define and acknowledge their ERISA 3(38) role and      12   take on the responsibility of an ERISA 3(38)
13   responsibility.                                        13   fiduciary without acknowledging that in writing.
14       Q. Okay. Would you agree that it's possible        14       Q. Okay. And ultimately, whether that person
15   for a -- an ERISA service provider to intend not to    15   or that entity meets the criteria of 3(38) is a
16   be a 3(38) fiduciary but still meet the criteria       16   legal question, right?
17   under the statute?                                     17       A. Well, again, I'm not opining on the legal
18       A. You have to give me an example.                 18   definition of it. I'm simply, you know, falling
19       Q. Well, for example, is it possible that --       19   back to what my understanding is. So as I
20   that a service provider that does not understand or    20   understand it, you know, again, I'm giving you my
21   is incorrect in its understanding of what the          21   opinion as to my understanding of ERISA 3(38)
22   statute requires may not provide the disclosure that   22   fiduciaries. I'm not offering anything beyond what
23   you've seen, but still, it meets the three criteria    23   I experience in my own practice.
24   that you see listed in 3(38)?                          24       Q. Okay. Have you experienced someone in
25       A. Well, I guess I better answer that by           25   your own practice taking on what you just described

                                                                                 20 (Pages 74 to 77)
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 1   as a role like Mr. Searcy?                              1   and that specific service provider and that specific
 2       A. Not in my experience, no.                        2   instance, what would matter is that the Court
 3       Q. But ultimately, would you agree that if a        3   determines that the criteria of the statute are met,
 4   Court determines that the actions of a service          4   not what other industry professionals believe,
 5   provider meet the criteria of this provision, it        5   correct?
 6   does not matter what other participants within the      6          MR. FLECKNER: Objection.
 7   industry believe?                                       7       A. If a Court -- if a Court ultimately makes
 8          MR. FLECKNER: Objection.                         8   that determination, as they've done in other cases,
 9       A. That's kind of a hypothetical answer, so         9   yeah, that may supercede what other professionals
10   could you -- I struggled with the question.            10   think. It may not change their opinion, and it may
11          Could you repeat the question?                  11   be specific to one unique case.
12    BY MR. WEINSHALL:                                     12     BY MR. WEINSHALL:
13       Q. Sure. If a Court determines that a              13       Q. Okay. And would you agree that -- that
14   service provider meets the criteria of either a        14   industry professionals also follow developments in
15   3(38) or 3(21), would you agree that that entity is    15   legal opinions with the help of attorneys and that
16   a fiduciary regardless of what other professionals     16   that can sometimes change what industry
17   in the industry believe?                               17   professionals understand to be fiduciary
18          MR. FLECKNER: Objection.                        18   obligations?
19       A. Well, again, I think that if a Court makes      19          MR. FLECKNER: Objection.
20   that determination, that would be the opinion of       20       A. Again, I think it's fair to state over
21   that specific Court, right, that specific judge. I     21   time that depending on, you know, various legal
22   can't comment as to how that would manifest itself     22   rulings, service providers, industry professionals
23   across the industry.                                   23   may change their approach to servicing clients,
24    BY MR. WEINSHALL:                                     24   sure.
25       Q. Okay. But in terms of that specific Court       25

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 1     BY MR. WEINSHALL:                                     1      12:24 p.m., and we're going off the record.
 2       Q. And then they also under -- develop              2         (At this time, a luncheon recess was taken
 3   different understandings of what it means to be a       3      from 12:24 p.m. to 1:04 p.m.)
 4   fiduciary or what actions give rise to fiduciary        4         THE VIDEOGRAPHER: The time is 1:04 p.m.
 5   obligations?                                            5      and we're back on the record.
 6       A. Well, beyond whether -- you know, again,         6    BY MR. WEINSHALL:
 7   ultimately, whether the DOL makes those changes as a    7      Q. All right. We left off, I think, at
 8   result of the court ruling, I couldn't comment on.      8   paragraph 2 of the summary of your opinions in your
 9   But again, as I mentioned before, you know,             9   rebuttal report. So I wanted to move to paragraph
10   professionals do modify service approaches based on    10   3.
11   what they've seen with various court rulings.          11      A. Of the rebuttal?
12          MR. WEINSHALL: Okay. Why don't we take a        12      Q. Of the rebuttal summary opinions in
13       short break. We've been going for a little         13   Section 2.
14       while. Let's go off the record.                    14      A. Oh, I thought you said paragraph 30.
15          Are we off the record?                          15   You're saying paragraph 3.
16          MR. VAGLICA: It doesn't look like the           16         Is that what you said, or paragraph 30?
17       videographer is on unless that's the Bailey        17      Q. No, I said paragraph 3.
18       Diaz.                                              18      A. Oh, okay. Got it.
19          MR. WEINSHALL: Bailey is the                    19         MR. FLECKNER: Paragraph 3 of the summary,
20       videographer.                                      20      not of the body?
21          Bailey, are you on?                             21         MR. WEINSHALL: That's correct.
22          THE VIDEOGRAPHER: Yes, sir.                     22      A. Okay. Got it. So we're on page 2.
23          MR. WEINSHALL: Okay. Did you hear me            23    BY MR. WEINSHALL:
24       that we'd like to go off the record?               24      Q. Correct.
25          THE VIDEOGRAPHER: Yes. The time is              25         So your third opinion in rebuttal is that


                                                                                 21 (Pages 78 to 81)
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 1   retirement industry professionals do not consider       1          The second part of your decision would be
 2   foreign tax credits to be, quote, "compensation" or,    2   whether they would have to be disclosed, and that
 3   quote, "revenues" received by recordkeepers; is that    3   would potentially not necessarily -- I don't know if
 4   right?                                                  4   a Court would be able to opine on that or if that
 5       A. That's my opinion.                               5   would be the responsibilities of the Department of
 6       Q. Okay. Did you take a survey of retirement        6   Labor.
 7   industry professionals to reach that opinion?           7    BY MR. WEINSHALL:
 8       A. No.                                              8      Q. Okay. Do you understand that the
 9       Q. Okay. Did you speak with any other               9   Department of Labor produces its opinions, in part,
10   retirement industry professionals regarding this       10   by relying on judicial opinions?
11   question to reach this opinion?                        11          MR. FLECKNER: Objection.
12       A. No.                                             12      A. I don't know if they necessarily do that
13       Q. Do you agree that if -- even if retirement      13   or not.
14   industry professionals do not generally consider       14    BY MR. WEINSHALL:
15   foreign tax credits to be compensation or revenues,    15      Q. Okay. And you've read Department of Labor
16   that if a Court decides that they do meet the          16   guidance before?
17   criteria of compensation under the applicable ERISA    17      A. Yes.
18   regulation, then they must be disclosed?               18      Q. Okay. Have you read in any of that
19           MR. FLECKNER: Objection.                       19   guidance reference to judicial opinions?
20       A. Well, again, I think there's two parts to       20      A. Not that I recall, no.
21   your question. So we had talked about this earlier.    21      Q. Okay. So you've never seen a Department
22   So to the extent that a Court deems foreign tax        22   of Labor guidance document referred to opinions from
23   credits to be revenue, then I think retirement         23   courts?
24   industry professionals would obviously, as I           24      A. Not that I recall, no.
25   indicated before, modify their opinions.               25      Q. Your fourth opinion, moving down this

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 1   list, is that Securian's practice of passing on a       1       A. Correct.
 2   benefit for foreign tax credits to group annuity        2       Q. Are you expressing an opinion as to
 3   contract policyholders is not a best practice; is       3   whether it is or is not a best practice?
 4   that right?                                             4       A. Let me go into the narrative of the report
 5            MR. FLECKNER: Objection. Misstates.            5   itself.
 6        A. That's not what I stated. What I stated         6       Q. So you don't -- without reading your
 7   here -- and let me look at it. I disagree with the      7   report, you don't know if you're offering an opinion
 8   statement that plaintiffs' experts consider it to be    8   one way or the other?
 9   a best practice.                                        9       A. I'm going to go into my report and look
10     BY MR. WEINSHALL:                                    10   and follow up on that specific opinion.
11        Q. So how is that different from saying it is     11       Q. Okay. But could you answer the question I
12   not a best practice?                                   12   just asked? Without reading your report, you don't
13        A. Well, I'm stating that plaintiffs view         13   know one way or the other whether you're offering an
14   that as a best practice, and as I indicated here, I    14   opinion as to whether this practice is a best
15   disagree with that opinion. Securian is the only       15   practice; is that right?
16   recordkeeper, as noted here, that does it. No other    16       A. I'm -- just bear with me for a second as I
17   recordkeeper in the industry does it, and I think      17   go through it.
18   it's fair to state that Securian itself is not --      18       Q. So you're refusing to answer my question,
19   is, you know, kind of a small plan provider. So if     19   Mr. Gissiner?
20   plaintiffs are asserting it as a best practice, then   20       A. No.
21   it's a best -- then no other provider in the           21       Q. Well, Mr. Gissiner, I asked you, without
22   industry other than Securian is doing it.              22   looking at your report, can you tell me whether or
23        Q. Right. Mr. Gissiner, that's a recitation       23   not you offer that opinion?
24   of facts that Securian does it, and it's your          24       A. Am I not allowed to look at my report?
25   understanding no others do it?                         25       Q. Well, you are allowed to look at your


                                                                                  22 (Pages 82 to 85)
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 1   report, but I'm asking you, if you do not -- do you     1        Q. Yeah. What are you rebutting if you're
 2   need to look at your report to know whether or not      2   not disagreeing with him it's a best practice?
 3   you offer that opinion?                                 3        A. I'm not -- what I'm stating is, is that,
 4      A. My opinion is this: Mr. Levy, as outlined         4   as I indicated in the report, it's not industry
 5   in paragraph 18, asserts that it's a best practice      5   practice.
 6   for insurance companies who issue group variable        6        Q. Okay. So you were -- then after reviewing
 7   annuity contracts and receive foreign tax credits to    7   your report, am I correct that you are not offering
 8   credit those foreign tax credits back to the            8   an opinion one way or the other whether Securian's
 9   separate accounts. And then I go on to state that       9   practice represents a best practice?
10   Mr. Levy asserts that he -- Mr. Levy acknowledges      10        A. Again, Mr. Levy's interpretation is that
11   that most insurance company recordkeepers do not       11   it's a best practice. I'm saying it's not industry
12   follow this practice.                                  12   practice.
13          So Mr. Levy asserts that it's a best            13        Q. I understand. And that's not the question
14   practice. My opinion, as stated in 19, is it's not     14   I asked. I know what Mr. Levy said, and I know you
15   an industry practice. So I'm not making a              15   described it as not an industry practice.
16   determination as to whether it's a best practice or    16        A. Right.
17   not. I'm simply stating that Mr. Levy described it     17        Q. My question is, are you offering an
18   as a best practice, but in the industry, it is not a   18   opinion one way or the other whether Securian's
19   practice itself. No other provider does it.            19   practice is a best practice?
20      Q. Okay. So I'm missing what you're adding          20           MR. FLECKNER: Objection.
21   to Mr. Levy's report then, because Mr. Levy            21        A. That opinion is not stated in my report.
22   acknowledges, I believe, that no other company of      22     BY MR. WEINSHALL:
23   which he is aware does it.                             23        Q. And you are not planning to offer an
24          So what are you adding?                         24   opinion one way or the other at trial, correct?
25      A. What am I adding?                                25        A. If asked at trial as to whether Securian

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 1   is engaging in a best practice, I would state, as I     1      Q. That could also be an industry practice,
 2   indicated in my report, that that's Mr. Levy's          2   right? It's possible, theoretically, for many
 3   opinion; it's not an industry practice.                 3   participants in the industry to engage in a practice
 4       Q. Okay. Is it possible, Mr. Gissiner, for a        4   that's not consistent with ERISA, right?
 5   practice to be a best practice but not be widely        5      A. That's a broad hypothetical. I don't -- I
 6   adopted in the industry?                                6   don't know how that would be possible.
 7       A. You'd have to give me an example.                7      Q. Is it theoretically possible that many
 8       Q. Okay. Well, let's say in the industry, a         8   different service providers are engaging in a
 9   number of service providers engage in a practice        9   practice that is not consistent with ERISA?
10   that is inconsistent with ERISA obligations, but a     10          MR. FLECKNER: Objection.
11   minority of service providers comply with those        11      A. Again, that's not consistent with my
12   obligations.                                           12   experience.
13          Would you then say that the industry            13     BY MR. WEINSHALL:
14   practice is that -- is not a best practice?            14      Q. Okay. I know, in your opinion, most
15          MR. FLECKNER: Objection.                        15   service providers comply with ERISA.
16       A. So are you saying -- so -- so let me            16          Is that what your experience has been?
17   backtrack. So you're saying like if -- if a service    17      A. It's my experience that providers in the
18   provider engages in a practice that's not consistent   18   industry administer plans in accordance with their
19   with ERISA?                                            19   fiduciary responsibilities and that it's my
20     BY MR. WEINSHALL:                                    20   experience that those responsibilities as defined by
21       Q. Right.                                          21   a service provider are consistent with ERISA.
22       A. So if a service provider engages -- excuse      22      Q. Okay. You're distinguishing, it seems
23   me -- in a practice that's not consistent with         23   like in this opinion, between an industry practice
24   ERISA, then that would be defined in my terms as a     24   and a best practice.
25   practice that's not consistent with ERISA.             25          Will you define what those terms mean?

                                                                                 23 (Pages 86 to 89)
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 1       A. I didn't use the term "best practice";           1   that's a best practice, but I can say that that's a
 2   Mr. Levy did.                                           2   practice that's consistent with what I see across
 3       Q. Okay. So what do you mean by industry            3   the industry.
 4   practice?                                               4       Q. Okay. I asked you for a definition of
 5       A. Industry practice, in my view, is                5   "best practice" and you used the term "best
 6   policies, procedures, approaches adopted by the         6   practice" in that definition.
 7   industry relative to retirement plan arrangements.      7           Can you use -- can you define the term
 8       Q. Okay. So in other words, like the -- the         8   "best practice" without using that term?
 9   predominant practice in the industry; is that right?    9           MR. FLECKNER: Objection.
10       A. I wouldn't necessarily say -- well,             10       A. I'm not sure I follow.
11   predominant, but again, you're -- you're talking       11     BY MR. WEINSHALL:
12   about many, many different things that extend across   12       Q. Okay. I asked you, what do you mean by
13   the industry.                                          13   the term "best practice," and you gave me an example
14       Q. Okay. And do you -- do you use the term         14   where you said you would recommend something and it
15   "best practice" in your work?                          15   would be up to the plan to determine whether that's
16       A. In some instances, yes.                         16   a best practice, meaning you just gave me an answer
17       Q. Okay. What do you mean when you use that        17   that defined "best practice" with the phrase "best
18   term?                                                  18   practice," which is not answering my question.
19       A. So if consulting with a plan sponsor, I         19       A. Okay. So what I would say would be that
20   may say that, based on what I see in the industry,     20   it is a best practice to consider usage of index
21   it would be appropriate to include, let's say, for     21   fund options in an investment fund lineup. It is a,
22   example, in an investment fund lineup a certain        22   in my opinion, best practice to utilize the services
23   number of index funds to provide participants with     23   of an external consultant to assist in monitoring
24   passively managed investment options. It's             24   investments. The term "best practice," in my view,
25   ultimately up to the plan sponsor as to determine if   25   is not defined legally, it's generally the opinion

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 1   of a plan sponsor, attorney, or consultant operating    1       A. Well, I think, for example, if I'm meeting
 2   in the industry.                                        2   with a client that's not currently using an
 3       Q. An opinion as to what?                           3   investment adviser, I would say that, you know, from
 4       A. As to what they themselves believe to be         4   a standpoint of plan oversight, it is, you know, a
 5   a, quote, "best practice."                              5   recommended best practice. It is a typical industry
 6       Q. Okay. And so is that different than --           6   practice to use an external adviser to monitor the
 7   is -- best practice, in your mind, does that have a     7   investments of the plan.
 8   different meaning than industry practice?               8       Q. Okay. So I think you just gave me an
 9       A. Yes, it can.                                     9   example where you said an industry practice aligns
10       Q. Okay. Give me an example.                       10   with a best practice.
11       A. I have encountered investment consultants       11          Is there any example in your consulting
12   that argue against the use of target date funds. So    12   experience where there's a practice that you
13   they may, as they define it, consider not using        13   recommend that does not align with industry
14   target date funds as a best practice. That's their     14   practice?
15   definition, but industry-wide, target date funds are   15       A. Not -- not in my experience, no.
16   pretty common. So you could argue that an              16       Q. So there's nothing like that example of
17   individual consultant might deem something to be a     17   industry practice being to use index funds but an
18   best practice, but that conflicts with what the        18   adviser recommending against them.
19   industry is doing.                                     19       A. I think it depends on -- it depends. So
20       Q. Okay. Are there any practices that -- in        20   for example, today in the industry, you're seeing
21   your role as a consultant that you recommend to do     21   more and more fixed fee arrangements. So the
22   or recommend not to do that are industry practices?    22   industry is clearly moving in that direction, but I
23   In other words, is there an example like that, that    23   don't recommend that a plan sponsor immediately go
24   you just provided me, that -- that you use in your     24   to a fixed fee arrangement. Those are decisions
25   work as a consultant?                                  25   that they have to make on their own.


                                                                                  24 (Pages 90 to 93)
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 1       Q. Okay. So is it fair to say that the              1   even though their regulation had not been enacted
 2   practices of the industry change over time?             2   yet?
 3       A. They can.                                        3       A. Yes.
 4       Q. Okay. And is it fair to say that the             4       Q. Okay. And that is now a best practice to
 5   understanding within the industry of what represents    5   make those disclosures, right?
 6   a best practice also changes over time?                 6          MR. FLECKNER: Objection.
 7          MR. FLECKNER: Objection.                         7       A. I wouldn't say it's a best practice. I
 8       A. It has, yes.                                     8   would say that that's now a requirement that the DOL
 9    BY MR. WEINSHALL:                                      9   imposed.
10       Q. Was there a period of time when a majority      10     BY MR. WEINSHALL:
11   of recordkeepers and service providers did not         11       Q. Okay. So before it was a requirement, was
12   disclose the 12b-1 fees that they received?            12   it considered a best practice then?
13          MR. FLECKNER: Objection.                        13       A. I wouldn't define it that way. I think it
14       A. Well, I think it, again depends, but, you       14   was how certain service providers elected to provide
15   know, prior to fee disclosure requirements in 2012,    15   information to plan sponsors.
16   there could have been recordkeepers or investment      16       Q. Okay. But it was their practice of doing
17   advisers that did not disclose their receipt of        17   so, right?
18   12b-1 fees.                                            18       A. I would say that, again, depending on the
19    BY MR. WEINSHALL:                                     19   service provider, yes.
20       Q. Okay. You were working in the retirement        20       Q. Okay.
21   industry before and after 2012, right?                 21       A. And again, we're not referring only to
22       A. Correct.                                        22   just recordkeepers here. We're also referring to
23       Q. Okay. Before that regulation was enacted,       23   investment advisers.
24   were there some recordkeepers and service providers    24       Q. Okay. Let's move to the fifth opinion in
25   that disclosed the 12b-1 fees that they received       25   the summary. You state, "Contrary to the

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 1   plaintiffs' experts' assertions, proposed class         1   paying -- paying foreign taxes may be disclosed in
 2   members were not, quote, 'deprived,' of the             2   the prospectus. Of the mutual fund, these
 3   information necessary to evaluate John Hancock and      3   prospectuses are publicly available, and certainly,
 4   the reasonableness of its fees." Is that right?         4   I mean, you can go on to Morningstar or any mutual
 5       A. Correct. That's what's stated.                   5   fund site and obtain a product prospectus.
 6       Q. Is it your testimony that John Hancock           6          And then, you know, closing opinion on 28,
 7   completely disclosed to plaintiffs and class members    7   I disagree with Mr. Pingree's opinion that proposed
 8   the benefits it received for foreign tax credits?       8   class members were deprived of an accurate
 9          MR. FLECKNER: Objection.                         9   opportunity to monitor the performance of
10          (Reporter clarification.)                       10   investments and the reasonableness of fees.
11    BY MR. WEINSHALL:                                     11          So my opinion here is is that they were
12       Q. Go ahead, Mr. Gissiner.                         12   not deprived of that information. There's certainly
13       A. Yeah, I'm looking at the specific               13   any number of sources available to plan sponsors
14   narrative in my report. So if we go to paragraph 26    14   either through their adviser or through their
15   of the report, I highlight the fact that information   15   recordkeeper to obtain that information.
16   with respect to foreign tax credits can be obtained    16       Q. Okay. Mr. Gissiner, I don't think that
17   by making direct inquiries with the recordkeeper or    17   answered my question.
18   by reviewing disclosures made in investment product    18       A. I'm sorry.
19   prospectuses.                                          19       Q. My question is, is it your testimony that
20          And then consistent with deposition             20   John Hancock fully disclosed to plaintiffs and class
21   testimony, Mr. Searcy did reach out to John Hancock,   21   members the benefits it received from foreign tax
22   as well as other recordkeepers, to inquire about fee   22   credits?
23   concessions in connection with foreign tax credits.    23          MR. FLECKNER: Objection.
24   Mr. Levy then goes on to assert that information on    24       A. You're referring to John Hancock. My
25   whether a mutual fund -- underlying mutual fund        25   opinion is is that that information was available in

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                                               Page 98                                                     Page 99
 1   product prospectuses available through John Hancock.    1   individual plan sponsors received information on
 2   There's nothing in my opinion that I can read where     2   foreign tax credits.
 3   I state what you just referred to.                      3    BY MR. WEINSHALL:
 4     BY MR. WEINSHALL:                                     4      Q. Okay. Well, let's separate what you just
 5       Q. So you're not giving an opinion that John        5   said there.
 6   Hancock fully disclosed to plaintiffs and class         6          First, Mr. Gissiner, are you aware of any
 7   members the benefits it received from foreign tax       7   evidence in the record that John Hancock told
 8   credits, right?                                         8   plaintiffs, not Mr. Searcy, but plaintiffs about the
 9       A. My opinion was that such information was         9   benefits it received from foreign tax credits?
10   available to plaintiffs in this matter.                10      A. I'd have to go back and look at Mr. -- the
11       Q. Okay. Your -- your opinion is that some         11   two Romano depositions.
12   information was available, but that's not my           12      Q. You have these reports, Mr. Gissiner. You
13   question.                                              13   state exactly that the plaintiffs may have --
14          My question is, did John Hancock disclose       14   plaintiffs and Mr. Searcy were able to obtain
15   it?                                                    15   information.
16          MR. FLECKNER: Objection.                        16          I'm asking you, do you have an opinion,
17       A. Well, I would have to go and look at each       17   have you stated an opinion whether John Hancock
18   and every client. So for example, in this              18   disclosed to plaintiffs, not Mr. Searcy, the
19   particular matter, it does appear that if they had a   19   benefits it received from foreign tax credits?
20   discussion with Mr. Searcy about foreign tax           20          MR. FLECKNER: Objection.
21   credits, then John Hancock provided that               21      A. Do I have an opinion in that regard?
22   information. They disclosed it.                        22    BY MR. WEINSHALL:
23          You know, I know that there's numerous          23      Q. Yes.
24   other plans in this case. You'd have to look at        24      A. I did not state that opinion, no.
25   each and every one to determine whether those          25      Q. You did not. Okay.

                                             Page 100                                                    Page 101
 1          And you're not aware of any evidence in          1     BY MR. WEINSHALL:
 2   the record that indicates that John Hancock             2       Q. Okay. Would it disclose John Hancock's
 3   disclosed to plaintiffs, not Mr. Searcy, the            3   decision to not provide a passthrough benefit to
 4   benefits it received from foreign tax credits,          4   group annuity contracts of the foreign tax credit
 5   correct?                                                5   benefit?
 6       A. And with respect to plaintiffs, you're           6          MR. FLECKNER: Objection.
 7   referring to the Romano plans itself?                   7       A. What do you -- when you say "passthrough
 8       Q. Yes.                                             8   benefit," what are you defining that as?
 9       A. Or other plans?                                  9     BY MR. WEINSHALL:
10       Q. Romano plans.                                   10       Q. Well, you used the term "fee concession,"
11       A. I'm -- I'm not aware of anything, no.           11   right?
12       Q. Okay. Now, you just referred to                 12       A. Right.
13   information regarding foreign tax credits that might   13       Q. What does that mean?
14   be available in prospectuses, right?                   14       A. Well, with -- within the context of a
15       A. Well, if it's applicable in a prospectus,       15   retirement plan service agreement, a provider may
16   I wouldn't say it might be available; it would be      16   pass on to the plan sponsor a fee concession, as in
17   available.                                             17   the case of the Romano plans, a reduction in the
18       Q. Okay. Would that information disclose           18   separate account charged.
19   that the precise amount that John Hancock benefited    19       Q. Okay. So the documents you're referring
20   from foreign tax credits?                              20   to that address foreign tax credits, do any of those
21          MR. FLECKNER: Objection.                        21   disclose that John Hancock will or will not pass on
22       A. Would it disclose the precise amount on         22   to the plans a fee concession in connection with the
23   the prospectus itself? I don't -- no, I don't think    23   benefits it receives from foreign tax credits?
24   so.                                                    24          MR. FLECKNER: Objection.
25                                                          25       A. So do any of the documents that I reviewed

                                                                               26 (Pages 98 to 101)
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                                             Page 102                                                    Page 103
 1   indicate whether John Hancock would pass through        1   don't recall reviewing it, but -- but certainly,
 2   foreign tax credits? Is that your question?             2   if -- if they do receive the benefit of foreign tax
 3    BY MR. WEINSHALL:                                      3   credits, I would assume that would be reported in
 4       Q. Yes.                                             4   the annual report.
 5       A. None that I saw, no.                             5       Q. But you understand that John Hancock's
 6       Q. Okay. So even with the information that          6   annual report consolidates information from various
 7   you say is available, the complete set of               7   businesses, right?
 8   information regarding the extent of John Hancock's      8            MR. FLECKNER: Objection.
 9   benefit performed tax credits and what it does with     9       A. Yes.
10   those -- those benefits is not disclosed in the        10     BY MR. WEINSHALL:
11   documents that you reviewed, correct?                  11       Q. Okay. So the information about the
12       A. If you're referring to --                       12   benefit John Hancock receives from group annuity
13          MR. FLECKNER: Objection.                        13   contracts under ERISA, you would not expect to find
14       A. Yeah, if you're referring specifically to       14   that broken out in the annual report, would you?
15   the benefits John Hancock as an organization           15            MR. FLECKNER: Objection.
16   received from foreign tax credits, it's not            16       A. I don't know. I don't know if that's the
17   disclosed in any documents that I received. I do       17   case or not.
18   believe it would be disclosed in their annual          18     BY MR. WEINSHALL:
19   report, I think, or annual report filing, but it       19       Q. Okay. Well, you didn't -- you didn't
20   would be an aggregate amount not specific to           20   review any annual reports for your opinions in this
21   retirement plans.                                      21   case, right?
22    BY MR. WEINSHALL:                                     22       A. No, I'm -- I'm recalling now that I think
23       Q. Did you review the annual report?               23   what I recall is the one expert in this matter who
24       A. I'd have to go back and look. Again, I          24   did perform the damages calculation, and he
25   don't want to take up too much time looking, but I     25   highlighted the amount of foreign tax credits in his

                                             Page 104                                                    Page 105
 1   report. And that could be what I was thinking of        1     BY MR. WEINSHALL:
 2   when I thought about the foreign tax credit amounts.    2       Q. And so if we assume that the information
 3      Q. You understand you're talking about               3   about the extent that John Hancock benefited from
 4   Mr. Mukamal's report?                                   4   foreign tax credits was not publicly available, is
 5          (Reporter clarification.)                        5   it correct to say that plaintiffs were not deprived
 6      A. I don't remember the specific name, but I         6   of any information regarding foreign tax credits?
 7   do recall his report included a damages calculation     7          MR. FLECKNER: Objection.
 8   based on the amount of foreign tax credits.             8       A. Again, as I alluded to in my report, had
 9     BY MR. WEINSHALL:                                     9   they asked or requested information from John
10      Q. Okay. So if his calculation relied on the        10   Hancock as Mr. Searcy did, then they were provided
11   confidential tax documents of John Hancock, then you   11   with information as to foreign tax credits. I can't
12   would agree that the information regarding the         12   comment as to whether they were provided with
13   extent of the benefit John Hancock received from       13   specific amounts.
14   foreign tax credits was not available publicly,        14     BY MR. WEINSHALL:
15   right?                                                 15       Q. Okay. You read testimony regarding what
16          MR. FLECKNER: Objection.                        16   Mr. Searcy was told regarding foreign tax credits,
17      A. Yeah, I don't know.                              17   right?
18     BY MR. WEINSHALL:                                    18       A. I read his deposition, correct.
19      Q. Okay. So you don't know one way or the           19       Q. Okay. And do you recall what he was told?
20   other whether the extent of the benefit John Hancock   20       A. I don't.
21   received from foreign tax credits is publicly          21       Q. You don't.
22   available?                                             22          But he was not told the precise amounts
23          MR. FLECKNER: Objection.                        23   that John Hancock benefited from foreign tax
24      A. I don't.                                         24   credits, right?
25                                                          25          MR. FLECKNER: Objection.

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                                             Page 106                                                    Page 107
 1       A. I don't believe so, but I'd have to go           1    BY MR. WEINSHALL:
 2   through his deposition.                                 2       Q. Yes.
 3     BY MR. WEINSHALL:                                     3       A. I've not seen that, no.
 4       Q. Okay. So have you seen any evidence in           4       Q. Okay. Is it a duty of a plan fiduciary to
 5   the record that if an investment adviser or a plan      5   monitor the reasonableness of the compensation paid
 6   fiduciary asked John Hancock to identify the benefit    6   to service providers?
 7   it received from foreign tax credits, that John         7          MR. FLECKNER: Objection. Calls for a
 8   Hancock would do so?                                    8       legal conclusion.
 9          MR. FLECKNER: Objection.                         9          You can answer.
10       A. That they would do so?                          10       A. Plan fiduciary being the plan sponsor?
11     BY MR. WEINSHALL:                                    11    BY MR. WEINSHALL:
12       Q. Yes.                                            12       Q. Yes.
13       A. So -- so are you saying -- so if -- if          13       A. Yeah, I would say with respect to typical
14   somebody asked John Hancock if they could provide      14   industry practices, plan sponsors do have a
15   information on foreign tax credits, would John         15   responsibility to monitor the reasonableness of
16   Hancock do so?                                         16   fees.
17       Q. Not just general information. That's a --       17       Q. Okay. Is that something you advise your
18   that is a vague term. I'm asking --                    18   clients to do?
19       A. Okay.                                           19       A. Yes.
20       Q. -- if anyone had asked John Hancock to          20       Q. Okay. And to effectively monitor the
21   identify the benefits it receives from foreign tax     21   reasonableness of the compensation paid to service
22   credits, that John Hancock would do so?                22   providers, is it necessary to understand the full
23          MR. FLECKNER: Objection.                        23   amount of compensation that a service provider
24       A. As to a specific amount?                        24   receives?
25                                                          25          MR. FLECKNER: Objection.

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 1      A. As defined by direct and indirect                 1     BY MR. WEINSHALL:
 2   compensation consistent with the 408(b)(2)              2      Q. Right. That didn't answer my question,
 3   disclosures, yes.                                       3   though.
 4    BY MR. WEINSHALL:                                      4          So my question is -- it is a hypothetical,
 5      Q. Okay. So if you assume for the sake of            5   right?
 6   this question that foreign -- that the benefits of      6          Let's assume for the hypothetical that the
 7   foreign tax credits are considered compensation         7   benefits that John Hancock received from foreign tax
 8   under Regulation 408(b)(2), then it would be            8   credits constitute compensation under the current
 9   necessary for plan fiduciaries to have that             9   Regulation 408(b)(2), okay?
10   information to discharge their monitoring duty,        10      A. Uh-huh.
11   correct?                                               11      Q. All right. So would you agree that if
12          MR. FLECKNER: Objection.                        12   that assumption is correct under this hypothetical,
13      A. Yeah. So it's -- so again, hypothetical          13   then it is necessary for plan fiduciaries to have
14   question. So it's my understanding, consistent with    14   that information in order to discharge their
15   the regulations, that foreign tax credits are not      15   monitoring duty?
16   considered compensation earned by a service            16          MR. FLECKNER: Objection. In your
17   provider. So consistent with that definition, I do     17      hypothetical, are all other elements of the
18   not consider that's something that has to be           18      regulation satisfied or not?
19   disclosed. If at some point in the future that         19          MR. WEINSHALL: Yes.
20   definition changes, then -- and the regulations        20      A. Yeah, because I think -- I think that's an
21   change, then yeah, consistent with that, it would be   21   important distinction because there are other
22   something that I would assume that they would have     22   components of the regulations that define disclosure
23   to disclose. But as of today, I've not seen any        23   requirements.
24   indication that they're required to do so.             24          So to answer your hypothetical question,
25                                                          25   consistent with all things being equal and all other

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 1   provisions of the regulations are satisfied, if         1   service provider will have a required revenue amount
 2   someone deems foreign tax credits to be compensation    2   for their plan, and that required revenue amount can
 3   for purposes of a plan, then in that hypothetical       3   be encompassed of a number of different fee
 4   situation, I would -- I would say that that would be    4   components. If foreign tax credits, for whatever
 5   something that would have to be disclosed to plan       5   reason in your hypothetical example, are passed
 6   sponsors.                                               6   through, that impacts the required revenue amount.
 7    BY MR. WEINSHALL:                                      7   It doesn't necessarily mean that costs go up or
 8       Q. Okay. And just continuing that, it would         8   costs go down. It's just a component of the
 9   be something that plan sponsors or plan fiduciaries     9   required revenue percentage.
10   would have to have information on to discharge their   10       Q. This is actually your hypothetical in
11   monitoring duties, correct?                            11   romanette i, right, where you said if the
12          MR. FLECKNER: Same objection.                   12   concessions are given for foreign tax credits, then
13       A. Yeah, I mean, consistent with other fees        13   you believe a service provider would adjust other
14   and costs associated with their plan. You know, so     14   fees; is that right?
15   again, foreign tax credits are just one component in   15       A. Yeah, consistent with what I would
16   your hypothetical example. There would be other        16   describe as the required revenue amount or required
17   things that they would have to look at.                17   revenue percentage.
18    BY MR. WEINSHALL:                                     18       Q. Okay. Now, does that opinion itself
19       Q. Right. Okay. The basis of your romanette        19   assume that the service provider considers the
20   opinion under 5 that "Foreign tax credits are          20   foreign tax credit benefits to be the equivalent of
21   unlikely to factor into a proposed class member's      21   fees or revenue, because otherwise, there would be
22   evaluation of John Hancock and its fees," is that,     22   nothing to adjust?
23   basically, other fees can be adjusted up or down to    23       A. No. So again, using Securian as an
24   generate the same amount of revenue; is that right?    24   example, Securian says that they pass through
25       A. Yeah. So typically what happens is a            25   foreign tax credits to individual participants that

                                             Page 112                                                    Page 113
 1   are specific to the fund that produces those            1   there in the opinion is is that decisions regarding
 2   credits. Their decision to reduce expense ratios on     2   recordkeeping services and fees encompass a number
 3   funds doesn't change, in my view, how they would        3   of different factors, and typically, a plan sponsor
 4   price plans. They price plans based on a required       4   doesn't focus on just one individual fee component
 5   revenue percentage.                                     5   like foreign tax credits but instead looks at, you
 6           So if my required revenue percentage is X,      6   know, the level of services and the total of fees
 7   and I reduce my required revenue by Y based on,         7   for these services consistent with the plan sponsor
 8   let's say, for example, a foreign tax credit, if I,     8   and plan participant's needs.
 9   as a provider, still have to get to that required       9          So what the opinion is stating is is that
10   revenue percentage, I may change fees in other         10   as an individual matter, the provision of passing
11   areas.                                                 11   through foreign tax credits, in my opinion, that
12       Q. Okay. I'm not sure I understood some of         12   individual component is not the single factor a plan
13   that.                                                  13   sponsor would look at in terms of deciding whether
14           I think you said -- you gave an example of     14   to select a service provider.
15   Securian there, and you said that Securian doesn't     15     BY MR. WEINSHALL:
16   change how it prices plans based on its revision of    16       Q. Okay. And because you say here, these can
17   fee concessions for foreign tax credits; is that       17   be, quote, "adjusted," right?
18   right?                                                 18       A. Correct.
19       A. Yeah. So we're referring to paragraph or        19       Q. Okay. And what you mean by that is if the
20   opinion 3 of the rebuttal, correct?                    20   benefit of foreign tax credits is -- if a service
21       Q. This is paragraph -- this is on page 2, 5,      21   provider has to give back the benefit that it
22   romanette i.                                           22   receives from a foreign tax credit, it will adjust
23           MR. FLECKNER: So still on the summary,         23   its fees to recover that benefit in a different way?
24       right?                                             24          MR. FLECKNER: Objection.
25       A. Okay. Yeah, so -- so what I'm focusing          25       A. They may choose not to.


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                                             Page 114                                                    Page 115
 1    BY MR. WEINSHALL:                                      1      A. So that's an important -- again, that's a
 2      Q. Well, they -- if they choose not to, then         2   very important distinction because when we talk
 3   the overall fees that are charged to a plan will go     3   about foreign tax credits, the assumption is, well,
 4   down, right?                                            4   Securian does it, and that benefits everyone. And
 5      A. Not necessarily, no.                              5   that's not the case.
 6      Q. Well, if they choose not to adjust their          6      Q. But it benefits those plans that allocate
 7   other fees, their other fees stay the same and they     7   assets to funds that invest in -- that generate
 8   give fee concessions, then the other fees -- then       8   foreign tax credits, right?
 9   the total fees will go down, correct?                   9      A. Not plans, participants.
10      A. Absent any other changes, correct. So for        10      Q. And participants make up plans, right?
11   example -- yeah, all things being equal, if -- if      11      A. Yes, but I mean, in a -- in a real life
12   they pass through some form of foreign tax credit to   12   sense, it would benefit only those participants that
13   the plan sponsor, and again, recognizing that only     13   choose to invest in that fund that produces the
14   one recordkeeper does it, the administrative fees      14   foreign tax credit.
15   don't go down. In the case of Securian, the            15      Q. Okay.
16   investment fees of a specific fund option go down.     16      A. Participants are part of plans, but it
17          So the administrative fees in the Securian      17   doesn't benefit the plan, it benefits the
18   matter, which is the only one that does it, the        18   participants in the plan.
19   administrative fees themselves do not change. What     19      Q. But if you were to give the credit to the
20   Securian is doing is reducing the expense ratio of     20   plan instead of the participant, it would benefit
21   certain funds that provide foreign tax credits which   21   the plan, right?
22   benefit the individual participants invested in that   22          MR. FLECKNER: Objection.
23   fund. They are not reducing the administrative         23      A. I don't see how you could do that. Based
24   expenses that they charge to the plan overall.         24   on what Securian is doing, I -- I -- the benefit
25      Q. Okay.                                            25   goes to the participant of the fund, not the plan.

                                             Page 116                                                    Page 117
 1    BY MR. WEINSHALL:                                      1    BY MR. WEINSHALL:
 2      Q. Okay. But if you passed on the benefit            2       Q. Sure. Do you know whether John Hancock
 3   instead of what Securian is doing, if you did it a      3   considers the benefits it receives from foreign tax
 4   different way where you reduced the overall expenses    4   credits when setting its overall fees?
 5   or gave the money to the separate account, wouldn't     5          MR. FLECKNER: Objection.
 6   that benefit the plan itself?                           6       A. And when you say "fees," are you referring
 7          MR. FLECKNER: Objection.                         7   to specific retirement plans?
 8      A. It -- it could. Again, it would depend on         8    BY MR. WEINSHALL:
 9   the -- the methodology that you're referring to in      9       Q. When it sets the fees that it charges to
10   your hypothetical.                                     10   retirement plans on its group annuity contract
11    BY MR. WEINSHALL:                                     11   platform.
12      Q. Okay. Do you know whether John Hancock           12       A. No, I don't.
13   considers the benefits it receives from foreign tax    13       Q. You don't.
14   credits when setting its overall fees?                 14          Did you review the testimony of
15          THE WITNESS: I'm sorry. Go ahead, Jamie.        15   Mr. Almeida?
16      I interrupted you.                                  16          MR. FLECKNER: Objection.
17          MR. FLECKNER: Yeah, if you could just           17       A. I believe I did.
18      pause so I have an opportunity to interpose any     18          MR. FLECKNER: Which of the two pieces of
19      objection so we don't speak over each other.        19       testimony of Mr. Almeida are you referring to,
20          THE WITNESS: Yeah, my -- I apologize.           20       Mr. Weinshall?
21          MR. FLECKNER: So I interposed an                21    BY MR. WEINSHALL:
22      objection.                                          22       Q. Well, Mr. Gissiner, let me ask you, did
23          You can answer, if you know the question.       23   you -- do you understand that Mr. Almeida gave two
24      A. And Matt, if you could -- I apologize.           24   depositions in the case?
25          Could you repeat the question?                  25       A. Yeah, in my initial report, I noted that I


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 1   reviewed his deposition testimony from May 7, 2021.     1    BY MR. WEINSHALL:
 2       Q. Okay. And so if John Hancock sets its            2      Q. But when making this opinion that you
 3   fees independently of the benefits that it receives     3   offer here that fees can be adjusted by the
 4   from foreign tax credits, then would you expect         4   recordkeeper, wouldn't it be necessary for the
 5   its -- would you expect John Hancock to adjust its      5   recordkeeper to then factor in the benefits or lack
 6   fees if it was required to provide those benefits to    6   of benefits it receives from -- from foreign tax
 7   policyholders?                                          7   credits?
 8           MR. FLECKNER: Objection.                        8          MR. FLECKNER: Objection.
 9       A. So you said -- it was a long question.           9      A. No, no.
10           So you said if John Hancock was required       10    BY MR. WEINSHALL:
11   to disclose them, or if John Hancock used foreign      11      Q. Why not?
12   tax credit to set their fees?                          12      A. Well, again, you have a required revenue
13     BY MR. WEINSHALL:                                    13   percentage. That required revenue percentage is
14       Q. Right. So let me ask it again.                  14   determined by the plan sponsor specific to an
15           So if John Hancock sets the fees that it       15   individual plan. That required revenue percentage
16   charges group annuity contracts independently of the   16   changes over time. So depending on growth and
17   benefits it receives from foreign tax credits, then    17   assets, depending on asset allocation, the amount of
18   would you expect John Hancock to adjust its fees if    18   revenue a provider may receive in an asset-based fee
19   it was required to pass on those benefits to           19   arrangement can go up or down. So if that
20   policyholders?                                         20   recordkeeper or plan sponsor had to start passing
21           MR. FLECKNER: Objection.                       21   through foreign tax credits, it doesn't necessarily
22       A. I think that would be -- my experience          22   mean that there's going to be an adjustment in fees.
23   would be that would be something that would have to    23   Fees could go up or fees could go down, it just
24   be looked at on a specific plan-by-plan basis.         24   depends on an individual-by-individual plan.
25                                                          25          MR. FLECKNER: Mr. Weinshall, I'll note

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 1       for the record, we can't often see your face.       1          So whether the revenue specific to the
 2       I don't know if that's an issue for the             2   Romano plan is equal to the required revenue amount
 3       videographer, but oftentimes your face goes out     3   by John Hancock would have to be determined at some
 4       of the picture frame.                               4   point in time as to whether, you know, let's say,
 5           MR. WEINSHALL: I don't mean to.                 5   for example, as an RFP or something like that.
 6           Can you see it now?                             6          So again, at the outset, there's a
 7           MR. FLECKNER: It's better. Thank you.           7   required revenue percentage that John Hancock, in
 8           MR. WEINSHALL: I don't think I'm being          8   this case, communicated to the Romanos as to what
 9       recorded. I think only the witness is.              9   they needed to service the plan, but again, the
10           Is that right, Bailey?                         10   actual revenue received will vary over time.
11           THE VIDEOGRAPHER: That is correct, only        11    BY MR. WEINSHALL:
12       the witness is being recorded.                     12      Q. Okay. And if John Hancock receives more
13           MR. FLECKNER: Okay. Thank you.                 13   than what it communicates as its required revenue,
14    BY MR. WEINSHALL:                                     14   would that excess amount constitute an excess of
15       Q. So is it your assumption that the fees          15   reasonable compensation?
16   that are currently charged by John Hancock to          16          MR. FLECKNER: Objection.
17   retirement plans like the Romanos correspond to the    17      A. Not necessarily, no. You would have to
18   required revenue percentage that Hancock has           18   assess the level of compensation relative to plans
19   determined it must receive from plan sponsor?          19   of similar size.
20           MR. FLECKNER: Objection.                       20    BY MR. WEINSHALL:
21       A. Well, again, when you say "correspond to,"      21      Q. In romanette ii, the fifth summarized
22   they can -- they -- a recordkeeper may have a          22   opinion, you state, "For example, the named
23   required revenue percentage, but as I indicated        23   plaintiffs and Mr. Searcy were able to obtain
24   before, that required revenue percentage changes       24   information on whether John Hancock and other
25   over time.                                             25   recordkeepers provided fee concessions in connection


                                                                              31 (Pages 118 to 121)
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 1   with the foreign tax credits allowed against foreign    1   I'm specifically referring to Footnote 51 and 52.
 2   taxes paid."                                            2     BY MR. WEINSHALL:
 3          Do you see that?                                 3      Q. Okay. So 51, let's read what you quoted
 4      A. Yes.                                              4   there.
 5      Q. Okay. So what evidence are you aware of           5          "As you sit here today, do you know
 6   that the named plaintiffs, not Mr. Searcy, obtained     6   whether or not Fidelity credits to the plan or
 7   this information?                                       7   participants any foreign tax credits that are
 8      A. I believe -- and we can go into the               8   generated with respect to investments made through
 9   rebuttal report itself.                                 9   the Fidelity platform?
10          MR. FLECKNER: I'll note for the record, I       10          "ANSWER: I don't know.
11      was precluded from learning this information        11          "QUESTION: Okay. You testified earlier
12      when I asked it because counsel for plaintiffs      12   that was your rationale for conducting this RFP was
13      said the lawyer was present and I wasn't            13   because of your concern about the way John Hancock
14      entitled to know this information, but              14   treated credits, right? That was your testimony?
15      Mr. Gissiner can still answer.                      15          "ANSWER: Correct.
16          MR. WEINSHALL: I would say that that is         16          "But as part of the RFP, the winning bid
17      quite an improper objection. You're supplying       17   went to somebody for whom, even as you sit here
18      the witness with an answer. I will move to          18   today, you don't know how that credit, foreign
19      strike that.                                        19   credits tax passed on by mutual fund invested
20      A. I apologize. I'm looking through my              20   through the plan, correct?
21   report.                                                21          "Assuming that's correct."
22          Yes, I believe that, you know, I did            22          So that -- that is Footnote 51, right?
23   review the deposition of the two Romanos and           23      A. Yeah, that was from Mr. Romano's
24   Mr. Searcy, and I do recall Mr. Romano being asked     24   deposition.
25   about the foreign tax credits in his deposition.       25      Q. From Eric Romano's deposition, right?

                                             Page 124                                                    Page 125
 1       A. Correct.                                         1   plaintiffs, not Mr. Searcy, was made aware of John
 2       Q. Okay. 52, Mr. Todd Romano states here in         2   Hancock's treatment of foreign tax credits prior to
 3   your report -- testified that he does not recall        3   entering into their agreement with John Hancock?
 4   ever thinking about selecting an insurance company      4      A. No. Paragraph 76 refers to Mr. Searcy
 5   versus a fund company as a consideration, no.           5   specifically learning about foreign tax credits in
 6          So you think that that supports your             6   July of 2013. I don't know whether he discussed
 7   statement that the named plaintiffs obtained            7   that with the Romanos or not.
 8   information on whether John Hancock and other           8      Q. Okay. So you have no basis then to offer
 9   recordkeepers provided fee concessions in connection    9   an opinion that the named plaintiffs were able to
10   with foreign tax credits allowed?                      10   obtain information on whether John Hancock and other
11       A. Yes. And this is also -- excuse me. This        11   recordkeepers provided fee concessions in connection
12   is also referenced in paragraph 77 of my affirmative   12   with the foreign tax credits allowed prior to
13   report, and there's some additional deposition         13   entering into their agreement with John Hancock,
14   testimony relevant to this specific subject.           14   correct?
15       Q. Okay. So this deposition testimony,             15      A. That's correct, and just, you know, to
16   paragraph 77 of your report, refers to Mr. Todd and    16   make sure that we clarify, the named plaintiffs in
17   Eric Romano learning of foreign tax credits as early   17   2014 did not conduct an RFP, so Mr. Searcy presented
18   as 2017 or '18, correct?                               18   them with John Hancock as the single provider. So
19       A. That's what it states.                          19   in my view, if they did have -- they wouldn't have
20       Q. Okay. Do you have any understanding of          20   been informed as to whether there were other
21   when the plan entered into the group annuity           21   recordkeepers out there that didn't pass through or
22   contract with John Hancock?                            22   didn't obtain foreign tax credits. So again, it
23       A. 2014.                                           23   wasn't a comprehensive RFP process like it was in
24       Q. Okay. So is there any testimony, any            24   2020.
25   evidence in the record indicating that the             25      Q. Okay. But again, you have no evidence in


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                                             Page 126                                                   Page 127
 1   the record that the Romanos themselves received any    1   paragraph.
 2   information about foreign tax credits prior to         2      Q. I'm talking about the section overall,
 3   entering into the contract with John Hancock; is       3   Section 3.
 4   that right?                                            4      A. So what I'm opining here is is that they
 5       A. Nothing in the record that would indicate       5   are mischaracterizing their role as recordkeeper in
 6   that, no.                                              6   that John Hancock is required to disclose its use of
 7       Q. Okay. Let's move down to Section 3 of           7   foreign tax credits to pass on those benefits to the
 8   your rebuttal report starting with paragraph 4.        8   participants' eligible accounts, conflicts of
 9       A. Could you give me the paragraph? I'm            9   interest, so on and so forth. So I am not making a
10   sorry, did you just --                                10   fiduciary definition. I am saying that plaintiffs
11       Q. Section 3 of the rebuttal report.              11   seem to mischaracterize John Hancock's roles and
12          MR. FLECKNER: You said the -- we're still      12   responsibilities.
13       on the summary, not the main -- there's two       13      Q. Mr. Gissiner, just look on the next page.
14       paragraph 4s. There's a paragraph 4 in the        14          Do you not say that, "Contrary to
15       summary and a paragraph 4 in the text.            15   Mr. Pingree's assertion, John Hancock did not serve
16          Which paragraph 4 are you referring to?        16   as an ERISA 3(21) and 3(38) investment fiduciary
17          MR. WEINSHALL: I'm talking about               17   into the plans"?
18       paragraph 4 in the text.                          18      A. Yes, that's what's stated in that
19          MR. FLECKNER: Thank you.                       19   paragraph.
20       A. Okay. Thank you. Okay.                         20      Q. Okay. I'm talking about the entirety of
21     BY MR. WEINSHALL:                                   21   Section 3 --
22       Q. So you are criticizing plaintiffs' experts     22      A. Okay.
23   here for assuming that John Hancock is a fiduciary;   23      Q. -- so that's paragraph -- paragraphs 4
24   is that right?                                        24   through --
25       A. The term "fiduciary" is not used in that       25      A. Okay. I understand now. Correct. Thank

                                             Page 128                                                   Page 129
 1   you.                                                   1       A. Well, I think we would have to define that
 2       Q. Yeah. 4 through 14.                             2   rule -- with respect to that specific ruling what
 3       A. Okay.                                           3   specific conflicts of interest we're referring to.
 4       Q. So you are contesting in those paragraphs       4     BY MR. WEINSHALL:
 5   whether John Hancock is serving as a fiduciary; is     5       Q. Well, you didn't do that when saying --
 6   that right?                                            6   when criticizing plaintiffs' experts for saying,
 7       A. Yes, I do not believe that John Hancock is      7   resolving any conflicts of interest with respect to
 8   serving as an ERISA 3(21) or 3(38) investment          8   the plan.
 9   fiduciary.                                             9       A. Right. And neither -- Mr. Levy did not
10       Q. Okay. And is an investment fiduciary           10   define the conflict of interest I heard. I don't
11   different from a different type of fiduciary?         11   recall him doing so.
12       A. You can also have what's referred to as an     12       Q. You don't recall him stating that there
13   ERISA 3(16) fiduciary.                                13   was a conflict of interest with what John Hancock
14       Q. And what type of fiduciary is that?            14   should do with the benefits of foreign tax credits?
15       A. Typically, a fiduciary that assumes            15       A. We'd have to go back and look at his
16   responsibility for certain administrative tasks.      16   report, but certainly, he did reference his opinion
17       Q. Do you believe John Hancock meets the          17   that maybe there could have been a conflict of
18   criteria of that?                                     18   interest. We'd have to bring up his report and look
19       A. No.                                            19   at it.
20       Q. Okay. If a Court concludes that John           20       Q. Okay. Well, just in general, is a
21   Hancock does meet the criteria of the statutory       21   fiduciary required to resolve conflicts of interest
22   provisions that you reference, would you agree that   22   that arise within the scope of their fiduciary
23   it then has the obligation to resolve conflicts of    23   obligation in favor of the plan?
24   interest in favor of the plan?                        24          MR. FLECKNER: Objection.
25          MR. FLECKNER: Objection.                       25       A. I don't know the specific answer to that

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                                             Page 130                                                    Page 131
 1   question or not.                                        1    BY MR. WEINSHALL:
 2    BY MR. WEINSHALL:                                      2       Q. I understand that, but you also state in
 3       Q. If you don't know, then why are you              3   that paragraph, do you not, sir, that you disagree
 4   criticizing Mr. Levy for -- for saying -- for saying    4   with Mr. Levy's statement that John Hancock was
 5   so?                                                     5   required to resolve any conflict of interest with
 6       A. I'm criticizing Mr. Levy for the view that       6   respect to the plan assets --
 7   John Hancock served as an ERISA 3(21) and ERISA         7       A. What --
 8   3(38) fiduciary.                                        8          MR. FLECKNER: Objection. Misstates.
 9       Q. But you don't limit that.                        9          THE COURT REPORTER: I'm sorry. You
10           You say -- you're criticizing him for          10       interrupted.
11   saying, "resolving any conflict of interest with       11          THE WITNESS: I did. I'm sorry.
12   respect to plan assets," do you not?                   12    BY MR. WEINSHALL:
13           MR. FLECKNER: Objection.                       13       Q. So do you state that or not, Mr. Gissiner?
14       A. Okay. Hang on a second. Something               14       A. What I'm stating is that Mr. Levy's
15   just -- there we go.                                   15   opinion is as stated here, and his opinion, in my
16           All right. So if we read the first             16   view, is based on his mischaracterization of John
17   paragraph, Mr. Levy's opinions are predicated on the   17   Hancock's roles and responsibilities with respect to
18   incorrect assumption that John Hancock has             18   the plans.
19   discretionary authority and control with respect to    19       Q. So if -- if that part of your opinion is
20   plan assets.                                           20   wrong, right, that -- that John Hancock is, in fact,
21           I'm stating, based on my opinion, that         21   a fiduciary, then you don't have an opinion one way
22   John Hancock does not have discretionary control       22   or the other as to whether it must resolve conflicts
23   over plan assets, neither as an ERISA 3(21) or a       23   of interest in favor of the plan?
24   3(38) fiduciary.                                       24       A. Well, yes, of course. Consistent with
25                                                          25   what we talked about before, if a Court determines

                                             Page 132                                                    Page 133
 1   that John Hancock was an ERISA 3(21) fiduciary or an    1   or 3(38) fiduciary is based on, one, what the
 2   ERISA 3(38) fiduciary, then it would be fair to         2   documents themselves say, right?
 3   state that if there were conflicts of interest, then    3          MR. FLECKNER: Objection.
 4   those would have to be resolved in a manner in favor    4       A. Well, in a sense, it's what the documents
 5   of the plans.                                           5   don't say.
 6       Q. Okay. And I thought you testified earlier        6     BY MR. WEINSHALL:
 7   that you're not offering a legal opinion as to          7       Q. Okay. So -- so another way of stating it
 8   whether the criteria of 3(21) and 3(38) have been       8   is that because the documents do not say that John
 9   satisfied by John Hancock; is that right?               9   Hancock will be a fiduciary under 3(21) or 3(38),
10       A. Not a legal opinion, no, but just based on      10   they are not such a fiduciary; is that right?
11   practical industry experience.                         11          MR. FLECKNER: Objection.
12       Q. Okay. So -- so your opinion is just based       12       A. As I indicated before, their specific
13   on what you believe a service provider would           13   documents define their fiduciary responsibility.
14   consider its role to be; is that fair?                 14     BY MR. WEINSHALL:
15       A. No. So in the documents itself, in this         15       Q. And you don't believe that those
16   specific manner, John Hancock did define its           16   responsibilities meet the criteria of 3(21) or
17   fiduciary role. So the documents in this matter        17   3(38); is that right?
18   indicated that they were a limited fiduciary. I saw    18          MR. FLECKNER: Objection.
19   no evidence in the record that John Hancock assumed    19       A. That is correct.
20   the expanded fiduciary 3(21) or 3(38) role.            20          THE WITNESS: Sorry, Jamie.
21          So my opinion is based on the documents in      21       A. Correct.
22   the matter, but again, also based on, you know, my     22     BY MR. WEINSHALL:
23   knowledge and experience in the industry.              23       Q. Okay.
24       Q. Okay. So just to break that down, your          24       A. And that opinion is further, I guess, for
25   opinion about whether or not John Hancock is a 3(21)   25   lack of a better term, outlined in paragraph 6.

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                                             Page 134                                                    Page 135
 1       Q. Are the assets of a retirement plan that         1   community.
 2   are placed into a separate account considered plan      2       A. Well -- well, I think auditors would note
 3   assets, in your experience?                             3   in their audited financial statements who the
 4          MR. FLECKNER: Objection.                         4   ownerships of the assets are and would highlight
 5       A. When you define "separate account," could        5   that in their audited financial statements. So
 6   you be more specific?                                   6   auditors would consider them to be assets of the
 7    BY MR. WEINSHALL:                                      7   insurance company. Plan sponsors, depending on
 8       Q. Sure. Well, you understand that the way          8   their individual plan sponsors, may or may not
 9   the group annuity contract was set up under the John    9   consider them to be plan assets, you know, but the
10   Hancock signature platform is that it set up           10   reality is is that they're assets of the insurance
11   separate accounts where retirement assets were         11   company.
12   placed; is that right?                                 12          So I can only say based on my professional
13       A. Yeah. So within the context of a group          13   opinion how I would view it and -- and determine
14   variable annuity, separate account assets are assets   14   how, you know, other professionals -- depending on
15   of the insurance company.                              15   the individual professional, you would have to kind
16       Q. Okay. Do -- do you -- does the                  16   of have them respond to that question.
17   insurance -- does the retirement industry consider     17       Q. It seems like you're not comfortable
18   those assets that are in a separate account that we    18   giving an opinion on how retirement professionals
19   just referenced plan assets?                           19   would understand that term; is that right?
20          MR. FLECKNER: Objection.                        20       A. Again, if I talked to somebody from
21       A. When you say "retirement industry," who do      21   Principal Financial Group and asked them about this
22   you mean?                                              22   specific plan and who the ownerships of the assets
23    BY MR. WEINSHALL:                                     23   were, they would tell me. If I talked to somebody
24       Q. Well, you used the phrase "retirement           24   else that maybe is less familiar with insurance
25   professionals" throughout this report, so that same    25   products, they may consider them plan assets.

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 1          So plan assets can be -- you almost have         1   standard of understanding of plan assets within the
 2   to almost fully define plan assets as to who is the     2   retirement professional industry?
 3   specific owner, because plan assets, in my view, is     3       A. As I indicated before, it's a broad
 4   kind of a broad term that's used across the             4   industry term.
 5   industry.                                               5       Q. What is -- and what does it mean in the
 6          So I would much prefer to use the term           6   broad industry term?
 7   "ownership of the assets" as opposed to the broader     7          MR. FLECKNER: Objection.
 8   term "plan assets," because the broader term "plan      8       A. The balance, if you will, of a specific
 9   assets" is just something that kind of is ubiquitous    9   retirement plan.
10   across the industry and is not really something that   10     BY MR. WEINSHALL:
11   is quantified by definition.                           11       Q. Okay. And for a retirement plan that is
12          You raised your eyebrows. You didn't like       12   funded through group annuity contracts, that balance
13   that answer. But what I'm trying to say is if          13   would equal the amount that's in the separate
14   somebody said to me, what were the plan assets of      14   accounts, correct?
15   the Romano plan, I would look up the 5500 and say      15       A. The attributable portion of the separate
16   their plan assets are equal to $1 million.             16   account. Not the entire separate account, but
17       Q. Who did you say -- who did you say raised       17   whatever units are owned by the individual plan as
18   their eyebrows?                                        18   part of the separate account.
19       A. I -- I thought I saw you raise your             19       Q. Okay. And in your role as an adviser to
20   eyebrows, because I was kind of like going long with   20   fiduciaries, would you advise them to treat those
21   my answer, so I wanted to try to step back and         21   assets in separate accounts as though they are the
22   quantify it a little bit by example.                   22   assets of the plan?
23       Q. So you're referring to me there?                23          MR. FLECKNER: Objection.
24       A. Yes.                                            24       A. Again, it depends on for what purpose. So
25       Q. So is it your testimony that there's no         25   for example, if you're talking about, you know,

                                                                              35 (Pages 134 to 137)
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 1   completing a Form 5500, you would use those separate    1   that question?
 2   account assets to define what has to be reported on     2       A. Well, again, as I indicated before, plan
 3   Schedule H of the Form 5500.                            3   assets has a broad industry definition, again, used
 4     BY MR. WEINSHALL:                                     4   in multiple contexts.
 5       Q. And does the term "plan assets" show up on       5       Q. But it's fair to say that some in the
 6   the Form 5500?                                          6   industry would -- would understand the assets of a
 7       A. There's a dollar amount indicated on Form        7   separate account tied to a group annuity contract to
 8   5500 with different terms, "beginning asset             8   reflect the plan assets, right?
 9   balance," "ending asset balance." I don't know if       9       A. Within the context of the broad definition
10   the specific term is "plan assets" or not. I           10   of plan assets, yes. Yeah.
11   believe it's just "assets."                            11       Q. You talked about discretion in your
12       Q. Well, within the context of that form,          12   paragraphs within Section 3.
13   that means assets of the plan, right?                  13          What does it mean to have discretion over
14          MR. FLECKNER: Objection.                        14   a plan's assets?
15       A. Well, again, assets of the plan, assets of      15       A. The ability to select funds, for example.
16   the separate account, or assets of the trust, you      16   So an ERISA 3(38) fiduciary has the discretion to
17   know, because again, when you -- in a different        17   select the specific investment options for a plan.
18   vernacular, when we talk about trust products, they    18       Q. So that's an example of -- of having
19   are also not plan assets, they're assets of the        19   discretion, but does that essentially mean that
20   trust.                                                 20   discretion means the ability to make a decision
21     BY MR. WEINSHALL:                                    21   without getting input from the plan?
22       Q. All right. So you're saying that -- that        22          MR. FLECKNER: Objection.
23   to gain an understanding of -- of how different        23       A. I think you'd have to help me out with a
24   professionals understand the term, you'd want to       24   more specific example.
25   talk to those different professionals and ask them     25

                                             Page 140                                                    Page 141
 1     BY MR. WEINSHALL:                                     1     BY MR. WEINSHALL:
 2       Q. Well, the example you just gave of               2       Q. Okay. Did you see any evidence in the
 3   selecting a fund for the plan, right?                   3   record that Hancock consulted with plans, either the
 4       A. Right.                                           4   Romano plan or the plans that make up the class,
 5       Q. So discretionary authority only exists if        5   regarding how to treat the benefits it received from
 6   the entity making that selection can do so without      6   foreign tax credits?
 7   getting approval of the plan to make that selection,    7          MR. FLECKNER: Objection.
 8   right? Otherwise, the plan is the one making the        8       A. No.
 9   selection.                                              9     BY MR. WEINSHALL:
10       A. Yeah. So in this example, if -- if              10       Q. If you assume for the sake of this
11   somebody -- if an entity is designated as an ERISA     11   question that the benefit of foreign tax credits are
12   3(38) fiduciary and they acknowledge that              12   plan assets, okay?
13   appointment in writing and the plan sponsor has        13       A. Okay.
14   granted the authority to that entity to manage the     14       Q. That assumption?
15   assets of the plan at their discretion, then yes,      15       A. I don't agree, but I'll assume.
16   they do not have to get the approval of the plan       16       Q. Okay. Then you would agree that John
17   sponsor to make those investment decisions.            17   Hancock has discretion over that particular asset,
18       Q. Okay. So it's -- then discretion in this        18   right?
19   sense means sort of making a decision without          19          MR. FLECKNER: Objection.
20   consulting or getting the input of -- of the plan;     20       A. And then when you say "discretion," you
21   is that fair?                                          21   mean what exactly? The discretion to do what with
22          MR. FLECKNER: Objection.                        22   it?
23       A. Within the context as I just described an       23     BY MR. WEINSHALL:
24   ERISA 3(38) fiduciary, correct.                        24       Q. The discretion to do what it wishes to do
25                                                          25   with it.

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 1      A. Well, under the assumption that if a             1   discretion over plan assets, regardless of whether
 2   foreign tax credit is deemed to be a plan asset and    2   the plan authorizes it, then that person assumes
 3   John Hancock is appointed as an ERISA 3(38)            3   fiduciary responsibilities, right?
 4   fiduciary, then yes, they would be -- have been        4       A. Yeah, I believe in -- in fiduciary --
 5   granted the authority, if you will, or the             5   fiduciary responsibilities can be assigned, but they
 6   discretion, if you will, with respect to that          6   can also be a product of the function of the
 7   foreign tax credit.                                    7   individual.
 8      Q. Okay. But that's a little bit of a               8       Q. Okay. So going back to the hypothetical,
 9   different hypothetical than the one I'm asking.        9   if we assume that foreign tax credits, the benefits
10      A. Okay.                                           10   received from foreign tax credits are an asset of
11      Q. So leaving aside the appointment as a           11   the plan -- I understand you disagree with the
12   3(38), would you agree that an entity -- you've       12   assumption, but if we assume that that is true, then
13   given an example before of an entity that -- that     13   is it fair to say that John Hancock, in keeping
14   takes the authority to make a fund selection even     14   those foreign tax credits for itself without
15   though it's not granted that authority in the plan,   15   consulting with the plan, exercised discretion over
16   right? Do you recall that earlier?                    16   those foreign tax credits?
17      A. Yeah. So for example, if somebody in            17           MR. FLECKNER: Objection.
18   practice does it without the authority to do so?      18       A. Yeah, based on your hypothetical answer
19      Q. Yes.                                            19   or -- excuse me, based on your hypothetical
20      A. Yes, then -- then they could, in theory,        20   situation, if those foreign tax credits were deemed
21   be by design, assuming an ERISA -- an additional --   21   to be assets of the plan and John Hancock did
22   ERISA additional responsibility that they did not     22   something, administered or retained those foreign
23   confirm to with respect to that plan sponsor.         23   tax credits on their own, then they're assuming some
24      Q. Okay. And that's because if -- in your          24   additional fiduciary responsibility. But again,
25   understanding, if someone or an entity exercises      25   it's, as you indicated, a hypothetical.

                                            Page 144                                                    Page 145
 1    BY MR. WEINSHALL:                                     1       A. That's correct.
 2      Q. Okay. Paragraph 9 of your report,                2       Q. Okay. So I think it would be more
 3   rebuttal report, you state, "Plaintiffs' experts       3   accurate in paragraph 9 to say that your opinion is
 4   ignore that John Hancock's roles and                   4   that Mr. Levy misunderstands the roles and
 5   responsibilities as they pertain to the management     5   responsibilities, not that he ignores the statement
 6   and control of assets held in separate accounts are    6   of responsibilities in the recordkeeping agreement,
 7   documented in the 2014 recordkeeping agreement;" is    7   right?
 8   that right?                                            8          MR. FLECKNER: Objection.
 9      A. That's what it states.                           9       A. I'm just reviewing the report, so bear
10      Q. Okay. You're aware, however, that               10   with me.
11   Mr. Levy actually quoted language from the 2014       11          So in Mr. Levy's report, he does quote in
12   recordkeeping agreement, correct?                     12   paragraph 21 the limited fiduciary status, and then
13      A. I'd have to go back and review his report.      13   he goes on in paragraph 22 to state that, "The
14      Q. Okay. You have it in front of you, right?       14   recordkeeping agreement does not explain what limit
15      A. I do.                                           15   is placed on John Hancock's fiduciary
16          And we're talking about his affirmative        16   responsibilities as a result of its self-styled
17   report or his rebuttal report?                        17   limited fiduciary status with respect to holding
18      Q. His affirmative report. I can mark it as        18   plan assets. And in the absence of that
19   an exhibit.                                           19   explanation, it's reasonable to conclude that --
20      A. That would be great. Thank you.                 20   determine that no way limits the fiduciary
21          Yeah, I think it's -- I think I have it.       21   responsibilities of John Hancock that arise from its
22   He does quote from paragraph 21.                      22   holding plan assets."
23      Q. Okay. So paragraph 21 of Mr. Levy's             23          So I think he's taking the view that in
24   report, which you're looking at, he quotes from the   24   the absence of the specific definition, there were
25   recordkeeping agreement; is that right?               25   no limits to their fiduciary responsibilities.

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                                             Page 146                                                    Page 147
 1     BY MR. WEINSHALL:                                     1    BY MR. WEINSHALL:
 2      Q. And you -- you disagree with that                 2      Q. In the section before that, Mr. Gissiner,
 3   interpretation, correct?                                3   the end of paragraph 7, which you're referring to
 4      A. Correct.                                          4   this section here, you quote both the Levy report
 5      Q. Okay. But it's not correct to say that he         5   and the Pingree report, do you not?
 6   ignores the statements in the 2014 recordkeeping        6      A. Yes, I do.
 7   agreement, right? He actually quotes that.              7      Q. Okay. So you are talking about both
 8          MR. FLECKNER: Objection. Misstates.              8   Mr. Pingree and Mr. Levy in this section of your
 9      A. Well, I think to be fair, in paragraph 9,         9   report, correct?
10   I'm saying plaintiffs' experts, so I could also be     10      A. Yeah, that's correct. I think earlier we
11   referencing Mr. Pingree in that example.               11   were talking, I think you were referring
12     BY MR. WEINSHALL:                                    12   specifically to Mr. Levy and then referencing his
13      Q. Well, that would be plaintiffs' expert,          13   report.
14   not experts, correct?                                  14      Q. I am.
15      A. Yes. In paragraph 9, it says plaintiffs'         15      A. Okay.
16   experts, which would include Mr. Levy and              16      Q. That's -- your paragraph 9 does not
17   Mr. Pingree.                                           17   distinguish between Mr. Levy or Mr. Pingree but
18      Q. Okay. So then a more accurate statement          18   refers to both, correct?
19   would be that Mr. Levy does not ignore it but that     19      A. That's -- that's plaintiffs' experts,
20   he -- you just disagree with his interpretation,       20   correct, that refers to both.
21   correct?                                               21      Q. Okay. And so I'm asking you about the
22          MR. FLECKNER: Objection. Misstates.             22   accuracy of this statement that plaintiffs' experts
23      A. Yeah, I don't -- where am I -- I'm not           23   ignore that John Hancock's roles and
24   specifically referencing Mr. Levy in that paragraph.   24   responsibilities are documented in the 2014
25                                                          25   recordkeeping agreement.

                                             Page 148                                                    Page 149
 1          Mr. Pingree does not ignore that because         1    BY MR. WEINSHALL:
 2   he actually -- he quotes it, right?                     2      Q. You're comfortable saying he ignores it
 3          MR. FLECKNER: Objection. Misstates.              3   even though he quotes it?
 4       Objection. Misstates.                               4          MR. FLECKNER: Objection. Misstates.
 5       A. I -- I think what I'm stating here is that       5      A. What I'm stating is is that John Hancock
 6   our documented plaintiffs' expert -- John Hancock's     6   request's roles and responsibilities as they pertain
 7   roles and responsibilities are documented in the        7   are documented in the 2014 agreement.
 8   recordkeeping agreement.                                8    BY MR. WEINSHALL:
 9          So it is fair that Mr. Levy does reference       9      Q. You didn't state that; you said that
10   that, but then he goes on to state that because that   10   plaintiffs' experts ignore that statement.
11   limited fiduciary assets -- or limited fiduciary       11          Is that what you said?
12   definition is not defined, that there are no limits    12          MR. FLECKNER: Objection.
13   to their fiduciary responsibilities.                   13      A. I think what I'm stating is that John
14     BY MR. WEINSHALL:                                    14   Hancock's roles and responsibilities are defined in
15       Q. And I understand you disagree with that         15   the recordkeeping agreement. I think Mr. Levy is
16   conclusion, but that's not what I'm asking you         16   saying that their responsibilities extend beyond
17   about. I'm asking about this one statement in your     17   what's in that recordkeeping agreement, and what I'm
18   report.                                                18   stating is is that these responsibilities are
19          It's not correct to say that Mr. Levy           19   defined in that agreement, not unlimited, as
20   ignores the statement of roles and responsibilities    20   Mr. Levy asserts.
21   in the recordkeeping agreement, correct?               21    BY MR. WEINSHALL:
22          MR. FLECKNER: Objection.                        22      Q. If you'll skip ahead, Mr. Gissiner, to
23       A. I think if you're asking me to change the       23   paragraph 14 in this section. You state,
24   language in the report, I'm comfortable with the       24   "Retirement industry professionals do not expect an
25   language in the report.                                25   insurance company like John Hancock will operate in


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 1   a fiduciary capacity by holding plan investments        1   investments that are subject to direction by plan
 2   that are subject to direction by plan participants      2   participants or trustees?
 3   or trustees like the proposed class members."           3      A. Well, in terms of just different RFPs,
 4          Is that your conclusion at the end of that       4   I've interacted with numerous individuals who, as
 5   paragraph?                                              5   part of an RFP response, will confirm that they do
 6       A. Excuse me, the end of paragraph 14?              6   not operate in a fiduciary capacity. Certainly,
 7       Q. Yes.                                             7   individuals with Fidelity that I've interacted with.
 8       A. Yes, that's what it states.                      8   Again, it's just simply based on my experience that
 9       Q. Okay. Did you conduct a survey of                9   insurance company providers and recordkeepers do not
10   retirement industry professionals to determine what    10   assume 3(38) responsibility for the investments in
11   their expectations are?                                11   their plans as recordkeepers.
12       A. No, that's just -- I did not conduct a          12      Q. Okay. You mentioned Fidelity as the only
13   specific survey, no.                                   13   specific entity that you spoke with in your
14       Q. Did you speak with any other retirement         14   experience.
15   industry professionals to determine what their         15          Fidelity does not offer group annuity
16   expectations are regarding your statements in this     16   contracts, does it?
17   last part of the paragraph?                            17      A. No, they don't.
18       A. Yeah. Over the course of my career, I           18      Q. Okay. Have you spoken with any group
19   certainly have spoken with a number of different       19   annuity contract providers that provide a basis for
20   individuals regarding, you know, the fiduciary         20   this last opinion?
21   responsibilities of various recordkeepers.             21      A. Yeah. Over the course of my career, I've
22       Q. Okay. Which -- which professionals have         22   solicited and received RFPs from Principal, VALIC,
23   you spoken to that informed you that they did not      23   Lincoln Financial Group, Great-West, those are the
24   expect an insurance company like John Hancock to       24   four off the top of my head. VALIC interacted with
25   operate in a fiduciary capacity by holding plan        25   sales professionals at those various companies.

                                             Page 152                                                    Page 153
 1       Q. Okay. So the statements in response to           1   the structure of those arrangements, how they
 2   the RFPs that the service provider was not assuming     2   operate, if they wanted to transition out of that
 3   certain fiduciary responsibilities is what the basis    3   arrangement, what would need to be done and things
 4   is of your opinion here?                                4   of that nature.
 5       A. Yeah. So typically as part of our RFPs,          5       Q. Okay. But are you saying that those
 6   you'll receive copies of draft recordkeeping            6   conversations led you to conclude that plan sponsors
 7   agreements, and as part of those agreements, you do     7   and plan fiduciaries do not expect an insurance
 8   see what their level of fiduciary responsibilities      8   company to operate in a fiduciary capacity by
 9   are.                                                    9   holding plan assets?
10       Q. Okay. Now, in terms of -- so when you're        10       A. That would be yeah, sure.
11   referring to retirement industry professionals here,   11       Q. Okay. Which -- which plan sponsors or
12   you're referring to those who work for service         12   plan fiduciaries told you that that was their
13   providers; is that right?                              13   expectation?
14       A. Yes, and, you know, probably I would have       14       A. You want -- you want specific plan sponsor
15   to go back and look, but I think also, you know,       15   names? I would have to go back and look and provide
16   individuals over the course of time that have          16   them for you. I mean, over the course of my career
17   written articles and -- on this subject.               17   you're talking about, you know, consulting on, you
18       Q. Okay. But that doesn't include plan             18   know, hundreds of different plans.
19   sponsors or plan fiduciaries, right?                   19       Q. And you're saying that those hundreds of
20       A. As to their understanding of how assets         20   different plans you had conversations with the plan
21   work?                                                  21   sponsors and plan fiduciaries who told you they did
22       Q. Yep.                                            22   not expect that the service provider holding plan
23       A. No. I disagree with that, because I have        23   investments would be serving in a fiduciary
24   interacted with plan sponsors that have had group      24   capacity.
25   annuity arrangements, and we've discussed, you know,   25       A. Fiduciary -- yes.


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                                             Page 154                                                    Page 155
 1      Q. Okay. Can you think of one example where          1       Q. Okay. But prior to you informing them of
 2   someone told you that?                                  2   this, they did not understand that; is that correct?
 3      A. Yeah. So for example, I consulted with a          3       A. I can't say for certain. I think they did
 4   hospital in Florida that, at one point in time, had     4   know that they were in, you know, typically when
 5   their retirement plans administered by VALIC under a    5   providers are in group annuity products, they know
 6   group annuity arrangement. They transitioned that       6   that there's a certain number of investment options
 7   from group annuity arrangement to Fidelity. So they     7   available to them. I would have to go back and look
 8   went from a group annuity to a trustee product.         8   at the agreements, but typically those contracts
 9   They understood as part of that transition that the     9   fully describe the level of fiduciary responsibility
10   investment funds that they had on the VALIC platform   10   that the insurance company will take consistent with
11   were limited to the funds that were available under    11   what John Hancock did here.
12   that product. I believe it was called VALIC            12       Q. Okay. But John Hancock's statement here
13   portfolio director. They understood that when they     13   did say it was a limited fiduciary when holding plan
14   went to the trustee platform, that they would need     14   assets; is that correct?
15   to designate an ERISA 3(21) fiduciary to provide       15       A. Yeah, they define their limited fiduciary
16   oversight with respect to the investments, and they    16   role.
17   understood that VALIC had no fiduciary                 17       Q. Okay. And is it your experience that
18   responsibility as an ERISA 3(21) fiduciary with        18   other service providers also identify themselves as
19   respect to those assets.                               19   limited fiduciaries?
20          So in that specific example, they were          20       A. Yes, whether it's an insurance product or
21   aware that when they moved to the new platform, that   21   a trust product.
22   they had to appoint an ERISA 3(21) fiduciary if they   22       Q. Okay. So then it would be fair for
23   wanted to provide oversight with respect to the plan   23   retirement industry professionals to expect that
24   and knew as part of that process that VALIC did not    24   insurance companies serve as at least, quote,
25   do that for them.                                      25   limited fiduciaries as defined in their agreements,

                                             Page 156                                                    Page 157
 1   right?                                                  1   15?
 2       A. Insurance companies, and I think also, as        2    BY MR. WEINSHALL:
 3   I indicated before, trustee plan arrangements.          3       Q. That's where it starts.
 4       Q. Okay. So that would be a yes to my               4       A. Okay, thank you.
 5   question; is that right?                                5       Q. So first let me ask you, Mr. Gissiner, are
 6       A. Yes.                                             6   you offering an opinion in this case as to whether
 7          MR. FLECKNER: Matt, if we're moving to a         7   the benefits of foreign tax credits that John
 8       new subject, it's been about two hours, I           8   Hancock received constitute or meet the criteria for
 9       wonder if we could have a break.                    9   compensation under Regulation 408(b)(2)?
10          MR. WEINSHALL: Yes.                             10       A. Yeah. So my opinion is framed more
11          Let's go off the record.                        11   specifically in paragraph 16 towards the bottom.
12          THE VIDEOGRAPHER: It is 2:51 p.m. We're         12   "Revenues are related to services provided on behalf
13       going off the record.                              13   of the plan and as noted here are unrelated to
14          (Recess taken.)                                 14   foreign tax credits."
15          THE VIDEOGRAPHER: The time is 3:09 p.m.,        15       Q. Okay. You reference revenue. I'm
16       and we're back on the record.                      16   using -- I'm asking you about a different term. The
17     BY MR. WEINSHALL:                                    17   word "compensation," you understand that that is
18       Q. Mr. Gissiner, let's turn to the next            18   defined in Regulation 408(b)(2)?
19   section of your rebuttal report starting with          19       A. Yes, two terms, compensation direct and
20   paragraph -- sorry, Section 4 which concerns whether   20   indirect.
21   foreign tax credits are considered compensation or     21       Q. And do you know -- do you recall what the
22   revenues received by the recordkeeper.                 22   meaning of the word "compensation" is under this
23          Do you see that?                                23   regulation?
24          (Reporter clarification.)                       24       A. Well, there's two definitions. There's a
25       A. You're referring specifically to paragraph      25   direct compensation definition and an indirect

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 1   compensation definition. We can certainly pull up       1   to see if the term is defined more broadly.
 2   the regulations and they define them.                   2       Q. Okay. We'll do that. Well, let me ask
 3      Q. Okay. But you don't recall off the top of         3   you before I pull that up. Are you -- your opinion
 4   your head what the word "compensation" is defined to    4   here as to whether foreign tax credits are
 5   mean in the regulation?                                 5   compensation, are you offering an opinion as to
 6      A. So specific to direct compensation, it            6   whether the benefits of foreign tax credits meet the
 7   represents services paid by the plan -- or excuse       7   criteria of that regulation, or are you offering an
 8   me, fees paid by the plan directly to the retirement    8   opinion as to the way you believe industry
 9   plan service provider. So an example of direct          9   professionals understand the term?
10   compensation would be a recordkeeping fee debited      10       A. Based on my understanding of the
11   against the accounts of plan participants.             11   regulations, based on my understanding of how it's
12          Indirect compensation refers to the             12   treated across the industry, I do not consider
13   exchange of compensation by an intermediary. So        13   foreign tax credits to be compensation.
14   revenue-sharing such as 12b-1 fees is an example of    14       Q. Okay. That again did not answer my
15   indirect compensation, because it's not paid by the    15   question. Are you offering an opinion as to whether
16   plan directly. It's paid by the fund company to the    16   the benefits of foreign tax credits constitute
17   service provider.                                      17   compensation under the regulation?
18      Q. Now let me -- I don't think you're               18       A. It's my opinion that the regulations do
19   answering the question. You're -- you're giving me     19   not include any references to foreign tax credits as
20   examples of what indirect and direct compensation      20   compensation in return for services provided on
21   are. I'm asking you, do you know whether or not the    21   behalf of the plan.
22   regulation defines simply the word "compensation."     22          So again, as noted in my report, based on
23      A. Again, as I understand the regulations,          23   my knowledge of industry custom how these amounts
24   the word "compensation" is defined as direct and       24   are defined, revenues as reported on 408(b)(2)
25   indirect. We would have to pull up the regulations     25   disclosures are unrelated to foreign tax credits.

                                             Page 160                                                    Page 161
 1       Q. Mr. Gissiner, you answered that question         1       A. There's nothing in the regulations that
 2   by saying whether or not foreign tax credits are        2   refer to foreign tax credits as being indirect or
 3   referenced. That's not what I asked. My question        3   direct compensation.
 4   is, you understand there's a regulation regarding       4       Q. That's not my question. My question is,
 5   the disclosure of compensation, right?                  5   you don't know without looking at the regulation
 6       A. Correct.                                         6   whether or not you are offering an opinion as to
 7       Q. Okay. And that regulation is Rule                7   whether foreign tax credits meet the definition of
 8   408(b)(2), right?                                       8   compensation.
 9       A. Correct.                                         9       A. Again, we would have to pull up the
10       Q. Okay. And you understand that that              10   definition of compensation, because again, I'm
11   regulation may contain a definition of compensation,   11   thinking in terms of direct and indirect and maybe
12   correct?                                               12   it would be helpful to see how compensation is
13       A. Definition of direct and indirect,              13   defined in the regulations and then how that's
14   correct.                                               14   further defined as direct and indirect compensation.
15       Q. Okay. And are you offering an opinion           15       Q. Okay. But without looking at the statute,
16   whether the benefits of foreign tax credits meet       16   can you tell me whether you're offering an opinion
17   that specific definition?                              17   on it or not?
18       A. The direct compensation direction --            18       A. I'm offering the opinion that foreign tax
19   definition or the indirect compensation definition?    19   credits are not something that -- are not referenced
20       Q. Either one.                                     20   in the 408(b)(2) regulations. Therefore, for
21       A. Well, why don't we bring it up and take a       21   purposes of 408(b)(2), either with respect to direct
22   look at what the disclosure notices state.             22   and indirect compensation, they're not something
23       Q. But you don't know without looking at the       23   that are reported on a 408(b)(2).
24   regulation whether you're offering an opinion that     24       Q. Okay. Just to break down what you said
25   foreign tax credits meet it?                           25   there, first you're offering an opinion that foreign

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 1   tax credits are not something that are referenced in    1   either direct or indirect compensation under the
 2   the 408(b)(2), and you just used the word foreign       2   regulations.
 3   tax credits, that phrase does not appear in that        3       Q. Okay. You don't, and that is because the
 4   regulation; is that right?                              4   words foreign tax credits do not appear in the
 5      A. The word foreign tax credit does not              5   regulation, and you've never seen them referenced as
 6   appear in the 408(b)(2) regulations.                    6   such in other 408(b)2 disclosures; is that correct?
 7      Q. Okay. And that's something that anybody           7       A. Right, and then also consistent with what
 8   can understand by just reading the regulation,          8   the regulations describe as direct and indirect
 9   right?                                                  9   compensation. So the regulations do include various
10      A. By -- yeah, sure, of course.                     10   examples of what is direct and indirect
11      Q. Okay. All right. Then the next step              11   compensation.
12   you're saying, for purposes of 408(b)(2), they are     12       Q. Okay.
13   not something, meaning foreign tax credits are not     13       A. That's not referenced in those examples.
14   something that are reported on a 408(b)(2)             14       Q. Okay. So that just comes from your
15   disclosure; is that right?                             15   reading and understanding of the language of the
16      A. That is correct. That is not something           16   regulation.
17   that I've seen reported as an industry practice.       17       A. It's in the regulations.
18      Q. Okay. So other than saying that the words        18       Q. You've read those regulations and applied
19   foreign tax credits do not appear in the regulation,   19   them to the facts to conclude that foreign tax
20   and that as a general practice you have not seen       20   credits do not fall within those examples, correct?
21   foreign tax credits reported on a Rule 408(b)(2)       21          MR. FLECKNER: Objection.
22   disclosure, are you offering any other opinions as     22       A. That is correct.
23   to whether the benefits of foreign tax credits         23    BY MR. WEINSHALL:
24   constitute compensation under the regulation?          24       Q. This is Exhibit 155, which is Rule
25      A. I do not believe that they constitute            25   408(b)(2).

                                             Page 164                                                    Page 165
 1          (Thereupon, marked as Exhibit 155.)              1       Q. Okay. Do you see the number of the
 2          MR. FLECKNER: Is there a particular part         2   regulation? What is it?
 3       you would like us to look at, Matt?                 3       A. 255 408(b)(2) paragraph 2.
 4          MR. WEINSHALL: Yep.                              4           MR. FLECKNER: Mr. Weinshall, is there a
 5    BY MR. WEINSHALL:                                      5       specific provision, because he's just looked at
 6       Q. First let me ask you, Mr. Gissiner, is           6       408(b)(2) paragraph A which he said he's not
 7   this the regulation you're talking about?               7       relying on. Are you asking him if he's relying
 8       A. Well, I'm looking at the document, it            8       on other portions of this regulation?
 9   says, "General statutory exemption for services or      9           MR. WEINSHALL: Mr. Fleckner, you don't
10   office space." So why is the document only             10       have to interpose an answer for your client. I
11   referring to the statutory exemption for services or   11       will ask the questions.
12   office space?                                          12    BY MR. WEINSHALL:
13          So if you look at definitions 1, 2, and 3       13       Q. But I believe you just testified regarding
14   of the document, they're referencing specifically      14   the title of this regulation, correct, Mr. Gissiner?
15   office space.                                          15       A. Yes, yes, that is correct.
16       Q. Mr. Gissiner, you just testified earlier        16           So I'm wondering if this is a component --
17   that you relied on a regulation. You don't know        17       Q. I'm sorry?
18   whether this is the regulation or not?                 18       A. I'm wondering if this is a component of
19       A. I don't believe that it is, just simply         19   the overall regulations. But anyway, we can
20   because there's that initial reference to statutory    20   continue if you would like.
21   exemption for services or office space.                21       Q. Okay. Let's look at page 4.
22       Q. Okay.                                           22           Actually, before I do that, let's look up
23       A. Effective November 14, 2012. I believe          23   at page 2 of the PDF. Are you there?
24   the DOL 408(b)(2) regulations came out before this     24       A. I am, yes.
25   date.                                                  25       Q. Okay. Do you see on the top of it it

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                                             Page 166                                                    Page 167
 1   says, "Reasonable contract or arrangement" in           1      A. Yeah, I do. I do.
 2   Subsection C, and in Subsection 1 says, "pension        2      Q. Okay.
 3   plan disclosure." And then romanette i says             3      A. Thank you.
 4   "General. No contract or arrangement for services       4          Okay, so let's continue.
 5   between a covered plan and a covered service            5      Q. Okay. Now, let's scroll down. Later on
 6   provider, nor any extension or renewal, is              6   you'll see, we'll get to a definition of
 7   reasonable within the meaning of Section 408(b)(2)      7   compensation, paragraph 7.
 8   of the act and paragraph A2 of this section, unless     8          I'm sorry, not paragraph 7. Page 7 of the
 9   the requirements of this paragraph C1 are satisfied.    9   PDF.
10   The requirements of this paragraph C1 are              10      A. Page 7?
11   independent of fiduciary obligations under Section     11      Q. Yes.
12   404 of the act."                                       12      A. Okay.
13          Do you see that, Mr. Gissiner?                  13      Q. Okay. Do you see romanette vii Section B
14       A. That's what it states.                          14   compensation? Do you see that on the page?
15       Q. Okay. Now, do you recognize this now as         15      A. Yes.
16   Rule 408(b)(2) that requires the disclosure of         16      Q. Okay. Do you see where it says,
17   compensation?                                          17   "Compensation is anything of monetary value."
18       A. Again, I'm having trouble with the first        18          Do you see that?
19   page, because the first page is referencing general    19      A. Yes.
20   statutory exemption for services or office space.      20      Q. Okay. Have you seen that before?
21   So I'm wondering if maybe we can pull up a document    21      A. Yes, I've seen that before.
22   that doesn't have that specific reference, because     22      Q. Okay. So now you understand the word
23   what I'm struggling with is whether this is a          23   "compensation" in the regulation means anything of
24   specific carve-out for services or office space.       24   monetary value, correct?
25       Q. You see the word "or" there, right?             25      A. In this specific definition, yes.

                                             Page 168                                                    Page 169
 1       Q. In this regulation.                              1   particular form because it's from Westlaw. I've
 2       A. In this -- in this paragraph.                    2   seen the regulations as posted on the DOL site. So
 3       Q. And then that paragraph it says, the             3   it could have just been difference in the
 4   beginning of that says, "for the purposes of C1,"       4   formatting. And then as I indicated before, just
 5   which is what we just read before, right?               5   what we talked about earlier, about services and
 6       A. Yes. So there's a definition of                  6   office space.
 7   compensation and then further definitions below in      7       Q. Okay. So you understand that compensation
 8   paragraphs, 1, 2, and 3.                                8   is defined in this regulation to mean anything of
 9       Q. Okay. You seem -- you seem somewhat              9   monetary value, correct?
10   unfamiliar with this regulation; is that fair?         10       A. Well, in that particular paragraph, yes,
11       A. No, no, I'm not.                                11   and then further defined below.
12       Q. You're not, okay, but you don't recognize       12       Q. Okay. Is it your testimony then that the
13   different parts of it, correct?                        13   benefits that John Hancock received from foreign tax
14       A. I'm sorry?                                      14   credits are -- do not have monetary value?
15       Q. You don't recognize the entirety of this        15       A. The tax benefits would have monetary
16   regulation, correct?                                   16   value. I would not consider those tax benefits to
17       A. No, I'm -- I'm attempting to review             17   be compensation for purposes of the plan.
18   through it. I'm familiar with the regulation.          18       Q. Okay. And so you are interpreting this
19   Again, as I indicated before, I was thrown a little    19   provision to mean it does not cover foreign tax
20   bit at the beginning with the reference to office      20   credits; is that right?
21   space, but now I'm -- now I'm back on point.           21          MR. FLECKNER: Objection.
22       Q. Okay. So when you were first shown the          22       A. I would venture to say that if we searched
23   regulation, you were not confident that it was         23   for the term "foreign tax credits" in this document,
24   Regulation 408(b)(2), correct?                         24   it would not appear.
25       A. Only because I have not seen it in this         25


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                                             Page 170                                                    Page 171
 1     BY MR. WEINSHALL:                                     1       A. Well, again, if we go to paragraph --
 2       Q. Okay. So you are making the conclusion           2   page 2, so there's a definition of covered service
 3   that because foreign tax credits are not listed in      3   provider. And then further the definition of
 4   this document, that the benefits of foreign tax         4   compensation, service -- services as a fiduciary or
 5   credits do not fall within the definition of            5   registered investment adviser. Services provided
 6   compensation; is that right?                            6   directly to the plan as a fiduciary. Services
 7          MR. FLECKNER: Objection.                         7   provided as a fiduciary to an investment contract.
 8       A. Well, again, we're going to have to go           8   Services provided directly to the covered plan as an
 9   through the document in detail, because there are       9   investment adviser. Certain recordkeeping or other
10   definitions of compensation as monetary value, but     10   brokerage services and other services for indirect
11   then there are further clarifications here as to...    11   compensation.
12     BY MR. WEINSHALL:                                    12          So foreign tax credit may have a monetary
13       Q. Well, Mr. Gissiner, you're the one who          13   value, but in my opinion are not something that is
14   offered an opinion in your report in paragraph 16.     14   reported because of, you know, again, what you see
15   Are you saying you did not go through the regulation   15   here in paragraph -- subparagraph B and C.
16   to offer that opinion?                                 16     BY MR. WEINSHALL:
17          MR. FLECKNER: Objection.                        17       Q. So you believe B and C exclude foreign tax
18       A. No, I did go through it.                        18   credits from compensation?
19     BY MR. WEINSHALL:                                    19       A. Well, foreign tax credits are not
20       Q. Well, then other than the fact that             20   compensation provided to a recordkeeper in return
21   foreign tax credits are not identified specifically,   21   for services provided on behalf of the plan.
22   what other basis do you have to opine that foreign     22       Q. But that is -- this definition here in
23   tax credits -- the benefits of foreign tax credits     23   romanette iii defines what a covered service
24   do not constitute compensation?                        24   provider is. It doesn't define what compensation
25          MR. FLECKNER: Objection.                        25   is, correct?

                                             Page 172                                                    Page 173
 1      A. Right, but a covered service provider has         1   connection with services provided on behalf of the
 2   to disclose compensation.                               2   plan.
 3      Q. Right. And do you disagree that John              3     BY MR. WEINSHALL:
 4   Hancock fits within the definition of a                 4       Q. Okay. So you agree -- let's just break
 5   recordkeeping service in Subsection B of that           5   that down. You believe that foreign tax credits --
 6   provision?                                              6   the benefits of foreign tax credits do have monetary
 7      A. John Hancock is providing recordkeeping           7   value, right?
 8   services, correct.                                      8       A. I think they can have monetary value. I
 9      Q. Okay. So it's a covered service provider,         9   think it would depend on the specific tax situation.
10   correct?                                               10       Q. Right. Okay. So if they -- if John
11      A. That is correct.                                 11   Hancock received those foreign tax credits in
12      Q. Okay. So it's a covered service provider,        12   connection with the services, the recordkeeping
13   so it must disclose compensation, and the question     13   services it provides, then it would meet the
14   is whether compensation includes the benefit of        14   definition of compensation that must be disclosed,
15   foreign tax credits. And my question to you is,        15   right?
16   other than foreign tax credits not appearing           16       A. "If" you're saying. If John Hancock
17   specifically in this rule, do you have any other       17   received foreign tax credits related to the services
18   basis to opine that foreign tax credits are not        18   provided on behalf of the plan?
19   compensation under this rule?                          19       Q. Yes.
20          MR. FLECKNER: Objection.                        20       A. Okay. So if I go back to paragraph 2, how
21      A. Just bear with me for a second.                  21   would the description of that arrangement between
22          All right. So if you go to the top of           22   the payer and the covered service provider be
23   paragraph 4 or page 4, I would not consider foreign    23   defined? So in other words, who would be the payer
24   tax credits to fall under the definition of indirect   24   of foreign tax credits?
25   compensation, because they are not provided in         25       Q. Well, indirect compensation doesn't

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 1   identify a payer, does it?                               1       Q. Right. And ultimately it's the separate
 2       A. Well, it says here in this section,               2   accounts that pay those foreign taxes, right?
 3   "Identification of the services for which the            3       A. It's the owner of the separate accounts
 4   indirect compensation will be received,                  4   that pays those taxes. So in this example, Hancock.
 5   identification of the payer of the indirect              5       Q. Okay. But ultimately Hancock passes that
 6   compensation and a description of the arrangement        6   investment experience including the payment of
 7   between the payer and the covered service provider,      7   foreign taxes to the retirement plans, correct?
 8   an affiliate subcontractor," so on and so forth. So      8          MR. FLECKNER: Objection.
 9   in my experience indirect compensation typically         9       A. Hancock passes through the investment
10   means when a fund company provides a revenue-sharing    10   experience.
11   arrangement, a fee, if you will, to a fund              11    BY MR. WEINSHALL:
12   recordkeeper in return for services provided on         12       Q. Net of the payment of taxes to the
13   behalf of the fund. A foreign tax credit in my view     13   retirement fund, correct?
14   is not something that falls into this definition.       14       A. Yes. So I think it would be similar to
15   It's not in return for a service. It's the result       15   how a trust works. So the investment means of a
16   of the U.S. tax code. There's not a specific            16   portfolio.
17   arrangement between -- in other words, if I think of    17       Q. All right. So ultimately the payment of
18   who the payer of the foreign tax credit is, it would    18   foreign taxes for assets that are held in a separate
19   be either the U.S. government, I guess, or the          19   account decrease the plan assets by the amount of
20   foreign entity.                                         20   the foreign taxes paid, correct?
21       Q. Okay. Well, you understand that foreign          21       A. As they would in a trust product, correct.
22   tax credits arise from the payment of foreign taxes,    22       Q. Okay. So my question for you is, if you
23   correct?                                                23   understand, and you said you did, that foreign tax
24       A. Yes, they arise from -- from foreign tax         24   credits can have monetary value, if you assume then
25   withholdings, correct.                                  25   that those foreign tax credits are received, quote,

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 1    in connection with the services described, means        1   understand foreign tax credits, foreign tax credits
 2    recordkeeping services, would they need to be           2   can only be taken by the owner of the security. So
 3    disclosed under this provision?                         3   with respect to a group annuity, Hancock is the
 4        A. If the foreign tax credits were somehow          4   owner of the security, therefore, they are entitled
 5    related to recordkeeping services and satisfied all     5   to the foreign tax credits, not the plan.
 6    these other definitions?                                6          Within a trust product it's a little bit
 7        Q. Yes.                                             7   different. The trust is a tax-exempt entity. Any
 8        A. But then the issue is is, how do you pass        8   foreign tax credits are not available to the trust.
 9    through a foreign tax credit to a nontaxable entity.    9   So that informs me as to my opinion, in addition to
10        Q. This doesn't talk about passing through.        10   what is clearly industry practice surrounding the
11    This talks about disclosure, right?                    11   treatment of foreign tax credits.
12        A. It talks about disclosure in the sense          12     BY MR. WEINSHALL:
13    that disclosure meaning direct or indirect             13       Q. Okay. So it's industry practice and your
14    compensation in return for services provided on        14   reading of this statute.
15    behalf of the fund. So I don't see -- again, as I      15       A. Right. And even Securian, which itself
16    indicated before, any reference to foreign tax         16   says that pass-through foreign tax credits does not
17    credits as being considered to be direct or indirect   17   pass those tax credits through their general
18    compensation.                                          18   account. They only reduce the investment options
19        Q. Okay. So it sounds like your conclusion         19   specific to funds that provide the foreign tax
20    then is based on the absence of foreign tax credits    20   credit.
21    appearing in this regulation and your reading of       21       Q. Okay. But what difference does that last
22    these two provisions of the regulation; is that        22   point make?
23    fair?                                                  23       A. Because Securian isn't passing through
24           MR. FLECKNER: Objection. Misstates.             24   foreign tax credits, nor are they treating them as
25        A. Well, you know, again, you know, as I           25   compensation for purposes of their services.

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                                            Page 178                                                    Page 179
 1   They're just simply reducing the expense ratio of a    1       Q. Okay. Let's look at paragraph 15. You
 2   specific fund option.                                  2   say that Mr. Levy asserts that John Hancock is
 3       Q. But if they pass through the benefit, then      3   required to credit foreign tax credits because they
 4   they're not actually receiving the benefit, right?     4   are considered to be, quote, revenues; is that
 5       A. If they pass through the benefit to the         5   right?
 6   plan?                                                  6       A. Rebuttal report?
 7       Q. Yeah.                                           7       Q. Yep.
 8       A. They're still receiving the benefit.            8       A. Yes, that's what paragraph 15 states.
 9   They're just simply reducing the expense ratio of a    9       Q. Okay. And then you cite Mr. Levy's report
10   specific investment option.                           10   at paragraphs 11 and 24 for that, correct?
11       Q. And you looked at Securian's 408(b)(2)         11       A. I'm sorry. This -- I'm having a hard time
12   disclosures?                                          12   with the document size. So bear with me for a
13       A. I have.                                        13   second.
14       Q. And do they disclose foreign tax credits?      14          Yes. Are you referring to Footnote 29 and
15       A. No. They allude to them in their               15   30?
16   disclosures, but they don't disclose the amounts.     16       Q. Yep.
17       Q. But they allude to them.                       17          I'm referring to actually Footnote 28.
18       A. There's a reference in one of the              18       A. Oh, okay. Thank you.
19   footnotes of a disclosure that references they may    19       Q. Okay. And you cited paragraph 11 and
20   receive foreign tax credits.                          20   paragraph 24 attributing this to Mr. Levy. I marked
21       Q. I see. And John Hancock does not have the      21   Exhibit 156 as Mr. Levy's report.
22   similar disclosure in its 408(b)(2) disclosure; is    22          (Thereupon, marked as Exhibit 156.)
23   that right?                                           23     BY MR. WEINSHALL:
24       A. They do not reference foreign tax credits      24       Q. Can you show me where in either of those
25   in their 408(b)(2) disclosures.                       25   paragraphs Mr. Levy states that John Hancock is

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 1   required to credit foreign tax credits back to         1          So I think the way I read paragraph 15,
 2   separate accounts, because they are considered to      2   I'm stating that Mr. Levy said that Hancock should
 3   be, quote, revenues?                                   3   credit -- require to credit foreign tax credits back
 4          Mr. Gissiner, you cited two paragraphs of       4   to the separate accounts that generated them and
 5   Mr. Levy's report. It seems like you're taking a       5   disclose such foreign tax credits, and then he used
 6   while to --                                            6   the term "revenues" and "indirect compensation"
 7      A. Yeah, I'm just going through them.               7   throughout his report. I don't know if he
 8      Q. I'm asking you a simple question. Where          8   specifically defined foreign tax credits as revenue,
 9   does he say that foreign tax credits are considered    9   but certainly if he's opining that they should be
10   to be revenues?                                       10   credited back to the plan sponsors, then he's
11      A. So in paragraph 24 he does reference the        11   obviously considering that to be revenue, if you
12   term "indirect compensation," and he does also        12   will.
13   reference the term "revenue."                         13       Q. So you don't know if he defines foreign
14      Q. He does, but he never says there that           14   tax credits to be revenue, but you say, without
15   foreign tax credits are revenue, does he?             15   qualification, in your report he asserts that they
16      A. He may not state that specifically.             16   are considered to be revenues.
17      Q. So when you stated the opposite in your         17          MR. FLECKNER: Objection.
18   report, you're not correct; is that right?            18       A. Well, again, I think if they are credited
19      A. Pardon me?                                      19   back to plan participants, then those would be
20      Q. So when you said that he did say that in        20   revenues for purposes of the 408(b)(2) disclosures.
21   your report, you were not correct.                    21     BY MR. WEINSHALL:
22          MR. FLECKNER: Objection.                       22       Q. 408(b)(2) refers to compensation, not
23     BY MR. WEINSHALL:                                   23   revenue, right?
24      Q. Mr. Gissiner, are we waiting to answer?         24       A. Yeah, compensation and revenue is
25      A. I'm reviewing paragraph 25.                     25   generally considered to be the same thing.

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 1       Q. Sometimes. Not always.                           1          MR. FLECKNER: I'm sorry. So you're now
 2           So my question is about this quote,             2      referring to Footnote 28 in?
 3   because you used the quote which means you're saying    3          MR. WEINSHALL: Referring to Footnote 28
 4   this is something he said. It's not correct to say      4      and Mr. Gissiner's statement in the body of the
 5   that Mr. Levy said that foreign tax credits are         5      text.
 6   considered to be, quote, revenues. You agree with       6          MR. FLECKNER: I see. Thank you.
 7   me?                                                     7    BY MR. WEINSHALL:
 8           MR. FLECKNER: Objection. Misstates.             8      Q. Did you write that, Mr. Gissiner?
 9       A. The quote is to credit the foreign tax           9      A. Yes, I did write that.
10   credits back to the separate accounts that generated   10      Q. And it's not correct, because Mr. Levy did
11   them and to disclose such foreign tax credits.         11   not say, they, foreign tax credits, are considered
12    BY MR. WEINSHALL:                                     12   to be revenues, did he?
13       Q. No, Mr. Levy -- Mr. Gissiner. You said,         13      A. Not that specific language, no. Obviously
14   because they, meaning foreign tax credits, are         14   he referenced the term "revenue" and "indirect
15   considered to be revenues. Did you not write that?     15   compensation" throughout his report, but he did not
16       A. Which paragraph are you referring to?           16   specifically state... So I mean, in subparagraph C
17       Q. Paragraph 15, because they, meaning             17   of his report, he does state that or to credit
18   foreign tax credits, are considered to be revenues.    18   foreign tax credits back to the separated --separate
19   You represent that to be Mr. Levy's assertion,         19   accounts that generated them and disclose such
20   correct?                                               20   foreign tax credits as indirect compensation.
21           MR. FLECKNER: Objection. You're on             21          (Reporter clarification.)
22       paragraph 15 now, not paragraph 16 of              22      A. So I'm referring to subparagraph B of
23       Mr. Gissiner's rebuttal?                           23   paragraph 11.
24           MR. WEINSHALL: I always said paragraph         24    BY MR. WEINSHALL:
25       15, yes.                                           25      Q. Okay. So you refer to them as indirect

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 1   compensation, not a revenue, correct?                   1   to the plan as indirect compensation.
 2       A. That's correct, in that paragraph.               2       Q. Okay. But Mr. Gissiner, again, you said
 3       Q. Okay. And you only cite paragraphs 11 and        3   Mr. Levy asserted that foreign tax credits are
 4   24 here, and neither of those paragraphs does he say    4   considered to be revenues, and Mr. Levy did not say
 5   foreign tax credits are considered to be revenues,      5   that, correct?
 6   correct?                                                6          Mr. Gissiner, we're waiting for your
 7       A. Not as defined specifically in that              7   answer.
 8   paragraph. He does refer to the term "revenue"          8       A. So I'm looking at the bottom of paragraph
 9   throughout the report.                                  9   24 where he states that, "Thus, indirect
10       Q. So Mr. Gissiner, this is not a correct          10   compensation, which we talked about in subparagraph
11   statement, correct?                                    11   11, in the form of fees and revenue received by
12           MR. FLECKNER: Objection.                       12   Hancock from the mutual funds, which were supposed
13       A. So I think we're -- I think we're dealing       13   to be applied for the benefit of the plan and is
14   with semantics here. I consider to be --               14   disclosed as such."
15   compensation and revenues to be the same thing. So     15          MR. FLECKNER: Is there another question,
16   as noted in subparagraph C, he's referring to the      16       Mr. Weinshall?
17   crediting of foreign tax credits as indirect           17    BY MR. WEINSHALL:
18   compensation.                                          18       Q. Mr. Gissiner, I asked for -- that
19    BY MR. WEINSHALL:                                     19   statement you just read to me did not state that
20       Q. Mr. Gissiner, you didn't state you              20   foreign tax credits are considered to be revenues,
21   considered them to be the same thing. You said that    21   did they?
22   this is what Mr. Levy asserts, and he did not          22       A. He did not state that specifically.
23   actually assert that, correct?                         23       Q. And you said that he did.
24       A. He did assert in subparagraph -- he did         24       A. We could -- we could argue the point. I
25   assert that foreign tax credits should be returned     25   think that it's fair to state that he would consider


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 1   foreign tax credits to be revenue. He doesn't           1   word "explicitly" there. Besides Securian
 2   define it that way. He does refer to it as indirect     2   disclosure, are there other disclosures that
 3   compensation that should have been disclosed to plan    3   reference foreign tax credits in some non-explicit
 4   participants.                                           4   way?
 5      Q. So you're refusing to acknowledge that you        5      A. In a 408(b)(2) disclosure notice, no.
 6   made a mistake here.                                    6      Q. Paragraph 20 of your rebuttal you comment
 7      A. If your question is, does Mr. Levy                7   that, Securian's market share point, I guess,
 8   specifically define foreign tax credits as revenue,     8   3 percent means that 99.7 percent define
 9   I don't think that I see that in my report.             9   contribution plans in the U.S. have selected other
10      Q. You don't see it in his report or in your        10   recordkeepers.
11   report?                                                11          Is that right?
12      A. I'm sorry, in his report.                        12      A. That's correct.
13      Q. Okay. But you do see that you do state it        13      Q. A big portion of those 99.7 percent have
14   in your report.                                        14   selected trust platforms, not group annuity
15      A. Yes.                                             15   contracts, right?
16      Q. Okay. Paragraph 17 of your report you            16          MR. FLECKNER: Objection.
17   state that, "No 408(b)(2) disclosure of something      17      A. Well, I think you have to go back and look
18   like 20 recordkeepers have explicitly referenced       18   at my initial report. Typically for plans under
19   foreign tax credits." Is that right?                   19   10 million in assets, group annuity platforms are
20      A. That is correct. When we say specifically        20   much more common. I think some are in the
21   the -- that is correct with the exception as I         21   neighborhood of 50 percent or so.
22   mentioned before, there's an allusion -- or Securian   22          So in terms of numbers of plans, a large
23   disclosure does allude to foreign tax credits but      23   number of plans have selected group annuity
24   doesn't provide specifics as to dollar amounts.        24   platforms other than trust platforms.
25      Q. Okay. So I'm wondering why you used the          25

                                             Page 188                                                    Page 189
 1    BY MR. WEINSHALL:                                      1      A. I'm familiar with their pricing practices,
 2       Q. Okay. But that means some large                  2   but no, I've not spoken to anybody directly.
 3   percentage as well have selected trust platforms and    3      Q. Okay. And it's possible that Securian's
 4   have not selected group annuity contracts, right?       4   fees are higher because its other services cost more
 5          MR. FLECKNER: Objection.                         5   or are different or are of a different quality,
 6       A. Yeah. I think -- I think it's fair to            6   right?
 7   state that both group annuity platforms and trust       7      A. There's numerous ways that -- yeah, I
 8   platforms are recordkeeping platforms selected by       8   mean, there's numerous factors that influence
 9   different plan sponsors based on their specific         9   industry pricing.
10   requirements.                                          10      Q. Okay. So your basis for saying that the
11    BY MR. WEINSHALL:                                     11   higher price for Securian is there to, quote, offset
12       Q. Let's go to paragraph 24. You said, "The        12   the decrease in revenue is not based on any evidence
13   documentary evidence shows that Securian can and       13   other than the fact that it charged a higher price,
14   does charge higher recordkeeping fees, quote, to       14   which could be the result of something else, right?
15   offset the decrease in revenue it collects as a        15      A. Well, in this specific example, you have
16   result of a fee concession for foreign tax credits."   16   RFP responses from four providers who are quoting on
17   Is that right?                                         17   the same plan who are obviously assuming a certain
18       A. That's what's stated here, correct.             18   cash flow asset amount. So the fact that Securian
19       Q. Okay. And you reached this conclusion           19   charges more, it basically can be used to offset
20   just by comparing the total fees charged by Securian   20   decreases in revenue from other areas.
21   to other insurers, right?                              21      Q. Well, you didn't say can be used. You
22       A. Specifically referencing the RFP responses      22   said that is the reason; to offset.
23   that Mr. Searcy received, correct.                     23      A. Yeah, I believe that's the case. Again,
24       Q. Okay. But you never spoke to anyone at          24   we go back to the required revenue amount. If
25   Securian about its pricing practices, right?           25   you're reducing revenue from one source, you have to


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 1   increase revenue in another area.                       1   concession for foreign tax credits that Securian
 2      Q. But you have no basis to say that is why          2   advertises is more of a marketing tactic."
 3   Securian charged a higher fee, because you said they    3          Is that what you said?
 4   could have offered different services too, right?       4       A. That's correct.
 5      A. That is a possibility.                            5       Q. Okay. Do you have any doubt that Securian
 6      Q. Okay. So this is speculation on your part         6   does in fact credit back foreign tax credits to the
 7   then.                                                   7   accounts that generate them?
 8          MR. FLECKNER: Objection.                         8       A. Do I have any doubt?
 9      A. Yeah. Again, I think that there's a               9       Q. Right, that Securian actually does what it
10   component there of, you know, Securian being the       10   states it will do.
11   only one that does it. They don't have a large         11       A. I can state that they -- I can state that
12   market share. In the initial fee quotes that were      12   in their disclosure documents they say they may do
13   provided, they charged more for services, so I think   13   it, and, you know, there may be specific instances
14   as somebody who practicians in the area, it's          14   where they don't, but I think it's probably fair to
15   typical that if you're receiving a discount in one     15   state that if that's something that they market to
16   area, you're charging higher fees in another area.     16   the industry, then that would be something that they
17    BY MR. WEINSHALL:                                     17   do.
18      Q. But you don't know what the source of            18       Q. Okay. So it's not just something that's
19   those higher fees are in this particular instance,     19   marketed but something that they actually provide to
20   correct?                                               20   plans, right?
21      A. No.                                              21          MR. FLECKNER: Objection.
22      Q. I'm correct or incorrect?                        22          If you know.
23      A. You're correct.                                  23       A. Yeah, as we talked about before, they
24      Q. Okay. And then you said at the bottom of         24   provide investment management fee reductions for
25   that, "This suggests in my view that the fee           25   funds on their platform that provide foreign tax

                                             Page 192                                                    Page 193
 1   credits.                                                1   regarding what they communicate to advisers with
 2     BY MR. WEINSHALL:                                     2   respect to their platform, and they highlight in
 3        Q. So, but you don't know whether this is          3   those communications the crediting of foreign tax
 4   something that Securian does because it believes        4   credits, and they also note that on their website.
 5   it's consistent with its fiduciary duties or because    5      Q. Okay. So they promote it, but --
 6   they see it as a marketing tactic, do you?              6      A. They promote it, yes, correct.
 7        A. Well, I think that they may have the            7      Q. But to testify that it's more of a
 8   interpretation that that's something that they do       8   marketing tactic than something that's provided in
 9   from a fiduciary standpoint, but certainly as he        9   the best interest of the plan, you would have to
10   indicated before, they're the only one that does it.   10   understand exactly what Securian thinks of it,
11   So in their view that's what they deemed to be their   11   right?
12   approach.                                              12      A. Yes.
13        Q. Okay.                                          13      Q. And you don't know that, correct?
14        A. They also state that they rebate all           14      A. Other than what's on their -- other than
15   revenue-sharing dollars to the plan as well.           15   what's on their website.
16        Q. Okay. So you -- and you have not spoken        16      Q. Okay. Let's go to your --
17   to anyone at Securian regarding this practice,         17          MR. WEINSHALL: You know, if we could take
18   right?                                                 18      a short break here, it's 4:15.
19        A. No.                                            19          MR. FLECKNER: Okay. Bailey, are you
20        Q. So you don't know if this is something         20      going to turn us off?
21   that they consider just a marketing tactic or          21          MR. WEINSHALL: Yes. I was just unmuting.
22   something that fulfills a fiduciary obligation,        22          The time is 4:15 p.m., and we are going
23   correct?                                               23      off the record.
24        A. I have in the past received through my         24          (Recess taken.)
25   affiliation with BKS Retirement periodic e-mails       25          THE VIDEOGRAPHER: The time is 4:33 p.m.,


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 1       and we're back on the record.                       1     A. Page 2 of the PDF, okay.
 2    BY MR. WEINSHALL:                                      2         MR. FLECKNER: Do you mean page 4 of the
 3       Q. I have another exhibit for you. This is          3     PDF?
 4   what we'll mark as Exhibit 157. Please let me know      4         MR. WEINSHALL: I'm sorry?
 5   when you can see it. It was previously marked as a      5         MR. FLECKNER: Which -- were you referring
 6   different exhibit number in another deposition.         6     back to the recordkeeping agreement?
 7          (Thereupon, marked as Exhibit 157.)              7         MR. WEINSHALL: Yes, I was referring back
 8       A. Okay. The John Hancock disclosure, okay.         8     to the recordkeeping agreement to identify this
 9    BY MR. WEINSHALL:                                      9     particular document as -- to identify a
10       Q. Yep. Have you seen this document before?        10     document with that title being referenced in
11       A. Is this specific to the Romano plan?            11     the Romano plan.
12       Q. So this is a document formerly referred to      12         MR. FLECKNER: Okay.
13   as a Summary of Administrative Maintenance Charges     13    BY MR. WEINSHALL:
14   and Revenue Sharing Received. Do you see that near     14     Q. Do you see that, sir?
15   the top?                                               15         MR. FLECKNER: I think you meant page 4 of
16       A. Yes, I see that.                                16     the recordkeeping agreement, of the PDF on my
17       Q. Okay. And if you look at the Romano             17     iteration. Exhibit 154?
18   retirement -- recordkeeping agreement, which is        18         MR. WEINSHALL: Yeah. No, it shows up to
19   Exhibit 154, there's a document called Summary of      19     me as paragraph 2 -- I'm sorry, page 2.
20   Administrative Maintenance Charges and Revenue         20         MR. FLECKNER: Of the PDF. I see where
21   Sharing Received that's listed as a document that's    21     you are. I apologize. Yes, I see. You're
22   included with the plan. Do you see that?               22     looking at the bullet points at the top of
23       A. On which page of the agreement?                 23     page 2, correct?
24       Q. Page 2 of the recordkeeping agreement or        24         MR. WEINSHALL: Yes.
25   really page 1. Page 2 of the PDF.                      25         MR. FLECKNER: I see. Okay. My

                                             Page 196                                                    Page 197
 1      apologies.                                           1   include the benefit of foreign tax credits?
 2    BY MR. WEINSHALL:                                      2          MR. FLECKNER: Objection.
 3      Q. Mr. Pingree, do you see that -- I'm sorry,        3       A. That would be my understanding of this
 4   Mr. Gissiner?                                           4   document. Again, because they're referred to 12b-1
 5      A. So I'm looking at page 2 of Exhibit               5   fees and subtransfer agent fees.
 6   Number 154, and there's three -- referencing -- are     6     BY MR. WEINSHALL:
 7   you talking about the Supplemental Information Guide    7       Q. Okay, thank you.
 8   Investment Comparative Chart, those documents?          8          And if we can look at one more exhibit,
 9      Q. Yes. Do you see there's a document listed         9   158.
10   there called Summary of Administrative Maintenance     10          (Thereupon, marked as Exhibit 158.)
11   Charges and Revenue Sharing Received?                  11       A. Okay, I have it.
12      A. Yes.                                             12     BY MR. WEINSHALL:
13      Q. Okay. And if you come back to 157, do you        13       Q. Have you seen this document before?
14   see that's the same title that's given that this       14       A. Yeah, these are the 408(b)(2) disclosures
15   document was called formerly referred to as?           15   specific to the Romano plan.
16      A. Yes.                                             16       Q. Okay. And if you scroll down to page 6 of
17      Q. Okay. So my question for you is, is it           17   the PDF. Let me know when you're there.
18   your understanding in the retirement professional      18       A. Okay.
19   industry, foreign tax credits are not considered       19       Q. Do you see it says, in the third paragraph
20   indirect compensation that would be disclosed; is      20   it says, "In general, the revenue from the
21   that right?                                            21   underlying fund (12b-1 STA) other is paid to John
22      A. Correct.                                         22   Hancock by the underlying fund and other
23      Q. Okay. So then is it your testimony that          23   fund-related sources pursuant to agreements or
24   the amounts that are shown in this document as         24   arrangements between John Hancock and the underlying
25   revenue from the underlying fund, that does not        25   fund and/or their affiliates. Such revenue includes


                                                                              50 (Pages 194 to 197)
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                                             Page 198                                                    Page 199
 1   12b-1 subtransfer agency, shareholder service, and      1      Q. Okay. And do you distinguish that from a
 2   other fees."                                            2   service provider's role as an issuer of a group
 3          Do you see that?                                 3   annuity contract?
 4      A. Yes, that's what it states.                       4          MR. FLECKNER: Objection.
 5      Q. So is it your opinion that foreign tax            5          You can answer.
 6   credits do not fall in the category of other fees in    6      A. Well, when you're evaluating
 7   this document?                                          7   recordkeepers, in effect you're evaluating the
 8      A. Yes.                                              8   platform. So in the -- in the case of a group
 9      Q. And that's based on your reading of this          9   annuity contract you're evaluating the recordkeeper,
10   document and your understanding of industry            10   but also the platform under which the product
11   practice; is that right?                               11   operates.
12      A. As well as what we had talked about              12     BY MR. WEINSHALL:
13   before, the 408(b)(2) disclosure regulations which     13      Q. And so it's one and the same, the
14   does not include references to foreign tax credits.    14   recordkeeper and the issuer?
15      Q. All right. Returning to your initial             15      A. Well, from -- from the standpoint of my
16   report, in your work as a consultant, you've           16   evaluation, I simply view it as part of an overall
17   evaluated recordkeepers to provide advice to either    17   servicing platform.
18   plan advisers or plan sponsors, right?                 18      Q. Okay. Because the recordkeeper and the
19      A. When you say I evaluated recordkeepers and       19   issuer are the same entity, is that why, or some
20   provided advice to plan sponsors, is that what your    20   other reason?
21   question was?                                          21      A. Because they're the same entity?
22      Q. Yes.                                             22      Q. Is that why?
23      A. So yes, as part of, for example, an RFP or       23      A. They may not necessarily be the same
24   as part of a recurring engagement, you are             24   entity, but typically when you're evaluating a group
25   evaluating recordkeeping services.                     25   annuity platform, one of the evaluation components

                                             Page 200                                                    Page 201
 1   you have are, you know, investment fund                 1   specific platform. So from that standpoint, that --
 2   availability. Investment fund availability, you         2   I realize that is not part of the recordkeeping
 3   know, becomes a product of the servicing platform,      3   component, but it is part of the overall -- what I
 4   which then ultimately becomes part of the overall       4   would call the overall plan experience.
 5   recordkeeping servicing of the plan.                    5       Q. When you do this work of analyzing a
 6       Q. But ultimately the investment options that       6   recordkeeper, do you owe fiduciary duties to the
 7   are available to a platform are the responsibility      7   plans that have retained you?
 8   of the issuer of the group annuity contract, not the    8          MR. FLECKNER: Objection.
 9   recordkeeper; is that right?                            9       A. No. I'm not operating in a fiduciary
10       A. The investment responsibility for fund          10   capacity.
11   selection is the responsibility of the plan sponsor.   11     BY MR. WEINSHALL:
12       Q. Okay. But it's in connection with the           12       Q. Okay. In any of the work that you do, do
13   group annuity contract issuer, right?                  13   you operate in a fiduciary capacity?
14       A. The group annuity provider makes available      14       A. As we talked about before, the firm that I
15   to plan sponsors various investment options on their   15   work with, two of the firms that I work with serve
16   platform.                                              16   as ERISA 3(21) fiduciaries with respect to certain
17       Q. Okay. And in analyzing a particular             17   clients.
18   recordkeeping option and platform, do you separate     18       Q. And what role do you have that you serve
19   your analysis about the recordkeeper providing         19   as a fiduciary?
20   recordkeeping services and a group annuity contract    20       A. Well, with respect to 3(21) fiduciary, our
21   issuer?                                                21   role is to monitor investment funds, determine
22       A. It's typically incorporated into an entire      22   whether those funds are meeting specific performance
23   analysis. Again, there may be components where         23   criteria, make recommendations to the committee as
24   you're focusing, for example, as I alluded to          24   to whether a fund can be -- should be retained or
25   before, what investment options are available on a     25   removed, but ultimately the responsibility falls to


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                                            Page 202                                                    Page 203
 1   the committee to make that decision.                   1   you are assessing that fund option using any number
 2       Q. And in doing that work, have you ever           2   of different criteria, none of which in my practice
 3   considered the impact of foreign tax credits on        3   has ever involved the crediting of foreign tax
 4   either the compensation of recordkeepers or the        4   credits.
 5   return of the investment?                              5     BY MR. WEINSHALL:
 6       A. Never.                                          6      Q. Okay. So have you ever served in any
 7       Q. Okay. So if plaintiffs' view of the law         7   fiduciary capacity where you monitored the fees
 8   is correct, in this case would that mean that you      8   charged by a recordkeeper?
 9   breached your fiduciary duties in that role?           9      A. Not in a fiduciary capacity, no.
10          MR. FLECKNER: Objection.                       10      Q. Okay. You mentioned that group variable
11       A. No, I don't believe so.                        11   annuity contracts are generally sold through
12     BY MR. WEINSHALL:                                   12   broker-dealers; is that right?
13       Q. Why not?                                       13      A. That's correct.
14       A. Because foreign tax credits are not a          14      Q. Okay. Are broker-dealers in your
15   factor that is used in the industry to either         15   experience considered fiduciaries of a plan?
16   select, monitor, or retain investment funds in a      16          MR. FLECKNER: Objection.
17   lineup. There are numerous other factors that are     17      A. I think they can be.
18   used to determine the selection and retention of an   18     BY MR. WEINSHALL:
19   investment fund option.                               19      Q. What in your experience would a
20       Q. So you're talking about the particular         20   broker-dealer have to do in order to be considered a
21   mutual funds that are available as a menu to a        21   fiduciary?
22   retirement plan; is that right?                       22      A. Well, in this specific example as to
23          (Reporter clarification.)                      23   Mr. Searcy, they would be assuming responsibility of
24       A. Yes. What I'm referring to is, when            24   selecting and monitoring, reporting on plan
25   either selecting or evaluating an investment fund,    25   investments.

                                            Page 204                                                    Page 205
 1      Q. And would it be necessary for the                1       A. Well, I think initially what Mr. Searcy
 2   broker-dealer to state that it is assuming a           2   did, at least in 2014, is he didn't present any
 3   fiduciary responsibility to be considered a            3   options. So in that context that's what's
 4   fiduciary?                                             4   different. So in 2020 he presented various
 5      A. Well, let's make sure we define the terms        5   alternatives as part of an RFP process.
 6   correctly, because you're using the term               6       Q. Okay. And that's -- that's similar to the
 7   "broker-dealer," which the term broker-dealer is       7   work you do?
 8   actually an entity. When we refer to ERISA 3(21)       8       A. Yes.
 9   fiduciary, specifically you're referring to the        9       Q. Okay. And is it your testimony that an
10   investment advisory firm. So Mr. Searcy may have a    10   investment adviser does not present different
11   different broker-dealer that he uses, but his firm,   11   options but presents one option to a plan, then that
12   Pursuit Wealth Management, would be the 3(21)         12   investment adviser is serving as a fiduciary to the
13   fiduciary.                                            13   plan?
14      Q. Okay. Do you provide services like              14       A. That would serve -- that to me would be
15   Mr. Searcy provided in this case?                     15   kind of a legal conclusion. I think Mr. Searcy's
16      A. Define services.                                16   role as adviser with respect to the Romano plan in
17      Q. Recommending service providers.                 17   my definition falls under ERISA 3(21).
18      A. We conduct RFPs on behalf of plan               18       Q. But you just -- I'm confused. You just
19   sponsors. We do not recommend service providers.      19   said it was a legal conclusion, and then you gave me
20      Q. So you conduct RFPs and then the plan           20   the conclusion?
21   sponsor chooses among the options that come back to   21       A. I'm sorry. I said I'm not making a legal
22   you?                                                  22   definition as to whether that decision not to offer
23      A. That is correct.                                23   other alternatives was a fiduciary -- made
24      Q. Okay. And how is that different than what       24   Mr. Searcy a fiduciary. What made Mr. Searcy a
25   Mr. Searcy did?                                       25   fiduciary was when he would take on the additional

                                                                             52 (Pages 202 to 205)
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                                             Page 206                                                    Page 207
 1   role of advising the plan sponsor as to the             1   report.
 2   selection of investment funds.                          2          So in my report, if I did not explicitly
 3       Q. Okay. So recommending John Hancock or            3   state that Mr. Searcy was a fiduciary based on what
 4   selecting John Hancock does not make him a              4   I've seen in terms of disclosure documents, his
 5   fiduciary.                                              5   receipt of compensation from the plan, deposition
 6       A. I -- I can't say that one way or another.        6   testimony, he certainly served in that capacity as a
 7       Q. And did you say somewhere in this report         7   3(21) fiduciary. So he received in this particular
 8   that Mr. Searcy is a 3(21) fiduciary for his advice     8   instance direct compensation from the plan.
 9   regarding the selection of investment funds?            9       Q. So when I asked you earlier today if you
10       A. I would have to go back and look, but           10   were planning to supplement your report, you said
11   certainly I think there's documentation in the         11   no, that's not correct.
12   materials, meeting minutes, for example, investment    12       A. I don't feel it's necessary to supplement
13   advisory reports that would inform me that he was      13   my report to just simply define that he was an ERISA
14   operating in that capacity.                            14   3(21) fiduciary.
15       Q. You testified earlier that these reports        15       Q. Well, you didn't state it in your report
16   contain all the opinions that you intend to present    16   did you, Mr. Gissiner?
17   at trial; is that right?                               17       A. No, and I didn't think it would be
18       A. That's correct.                                 18   necessary to state that specifically. What we
19       Q. So if there's nothing in this report that       19   referred to in the report was Mr. Searcy's role and
20   says Mr. Searcy served as a fiduciary, then that's     20   involvement in the selection of John Hancock at the
21   not something you're going to be opining on at         21   outset as well as his role and involvement during
22   trial, correct?                                        22   the RFP process.
23       A. If it's not specifically stated, I'm            23       Q. Mr. Gissiner, are you or are you not
24   comfortable -- I'm sorry. We're going to -- I'm        24   intending to supplement your report by stating the
25   going to go back and look at what's noted in the       25   opinion that Mr. Searcy served as a fiduciary?

                                             Page 208                                                    Page 209
 1       A. I am not going to supplement my report.          1   total plan cost.
 2       Q. Let's go to paragraph -- sorry -- page 33        2       Q. But the survey is a reliable basis on
 3   of your report.                                         3   which to base an opinion on, right?
 4       A. Okay.                                            4       A. The survey indicates that 25 percent of
 5       Q. Footnote 87 cites a survey from Deloitte.        5   plan sponsors identify overall cost to plan, quality
 6   Do you see that?                                        6   of service, and overall relationship as the most
 7       A. Yes.                                             7   important factors. Suffice to say that the survey
 8       Q. And you relied on that survey?                   8   is not comprehensive of each and every plan sponsor,
 9       A. In support of my opinion in addition to my       9   and each and every plan sponsor will have different
10   own experience.                                        10   criteria that they use to assess what they consider
11       Q. Okay. So that's your opinion, it's a            11   to be most important with respect to recordkeeping
12   reliable source on which an expert like yourself       12   services.
13   would base an opinion?                                 13       Q. So according to this survey, if foreign
14       A. Yes.                                            14   tax credits were credited to plans and the cost of
15       Q. Okay. Do you agree that the most                15   the plan were to decline, that would be important to
16   significant factor of a plan sponsor is when           16   plan sponsors, correct?
17   evaluating a recordkeeping change is the overall       17          MR. FLECKNER: Objection.
18   cost to the plan?                                      18       A. It would be important to 25 percent of the
19       A. Well, the survey identifies that as being       19   plan sponsors included in this survey.
20   specific to plan sponsors. I think it's fair to        20     BY MR. WEINSHALL:
21   state that plan sponsors have other criteria that      21       Q. Paragraph 47, you state that --
22   they use to determine level of importance. So with     22       A. I'm sorry. Just -- I want to just
23   respect to the survey, that was the highest            23   rephrase on 40 -- on my last response.
24   percentage, but with respect to my individual client   24          It would also have to be foreign tax
25   experience, they may prioritize other factors beyond   25   credit in the context of other fee arrangements. So


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                                             Page 210                                                    Page 211
 1   as to what -- if that would be important.               1   through or the provision of foreign tax credits
 2       Q. Okay. Paragraph 47 bottom of page 35 you         2   would have offset -- would not have offset the other
 3   said, "Based on my experience, I expect that for        3   benefits provided by John Hancock. Again, just
 4   many proposed class members the benefits of John        4   based on my experience.
 5   Hancock services, including its willingness to          5      Q. That's your prior experience, but then
 6   accommodate startup plans, would have outweighed any    6   you're extrapolating that experience as to the
 7   benefits that additional disclosures to John            7   entire proposed class, right?
 8   Hancock's allowance of foreign tax credits would        8      A. Well, again, I think that's what's
 9   bring to their plan."                                   9   relevant here is, if you -- if you surveyed each and
10          Do you see that?                                10   every proposed class member, I think that, you know,
11       A. Yes.                                            11   they would have various reasons why they selected
12       Q. Okay. Did you speak with any proposed           12   John Hancock, you know.
13   class members to reach this conclusion?                13          So for example, with respect to the Romano
14       A. No, I did not.                                  14   plan, foreign tax credits did not have any
15       Q. Okay. Did you conduct a survey to reach         15   consideration with respect to the selection of
16   this conclusion?                                       16   Hancock or later Fidelity as their provider.
17       A. No, I did not.                                  17      Q. But you didn't conduct a survey to
18       Q. So you are speculating about the                18   understand that that is an accurate prediction,
19   preferences of proposed class members; is that         19   correct?
20   right?                                                 20      A. I did not conduct a survey of proposed --
21       A. Well, again, I don't necessarily use the        21   excuse me, class members.
22   term "speculation." I would say that, again, in my     22      Q. Paragraph 50 you mention industry guidance
23   experience, that there are other benefits associated   23   on recordkeeper RFP processes, and you mentioned two
24   with recordkeeping services other than foreign tax     24   organizations, NAPA and Spark; is that right?
25   credits, and that in my experience the passing         25      A. Yes, sir.

                                             Page 212                                                    Page 213
 1       Q. And you state that neither of the                1       A. And supported in the information that
 2   guidelines published by these organizations mentions    2   follows.
 3   foreign tax credits; is that right?                     3       Q. The information that follows is simply
 4       A. That is correct.                                 4   citations to the evidence, nothing else, right?
 5       Q. Is there any evidence that you cite that         5       A. Yeah, it's referring specifically to the
 6   these organizations considered the impact of foreign    6   named plaintiffs and referring specifically to their
 7   tax credits and then elected to not include them in     7   deposition testimony.
 8   their guidance?                                         8       Q. Okay. Section 7 of your initial report
 9       A. I think as I stated here, there are no           9   starting on page 58, you considered the
10   references to foreign tax credits in either of their   10   reasonableness of the fees that John Hancock earned;
11   RFP templates. As to whether they actually             11   is that right?
12   considered that as part of their template, I cannot    12       A. That is correct.
13   answer.                                                13       Q. But you did not consider the additional
14       Q. Okay. Let's go near the end here.               14   benefits that John Hancock received from foreign tax
15   Section C starting on page 54.                         15   credits in assessing that reasonableness; is that
16       A. Okay.                                           16   right?
17       Q. Okay. This section from paragraph 75 to         17       A. That's correct, because as we talked about
18   80 is based on your reading on the, quote,             18   before, I do not consider that to be direct or
19   "documentary evidence regarding whether foreign tax    19   indirect compensation.
20   credits were material to the named plaintiffs'         20       Q. Okay. But if it is considered
21   recordkeeping fee agreement with John Hancock." Is     21   compensation, then that's an additional amount that
22   that right?                                            22   might push the fees that John Hancock receives in
23       A. Correct.                                        23   excess of what's considered reasonable; is that
24       Q. Okay. So this is simply your assessment         24   right?
25   of that evidence; is that right?                       25          MR. FLECKNER: Objection.


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                                             Page 214                                                    Page 215
 1       A. Not necessarily, no.                             1   that fund to the individual participant. It's not
 2     BY MR. WEINSHALL:                                     2   reducing what Securian charges for recordkeeping
 3       Q. Not necessarily, but it could.                   3   services.
 4       A. Well, again, as I talked about before in         4       Q. But it overall reduces the amount of
 5   using Securian as an example, securities provision      5   compensation -- it reduces the amount of benefits
 6   of foreign tax credits does not reduce their            6   that Securian receives, correct?
 7   administrative fee. It reduces the fee of the           7          MR. FLECKNER: Objection.
 8   specific investment option selected by the              8       A. No, it reduces the amount of -- excuse me.
 9   participant.                                            9   It reduces the investment management fees, and to
10       Q. Right. But in terms of the amount of            10   the extent that Securian is foregoing a portion of
11   compensation that the recordkeeper receives, whether   11   foreign tax credits without increasing any fees in
12   it comes from the participant or the plan, the role    12   other areas, it could be considered a reduction in
13   of a fiduciary in monitoring the reasonableness is     13   their revenue.
14   to understand how much the recordkeeper receives,      14          MR. WEINSHALL: All right. At this time,
15   right?                                                 15       Mr. Gissiner, I don't have further questions.
16       A. Yes, but again, in the Securian example,        16          THE WITNESS: Okay.
17   what they describe as foreign tax credits does not     17          MR. FLECKNER: I have a few follow-up
18   impact the revenue that they receive.                  18       questions, Mr. Gissiner, on some of the things
19       Q. That they receive from the plan, but it         19       that Mr. Weinshall discussed with you earlier.
20   does impact the revenue received from participants,    20          MR. WEINSHALL: I will then reserve my
21   is that what you're saying?                            21       right to ask additional questions.
22       A. Well, again, no. If -- if Securian passes       22          MR. FLECKNER: Okay.
23   through an expense ratio reduction of 5 basis points   23                CROSS-EXAMINATION
24   for the TIAA-CREF International Fund, the provision    24     BY MR. FLECKNER:
25   of foreign tax credit simply reduces the cost of       25       Q. If you can turn to Exhibit 150,

                                             Page 216                                                    Page 217
 1   Mr. Gissiner, that's your rebuttal report.              1      A. That's what it states.
 2      A. Yes, I have it.                                   2      Q. And below that you have a block quotation
 3      Q. Okay. If I could direct your attention to         3   from the recordkeeping agreement, correct?
 4   paragraph 9.                                            4          MR. WEINSHALL: Objection to the form.
 5      A. And which page is it on, Jamie?                   5      A. Yes.
 6      Q. Yeah, page 8 of the PDF, sir.                     6     BY MR. FLECKNER:
 7      A. Okay, thank you.                                  7      Q. And in the last sentence of your block
 8          Okay, thank you.                                 8   quotation you have in bold letters, "John Hancock
 9      Q. And do you see that?                              9   will not have any discretionary authority or
10      A. At the top of the page?                          10   responsibility for the management or control of the
11      Q. Yes. So in the middle of page 6 of that          11   separate accounts." Is that correct?
12   rebuttal report, which is page 8 of the PDF,           12      A. That's what it states.
13   paragraph 9 appears in the middle of the page.         13      Q. It uses the term "management" or "control"
14      A. Okay. All right. I am seeing it on               14   as did the first sentence of your paragraph 9,
15   paragraph 9 appearing at the bottom of page 8 of my    15   correct?
16   PDF, so.                                               16          MR. WEINSHALL: Objection to form.
17      Q. Correct. Correct. First sentence states,         17      A. Correct.
18   "Plaintiffs' experts ignore that John Hancock's        18     BY MR. FLECKNER:
19   roles and responsibilities as they pertain to the      19      Q. Your first sentence in paragraph 9 is
20   management and control of assets held in separate      20   limited to whether Mr. Levy or the other plaintiffs'
21   accounts are documented in the 2014 recordkeeping      21   expert ignored John Hancock's roles and
22   agreement between John Hancock and the named           22   responsibilities as they pertain to the management
23   plaintiff plan as well as the 2014 group annuity       23   and control of assets as further described, correct?
24   contract for the named plaintiff plan."                24          MR. WEINSHALL: Objection to form.
25          Did I read that accurately?                     25      A. Correct.

                                                                             55 (Pages 214 to 217)
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                                             Page 218                                                    Page 219
 1    BY MR. FLECKNER:                                       1      Q. Do you see that?
 2       Q. Okay. So now if we go to Mr. Levy's              2      A. Yes.
 3   paragraph 24 identified in your language that           3      Q. And in the second section identified
 4   Mr. Weinshall directed you to earlier -- I'm sorry,     4   "produced documents and data," in the second
 5   21.                                                     5   subsection there's a list of e-mails. Do you see
 6       A. 21?                                              6   that?
 7       Q. Paragraph 21. Does Mr. Levy include in           7      A. Under other produced documents, Jamie?
 8   his quotation from the recordkeeping agreement the      8      Q. It says "produced documents and data." It
 9   bolded sentence about management and control?           9   begins, "Statements of assets and liabilities to the
10       A. He does not.                                    10   subaccounts," blah, blah, blah, and then there's a
11       Q. So is it fair to say that Mr. Levy's            11   second section.
12   quotation ignores the portion of the recordkeeping     12      A. Okay. It's just on a different page of
13   agreement addressing management and control?           13   mine, so I apologize. Thank you.
14       A. Yes, he does not state that in his              14      Q. I see. And it looks like there's eight
15   paragraph 21.                                          15   e-mails there, all dated 2017 and prior; is that
16       Q. Okay. If we can go back to your initial         16   correct?
17   report, which is Exhibit 151.                          17      A. Correct.
18       A. Okay, I'm there.                                18      Q. Okay. There's no e-mails in that section
19       Q. And if you can go to the page that              19   dated after August 2017, correct?
20   Mr. Weinshall pointed you to, which is page 68 of      20      A. Correct.
21   the PDF.                                               21          MR. WEINSHALL: Objection to form.
22       A. Okay. Page 68?                                  22    BY MR. FLECKNER:
23       Q. Of the PDF, correct. It's "Appendix B,          23      Q. If you go up to the top of the page under
24   Documents Considered" at the top.                      24   the section that says "Legal documents and
25       A. Okay.                                           25   depositions." Do you see that?

                                             Page 220                                                    Page 221
 1      A. Yes.                                              1       A. That was a while ago, but yes.
 2      Q. And you'll see there's listed a number of         2       Q. Okay. And I think you mentioned, if I'm
 3   depositions and exhibits thereto, correct?              3   correct, that your opinion was that or your
 4      A. Yes.                                              4   experience was that you had observed a disclosure in
 5      Q. That includes the depositions of Eric             5   that TIAA prospectus of that product concerning
 6   Romano, Todd Romano, Christian Searcy, correct?         6   foreign tax credits, correct?
 7         MR. WEINSHALL: Objection.                         7       A. Correct.
 8      A. Correct.                                          8       Q. Was that a group variable annuity product
 9     BY MR. FLECKNER:                                      9   that utilized separate accounts that themselves
10      Q. And does this indicate that you also             10   invested in only one prespecified mutual fund?
11   reviewed the exhibits to those deposition              11       A. It was a -- could you repeat the question?
12   transcripts?                                           12       Q. Sure. Let me ask you -- I'll ask you it
13      A. Yes, because they're -- yes, exactly             13   this way.
14   correct, because they're noted below.                  14          The separate accounts that are at issue in
15      Q. And if the exhibits to those deposition          15   this case are divided into subaccounts, correct?
16   transcripts included e-mails subsequent to 2017, did   16       A. Yes.
17   you also review those e-mails?                         17          MR. WEINSHALL: Objection to form.
18      A. No.                                              18    BY MR. FLECKNER:
19      Q. No? You only reviewed the e-mails that           19       Q. Does each subaccount in this case offered
20   are specifically listed in the section that says       20   by John Hancock itself invest in only one
21   e-mails.                                               21   prespecified mutual fund?
22      A. Correct.                                         22       A. Yes.
23      Q. I see. Okay. You were asked a question           23       Q. Did the TIAA group variable annuity
24   by Mr. Weinshall about disclosures made by a TIAA      24   product that you mentioned earlier similarly only
25   group annuity product. Do you remember that?           25   have separate accounts invested in one prespecified

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                                             Page 222                                                    Page 223
 1   mutual fund?                                            1   the type of separate account offered by TIAA,
 2       A. My recollection is that it did not.              2   correct?
 3       Q. Okay. So when you were asked by                  3      A. Correct.
 4   Mr. Weinshall earlier this morning whether you          4          MR. WEINSHALL: Objection to form.
 5   had seen a disclosure by a group annuity provider       5     BY MR. FLECKNER:
 6   as to foreign tax credits in relation to their          6      Q. So my question is, have you seen
 7   separate accounts, do you have any knowledge of         7   disclosures by annuity providers that offer the
 8   any separate accounts like the ones here by John        8   type of separate accounts as issued -- that are at
 9   Hancock that only invest in one prespecified mutual     9   issue here that invest only in one prespecified
10   fund that include disclosures about foreign tax        10   mutual fund disclosures that reference foreign tax
11   credits?                                               11   credits?
12          MR. WEINSHALL: Objection to form.               12          MR. WEINSHALL: Objection to form.
13       A. So that was a long question. So could you       13      A. No.
14   repeat it?                                             14     BY MR. FLECKNER:
15    BY MR. FLECKNER:                                      15      Q. What was the answer?
16       Q. Sure. You said that the TIAA separate           16      A. No.
17   accounts that you referenced earlier this morning      17      Q. Okay. I would like to go to your rebuttal
18   are different than the John Hancock separate           18   report, which is at document 150. And -- do you
19   accounts at issue in this case, correct?               19   have that open?
20          MR. WEINSHALL: Objection to form.               20      A. I do.
21       A. Correct.                                        21      Q. Okay. And Mr. Weinshall asked you a
22    BY MR. FLECKNER:                                      22   number of questions about page 4 of the PDF
23       Q. So my question is -- and you answered this      23   concerning your summary of opinions at Number 3. Do
24   morning to Mr. Weinshall that you had seen             24   you remember those questions?
25   disclosures by annuity providers with respect to       25      A. Yes.

                                             Page 224                                                    Page 225
 1      Q. Those -- that summary on page 3 isn't the         1   of those statutes?
 2   entirety of your view as to the topic identified at     2       A. No. I mean, one could easily look up the
 3   that summary, correct?                                  3   definition of ERISA 3(21) fiduciary on Google, and
 4          MR. WEINSHALL: Objection to form.                4   you would get multiple definitions that would be
 5      A. It is the summary of the opinion, the             5   readily accessible.
 6   summary.                                                6       Q. You were asked earlier by Mr. Weinshall
 7     BY MR. FLECKNER:                                      7   about what discretion means to you as it relates to
 8      Q. Okay. And you further elaborate on the            8   3(38) fiduciary status. Do you recall those
 9   entirety of your opinion in the text at, looks like,    9   questions?
10   paragraphs 5, 6 -- 5 and 6, correct?                   10       A. Yes.
11          MR. WEINSHALL: Objection to form.               11       Q. And I just want to be clear about how --
12     BY MR. FLECKNER:                                     12   what you view to be discretion in terms of 3(38)
13      Q. You can answer the question.                     13   fiduciary status.
14      A. Yes.                                             14          Does discretion mean to you -- strike
15      Q. Okay. And your basis for the opinion as          15   that.
16   expressed in paragraphs 5 and 6 is based on what       16          In order to have no discretion, would that
17   you've observed in the industry as people in the       17   mean that a recordkeeper calls the client before
18   industry as they define the concepts of a 3(38)        18   taking any action?
19   fiduciary to 3(21) fiduciary?                          19       A. If they have no discretion?
20          MR. WEINSHALL: Objection to form. It's          20       Q. Yes.
21      really an impressive amount of leading.             21       A. Can you give me an example?
22      A. That's correct.                                  22       Q. Sure. So if a recordkeeper like John
23     BY MR. FLECKNER:                                     23   Hancock offers a subaccount that invests solely in
24      Q. Okay. That's not based on -- is your             24   one prespecified mutual fund, say the Vanguard World
25   analysis based on a legal opinion based on the texts   25   ETF, and that fund has been selected by 5,000 plans,


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                                            Page 226                                                  Page 227
 1   and 2,000 participants across those 5,000 plans        1    right. And is that the same thing for the
 2   executed -- instruct John Hancock as to trade in       2    transcript as well?
 3   their account for that fund. When John Hancock         3       MR. FLECKNER: Yeah. I think the
 4   aggregates all those instructions, does it need to     4    transcript we've asked for a rough and an
 5   call each plan trustee before it executes the trade    5    expedited given the court schedule.
 6   with the Vanguard ETF fund?                            6       THE VIDEOGRAPHER: All right. And just to
 7      A. No.                                              7    help the video, so we can go off the record, I
 8          MR. FLECKNER: All right. I have no              8    wasn't sure if it was stated, is he going to
 9      further questions subject to any redirect.          9    read or sign -- read and sign?
10          MR. WEINSHALL: I don't have any                10       MR. FLECKNER: Read and sign is what we've
11      additional questions.                              11    been doing.
12          MR. FLECKNER: All right. Steve, you're         12       THE VIDEOGRAPHER: All right. So with no
13      free to go.                                        13    further questions, it is 5:25 p.m. on
14          THE VIDEOGRAPHER: I apologize. Before we       14    October 28, 2021, and we're going off the
15      go off the record, I just have to go over          15    record.
16      transcripts.                                       16       (The proceedings concluded at 5:25 p.m.)
17          Do either of you guys require a video copy     17
18      of today's deposition?                             18
19          MR. WEINSHALL: Whatever our standing           19
20      order is.                                          20
21          THE VIDEOGRAPHER: Okay.                        21
22          MR. FLECKNER: Yeah, us too. I just don't       22
23      remember. We probably will, Bailey. I just         23
24      don't remember what our order is.                  24
25          THE VIDEOGRAPHER: Fair enough. All             25

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              CERTIFICATE OF OATH                                       CERTIFICATE OF REPORTER

                                                                STATE OF FLORIDA
     STATE OF FLORIDA                                           COUNTY OF PINELLAS
     COUNTY OF PINELLAS
                                                                       I, DENISE SANKARY, Registered Merit
                                                                 Reporter, do hereby certify that I was authorized
            I, the undersigned authority, certify                to and did stenographically report the foregoing
      that STEVEN K. GISSINER appeared remotely before           remote videotaped deposition of STEVEN K.
      me and was duly sworn on the 28th day of October,          GISSINER; pages 1 through 228; that a review of
      2021.
                                                                 the transcript was requested; and that the
            Signed this 1st day of November, 2021.
                                                                 transcript is a true record of my stenographic
                                                                 notes.
              ________________________________                         I FURTHER CERTIFY that I am not a
              DENISE SANKARY, RPR, RMR, CRR                      relative, employee, attorney, or counsel of any
              Notary Public, State of Florida                    of the parties, nor am I a relative or employee
              My Commission No. GG 944837                        of any of the parties' attorneys or counsel
              Expires: 1/27/24                                   connected with the action, nor am I financially
                                                                 interested in the action.
                                                                       Dated this 1st day of November, 2021.

                                                                          ________________________________
                                                                          DENISE SANKARY, RPR, RMR, CRR




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          WITNESS NOTIFICATION LETTER                                         ERRATA SHEET
    DATE: November 1, 2021                                          DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE
    TO:    Steven K. Gissiner                                       In Re: ROMANO V. JOHN HANCOCK LIFE INSURANCE
        c/o James O. Fleckner, Esquire
        GOODWIN PROCTER, P.A.                                            Case No.: 19-21147-CIV-GOODMAN
        100 Northern Avenue                                                 STEVEN K. GISSINER
        Boston, Massachusetts 02210                                          October 28, 2021
        jfleckner@goodwinlaw.com
                                                                   PAGE LINE             CHANGE              REASON
    IN RE: Romano v. John Hancock Insurance Company
                                                                   ____________________________________________________
        Deposition taken on October 28, 2021
        Magna Legal Services Job No. 761571                        ____________________________________________________
                                                                   ____________________________________________________
    The transcript of the above-referenced proceeding              ____________________________________________________
    has been prepared and is being provided to your                ____________________________________________________
    office for review by the witness.                              ____________________________________________________
    We respectfully request that the witness complete
    their review within 30 days and return the errata              ____________________________________________________
    sheet to our office at the below address or via                ____________________________________________________
    email to: production@magnals.com.                              ____________________________________________________
                                                                   ____________________________________________________
    Sincerely,                                                     ____________________________________________________
    DENISE SANKARY, RPR, RMR, CRR                                  ____________________________________________________
    Magna Legal Services                                           ____________________________________________________
    866-624-6221                                                   ____________________________________________________
    www.magnals.com                                                Under penalties of perjury, I declare that I have
                                                                   read the foregoing document and that the facts
    CC via transcript:
                                                                   stated in it are true.
    Matthew Weinshall, Esquire
                                                                   ____________             __________________________
                                                                   Date                 STEVEN K. GISSINER




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